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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

   AMAZON.COM, INC. and AMAZON DATA
   SERVICES, INC.,
                    Plaintiffs,
         v.
                                                 CASE NO. 1:20-CV-484-RDA-TCB
   WDC HOLDINGS LLC dba NORTHSTAR
   COMMERCIAL PARTNERS; BRIAN
   WATSON; STERLING NCP FF, LLC;
   MANASSAS NCP FF, LLC; NSIPI                        THIRD AMENDED
   ADMINISTRATIVE MANAGER; NOVA WPC              COMPLAINT AND DEMAND FOR
   LLC; WHITE PEAKS CAPITAL LLC;                        JURY TRIAL
   VILLANOVA TRUST; CARLETON NELSON;
   CASEY KIRSCHNER; ALLCORE
   DEVELOPMENT LLC; FINBRIT HOLDINGS
   LLC; CHESHIRE VENTURES LLC; 2010
   IRREVOCABLE TRUST; SIGMA
   REGENERATIVE SOLUTIONS LLC;
   CTBSRM, INC.; RODNEY ATHERTON;
   DEMETRIUS VON LACEY; RENRETS LLC,
                    Defendants.

   800 HOYT LLC,

         Intervening Interpleader
         Plaintiff, Intervening
         Interpleader Counter-Defendant,
   v.

   BRIAN WATSON; WDC HOLDINGS, LLC;
   BW HOLDINGS; LLC,

         Interpleader Defendants,
   and
   AMAZON.COM, INC., and AMAZON DATA
   SERVICES, INC.,
         Interpleader Defendants,
         Interpleader Counter-Plaintiffs.




                                                       PLAINTIFFS’ THIRD AMENDED COMPLAINT
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          Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc. (collectively “Plaintiffs” or

   “Amazon”), for their Third Amended Complaint, allege, upon personal knowledge as to their own

   actions and on information and belief as to all other matters, as follows:

                                   PRELIMINARY STATEMENT

          1.      This case is about a massive fraud and kickback scheme orchestrated by two former

   Amazon employees, Carleton Nelson and Casey Kirschner, to personally and illegally profit from

   over $500 million in Amazon real estate development projects in this District. Nelson and

   Kirschner exploited their positions as real estate transaction managers to shepherd certain real

   estate transactions through Amazon’s internal approval process in exchange for millions of dollars

   in illegal kickbacks from the corrupt counterparties on the other side of those deals.

          2.      In fact, Nelson recently admitted in a sworn statement that he secretly obtained

   money in connection with Amazon real estate deals, and Amazon has obtained bank records in

   discovery that definitively trace the money to his accounts. Amazon also recently became aware

   that Kirschner submitted a signed statement to law enforcement admitting to the kickback scheme:

          I accepted money from Northstar associated with deals I worked on with Amazon. Carl
          Nelson and I formed Allcore through Rod Atherton. Northstar paid kickbacks, which were
          paid to the Villanova Trust. The Villanova Trust was formed by my brother, Christian
          Kirschner. Brian Watson of Northstar paid the Villanova Trust associated with the Amazon
          development deals in Northern Virginia. The Villanova Trust transferred 66% of the funds
          from Northstar to the 2010 Irrevocable Trust, which Rod Atherton set up. Rod Atherton
          then transferred the funds to me and Carl Nelson.

          3.      As Kirschner’s statement makes clear, Kirschner and Nelson did not act alone.

   They had help from multiple co-conspirators, including: (1) Defendant Brian Watson (“Watson”)

   and his company Defendant WDC Holdings LLC dba Northstar Commercial Partners (together

   with Watson, “Northstar”), which funneled money to Nelson and Kirschner in exchange for them

   obtaining approval of Northstar’s projects; (2) Defendant Rodney Atherton (“Atherton”), an

   attorney retained to create shell entities that would make Nelson, Kirschner, and their scheme

   “invisible”; (3) the numerous shell entities that Atherton created; and (4) Defendant Demetrius
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   Von Lacey, a “straw man” whose name was used to create a false paper record of ownership and

   conceal the flow of illicit funds through the shell entities to benefit Nelson and Kirschner.

          4.      All in all, Defendants orchestrated kickbacks in connection with at least eleven

   commercial real estate transactions—nine leases and two purchases—in Northern Virginia.

   Nelson and Kirschner orchestrated the leases to inflate their cost, syphon off millions of dollars in

   kickbacks, and distribute the illicit profits through a web of shell entities to cover their tracks.

   Similarly, Nelson and Kirschner structured the purchases so that a third party would buy the

   property, sell or assign it to Amazon for approximately $10 to $18 million more, and distribute a

   portion of that mark-up to Nelson, Kirschner, and their co-conspirators under the table. Defendants

   illegally obtained tens of millions of dollars through these fraudulent efforts, which they spent on

   lavish homes and trips, such as a hundred-thousand-dollar hunting trip to New Zealand.

          5.      Along the way, Nelson admitted in audio recordings that he was participating in

   “sketchy a[*]s sh[*]t,” while bragging about how “clean” the scheme looked from the outside and

   how Amazon employees were “idiot[s]” for approving the fraudulent transactions that he and

   Kirschner promoted. Nelson even acknowledged that there was “no question” the scheme violated

   Amazon’s Code of Business Conduct and Ethics (“Code of Conduct”) and the sale and lease

   contracts’ anti-bribery language, but he boasted to a co-conspirator that “the only people that are

   gonna know about this, are gonna be you, me and Casey [Kirschner]”).

          6.      Yet Nelson and Kirschner’s scheme eventually caught up with them when a former

   Northstar employee alerted Amazon to the kickbacks in late 2019. Dkt. 155-2. The evidence that

   has come to light since then is damning and leaves no doubt that Defendants violated the federal

   RICO statute and engaged in multiple acts of wire fraud, honest services fraud, money laundering,

   and other unlawful acts over a multiyear period. This evidence includes the admissions described

   above, audio recordings, bank statements, messages, and numerous other records, such as a

   recovered file that Kirschner tried to delete from his company laptop that details the kickback

   scheme and calculates his anticipated share of the illicit payments.
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          7.       Amazon has brought this action to recover the tens of millions of dollars in unjust

   enrichment Defendants obtained and the damages Amazon has suffered as a result. Amazon has

   amended its complaint to (i) add as Defendants additional co-conspirators on the basis of evidence

   that has recently come to light in discovery, and (ii) streamline Amazon’s claims to reflect recent

   developments, including discovery and the company’s mitigation of some of its damages through

   confidential settlements.

                                               PARTIES

          8.       Plaintiff Amazon.com, Inc., is a Delaware corporation headquartered at 410 Terry

   Avenue North, Seattle, WA, 98109. Amazon.com, Inc., through its subsidiaries, employs more

   than 10,000 individuals in Virginia.

          9.       Plaintiff Amazon Data Services, Inc., a subsidiary of Amazon.com, Inc., is a

   Delaware corporation located at 410 Terry Avenue North, Seattle, WA 98109. Among other

   things, Amazon Data Services, Inc. operates many large Amazon facilities in Virginia and other

   U.S. states. (Amazon.com, Inc. and Amazon Data Services, Inc. are collectively referred to herein

   as “Amazon”).

          10.      Defendant Northstar claims to be a “privately held, full-service real estate

   investment and asset management company headquartered in Denver, Colorado, USA,

   specializing in the development, acquisition, and redevelopment of commercial real estate assets

   throughout the United States.” Dkt. 156-3. Northstar was previously located at 1999 N. Broadway,

   Suite 3500, Denver, CO 80202, but currently operates out of Defendant Watson’s home.

   Defendant Watson is the Founder and Chief Executive Officer of Northstar and his last known

   address was 8 Churchill Drive, Englewood, CO 80113.

          11.      Defendants Sterling NCP FF, LLC (“Sterling”), Manassas NCP FF, LLC

   (“Manassas”) and NSIPI Administrative Manager (“NSIPI”) are entities formed and controlled by

   Watson and Northstar for purposes of executing the Virginia lease transactions at issue in this suit.

   (Sterling, Manassas, and NSIPI are collectively referred to as the “Northstar/Watson Entities,” and
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   the Northstar/Watson Entities, Watson and Northstar are collectively referred to as the “Northstar

   Defendants”).

           12.     Defendants Sterling and Manassas are limited liability companies formed and

   existing in Virginia.

           13.     Defendant NSIPI is a limited liability company formed and existing in Delaware.

           14.      Northstar and its affiliates (including the Northstar/Watson Entities) served as

   Watson’s alter ego.

           15.     Watson has signatory authority over Northstar and the Northstar/Watson Entities’

   assets; commingled his personal funds with Northstar and the Northstar/Watson Entities’ funds;

   and created, used, and controlled Northstar and the Northstar/Watson Entities to further the lease

   transactions at issue in this suit.

           16.     Defendant Casey Kirschner (“Kirschner”) is a former Real Estate Transaction

   Manager for Amazon.com, Inc. He resides at 635 Alvarado Ln. North, Minneapolis, MN 55447.

           17.     Amazon terminated Kirschner’s employment in April 2020 after substantiating a

   former Northstar employee’s 2019 whistleblower report describing Kirschner’s participation in

   the kickback scheme that is the subject of this suit.

           18.     Defendant Carleton Nelson (“Nelson”) is a former Real Estate Transaction

   Manager for Amazon.com, Inc. and was, for a time, Kirschner’s supervisor at Amazon.

           19.     Nelson resides at 4907 Stonehaven Drive, Columbus, OH 43220 and uses the first

   names “Carleton” and “Carl.” See, e.g., Dkt. 155-1 at 2; Dkt. 135-4.

           20.     Amazon terminated Nelson’s employment in June 2019 based on violations of

   Amazon’s Code of Conduct unrelated to this litigation.

           21.     Defendant Rodney Atherton (“Atherton”) is a Colorado-licensed attorney doing

   business through the firm Ergo Law at 6870 W. 52nd Ave., Suite 203, Arvada, CO 80002

   (“Atherton’s office address”). He resides at 12863 West 87th Ave., Arvada, CO 80005.


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          22.     Atherton created trusts and entities to conceal the kickbacks paid to Nelson and

   Kirschner during the relevant period.

          23.     Atherton was suspended from the practice of law from November 15, 2013 to

   February 25, 2014, Dkt. 162-3, due to violations of five separate Colorado Rules of Professional

   Conduct in connection with financial transactions.

          24.     Defendant Demetrius Von Lacey (“Von Lacey”) is the individual paid to sign

   documents for Nelson and Kirschner’s shell entities. Von Lacey’s driver’s license lists Atherton’s

   office building as his address.

          25.     Defendant Villanova Trust is a trust formed and existing in the State of Tennessee.

   It was previously located at 16 Compton Trace, Nashville, TN 37215, Dkt. 156-4, and is now

   located at 3924 Wallace Lane, Nashville, TN 37215.

          26.     Villanova Trust was formed by Atherton for the purpose of funneling money from

   Northstar to Nelson and Kirschner. In fact, Casey Kirschner’s brother, Christian, was the sole

   trustee of the Villanova Trust.

          27.     Villanova Trust is a defaulted defendant in this suit.

          28.     Defendant Cheshire Ventures LLC (“Cheshire”) is a limited liability company

   formed and organized in Wyoming on June 27, 2019, with a principal office address of 1908

   Thomes Avenue, Cheyenne, WY 82001. Cheshire uses Atherton’s office address as its mailing

   address.

          29.     Cheshire was organized by, and remains registered to, Atherton.

          30.     Defendant Finbrit Holdings LLC (“Finbrit”) is a limited liability company formed

   and organized in Wyoming on September 3, 2019, with a principal office address of 1740 Dell

   Range, Suite H414, Cheyenne, WY 82009. Finbrit uses Atherton’s office address as its mailing

   address.

          31.     Finbrit was organized by, and remains registered to, Atherton.

          32.     Finbrit is a defaulted defendant in this suit.
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            33.   Defendant 2010 Irrevocable Trust is a trust formed and organized in Colorado and

   controlled by Atherton.

            34.   2010 Irrevocable Trust was a key mechanism by which Atherton funneled monies

   through various shell companies for the benefit of Nelson and Kirschner.

            35.   Defendant AllCore Development LLC (“AllCore”) is a limited liability company

   organized and registered in Wyoming on March 27, 2018. Allcore uses Atherton’s office address

   as its principal and mailing address.

            36.   AllCore was organized by Atherton, and Atherton serves as its registered agent.

            37.   AllCore is a defaulted defendant in this suit.

            38.   Nelson, Kirschner, Von Lacey, and Atherton conspired to have Atherton organize

   Villanova Trust, Cheshire, AllCore, Sigma, CTBSRM, Finbrit, and 2010 Irrevocable Trust, for the

   purpose of facilitating the kickback scheme and concealing their illicit gains.

            39.   Defendant Sigma Regenerative Solutions, LLC (“Sigma”) is a limited liability

   company formed and organized in Colorado on June 19, 2019 (five days after Nelson was

   terminated from Amazon). Sigma also uses Atherton’s office address as its principal and mailing

   address.

            40.   Sigma was organized by Defendant Von Lacey, and Von Lacey is its registered

   agent.

            41.   Defendant CTBSRM, Inc. (“CTBSRM”) is a corporation formed and organized in

   Wyoming on March 27, 2018. CTBSRM uses Atherton’s office address as its principal and

   mailing address.

            42.   CTBSRM is organized by Atherton, and Atherton is its registered agent.

            43.   Annual reports filed with the state of Wyoming list Von Lacey as “President” of

   CTBSRM.




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            44.    Nelson, Kirschner, Atherton, and Von Lacey conspired to have Atherton organize

   Sigma and CTBSRM for the purpose of facilitating the kickback scheme and concealing their illicit

   gains.

            45.    Defendant Renrets LLC (“Renrets”) is a limited liability company formed and

   organized in Ohio on May 8, 2017, with an address of PO Box 8156, Columbus, OH 43201.

            46.    Renrets was organized by James M. Sterner and James M. Sterner is its registered

   agent.

            47.    James M. Sterner is Nelson’s father-in-law.

            48.    Nelson, Kirschner, Atherton, and Von Lacey conspired to use Renrets to facilitate

   the kickback scheme and conceal their illicit gains.

            49.    Defendants White Peaks Capital LLC (“White Peaks”) and NOVA WPC LLC

   (“NOVA”) are Delaware limited liability companies located at 11364 Mesa Verde Lane, Parker,

   CO 80138, potentially with subsequent or additional locations in Henderson, NV.

            50.    Two former Northstar employees, Kyle Ramstetter and Will Camenson, served,

   respectively, as Managing Director and Manager of White Peaks and NOVA.

            51.    White Peaks and NOVA were used to effectuate one of the direct purchase

   transactions at issue in this suit.

            52.    White Peaks and NOVA are defaulted defendants in this suit.

            53.     White Peaks and NOVA were Ramstetter’s and Camenson’s alter egos. White

   Peaks’ registered address was the same as the personal home address of Camenson. Ramstetter

   signed the initial purchase agreement between White Peaks and the seller of the site (41992 John

   Mosby Highway LLC), and Camenson signed the purchase agreement between NOVA and

   Amazon’s affiliate.

            54.    White Peaks and NOVA were devices or sham entities used to disguise wrongs,

   obscure fraud, and/or conceal other unlawful activities in connection with the White Peaks

   transaction.
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                        SUBJECT MATTER JURISDICTION AND VENUE

          55.     This Court has jurisdiction over this action under 28 U.S.C. § 1331 because the case

   arises under the laws of the United States, including the Racketeer Influenced and Corrupt

   Organizations Act, 18 U.S.C. §§ 1961 et seq., and Article III, section 2, clause 1, of the U.S.

   Constitution, which extends federal judicial power to “all Cases, in Law and Equity, arising under

   this Constitution [or] the Laws of the United States,” including the grant in Section 11 of the

   Judiciary Act of 1789 of original federal equity jurisdiction over cases involving more than $500

   between a citizen of the state where suit was brought and a citizen of a different state.

          56.     The Court has supplemental jurisdiction over all of Plaintiffs’ state law claims

   under 28 U.S.C. § 1367 because they arise from, and constitute part of, the same case or

   controversy that gives rise to Plaintiffs’ federal claims.

          57.     This Court may declare the legal rights and obligations of the parties in this action

   under 28 U.S.C. § 2201 because this action presents an actual controversy within the Court’s

   subject matter jurisdiction.

          58.     Venue is proper in this district under 28 U.S.C. § 1391(b) because it is a district in

   which Plaintiff maintains headquarters and/or substantial business operations, is the district in

   which all or many of the affected properties are located, and is the district in which a substantial

   or significant number of the acts giving rise to the action occurred.

          59.     Venue is also proper in this judicial district under 28 U.S.C. § 1391(c) because

   Defendants are subject to personal jurisdiction here.

                                     PERSONAL JURISDICTION

          60.     Exercise of jurisdiction over Defendants Sterling, Manassas, and NOVA is

   reasonable and proper in this District because these Defendants are citizens of the Commonwealth

   of Virginia and because they conduct extensive business activities within Virginia. For Amazon’s

   claims for violations of 18 U.S.C. § 1962 and Virginia state law, exercise of jurisdiction over these

   Defendants is proper pursuant to 18 U.S.C. § 1965(a).
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          61.     Exercise of jurisdiction over Defendants WDC Holdings LLC, Watson, NSIPI

   Administrative Manager, White Peaks Capital LLC, Villanova Trust, Nelson, Kirschner, Atherton,

   Von Lacey, AllCore, Finbrit, Cheshire Ventures, 2010 Irrevocable Trust, Sigma, Renrets, and

   CTBSRM is reasonable and proper in this District pursuant to 18 U.S.C. § 1965(b). The ends of

   justice require application of the nationwide service provisions of 18 U.S.C. § 1965(b) because

   there is no district in which all of these Defendants could otherwise be tried together. For

   Amazon’s state claims, exercise of jurisdiction over these Defendants is proper pursuant to Va.

   Code Ann. § 8.01328.1. These Defendants have knowingly and purposefully transacted business

   in the Commonwealth of Virginia, contracted to supply services or things in Virginia, caused

   tortious injury in Virginia by acts or omissions in and out of Virginia, or have an interest in real

   property in Virginia. Further, there is substantial nexus between their purposeful availment of the

   Virginia forum and Amazon’s claims. Dkt. 156-5. Notably, several Defendants visited Virginia

   to view potential and actual Amazon real property sites as well as review and execute lease

   contracts, and utilized instrumentalities located in Virginia and the Eastern District of Virginia to

   carry out the acts of which Amazon complains. Defendants thereafter affirmatively directed

   actions at Virginia and the Eastern District of Virginia by making payments and maintaining

   business operations here to obtain illicit investment, management, and other benefits on Virginia

   commercial development projects.

                                     FACTUAL ALLEGATIONS

          62.     This Third Amended Complaint details new and compelling evidence previously

   unavailable to Amazon about how Nelson and Kirschner abused their positions at Amazon and

   conspired with new defendants Atherton, Von Lacey, and others to defraud Amazon and obtain

   millions of dollars in illicit gains by coordinating a far-reaching kickback scheme.




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   I.     A CONFIDENTIAL INFORMANT REPORTED DEFENDANTS’ FRAUDULENT
          SCHEME TO AMAZON

          63.      Amazon first learned of Defendants’ fraudulent kickback scheme from an

   unsolicited whistleblower report. On or about December 2, 2019, an individual who stated he was

   formerly affiliated with Northstar (“Informant 1”) emailed an Amazon executive and asked

   whether Amazon “[w]ould … care to hear about a couple of [Amazon] employees who have taken

   kickbacks in excess of $8,000,000 maybe as high as $50,000,000.” Dkt. 155-2.

          64.      During a series of phone calls with members of Amazon’s legal compliance team

   in late 2019 and early 2020, Informant 1 told Amazon that he had personal knowledge of

   Northstar’s payment of millions of dollars in kickbacks on Northstar’s real estate transactions with

   Amazon, and stated his belief that the scheme had been ongoing since January 2018.

          65.      Informant 1 specifically alleged that Watson and Northstar agreed to pay a

   percentage of all revenue Northstar received on Amazon deals to the Villanova Trust, an entity for

   which Defendant Kirschner’s brother, Christian Kirschner (“Christian”), was the trustee.

          66.      The payments from Northstar to Villanova Trust were made pursuant to a kickback

   agreement, styled a “referral agreement,” executed by Watson and Christian. Informant 1 alleged

   that Northstar, at Watson’s direction, had caused payments to be made to Defendants Kirschner

   and Nelson in return for their directing certain lease transactions to Northstar, under which

   Northstar would act as Amazon’s commercial real estate development partner for those

   transactions.

          67.      Informant 1 asserted that Watson was directly involved in the formation of this

   scheme, including through revisions to Northstar’s referral/kickback agreement with Villanova

   Trust. Recent discovery has confirmed that these revisions were based on feedback that Casey

   Kirschner, while an Amazon employee, channeled to Watson through his brother Christian.

          68.      Informant 1 provided Amazon with evidence of at least $4.6 million in payments

   from Northstar to the Villanova Trust as of December 14, 2018, and estimated that the total amount

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   payable from Northstar to Villanova Trust could amount to $30-40 million through late 2019, and

   over $50 million over the life of the relevant commercial leases.

          69.     Informant 1 further disclosed that, in addition to Watson, other Northstar personnel

   may have had knowledge of and/or involvement in the kickback scheme.

          70.     Informant 1 provided Amazon with several documents, including what appeared to

   be a partially redacted email string between Watson and other Northstar employees, in which

   Watson requested a report on the total fees Northstar had paid to Villanova Trust. Informant 1

   also provided what he described as a draft of the referral/kickback agreement between Northstar

   and the Villanova Trust that documented the kickbacks on the lease transactions.

          71.     Informant 1 separately provided Amazon with information about fraud and

   kickbacks on the White Peaks transaction, including that two former Northstar employees used

   White Peaks and NOVA to facilitate that transaction and funnel money back to Nelson and

   Kirschner. These activities were memorialized in recorded conversations and payment records.

          72.     Informant 1’s report in December 2019 prompted an internal investigation that

   remains ongoing and continues to uncover additional evidence of the Defendants’ fraudulent

   kickback scheme.

   II.    NELSON AND KIRSCHNER WERE TRUSTED TO PLAY CRUCIAL ROLES
          WITH RESPECT TO AMAZON’S REAL ESTATE INVESTMENTS

          73.     Nelson and Kirschner were able to perpetuate their fraudulent scheme because they

   played crucial roles in sourcing, negotiating and approving Amazon’s real estate transactions in

   Virginia.

          74.     During the relevant time period, Nelson and Kirschner were responsible for

   identifying and selecting Virginia real estate locations suitable for Amazon’s business needs. They

   were also responsible for structuring and negotiating the financial and other key business terms for

   these transactions on behalf of Amazon, and presenting those transactions for internal Amazon

   approval.

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           75.     At the relevant time, Nelson was a Senior Manager, Real Estate, with primary

   responsibility for real estate transactions in the Americas.

           76.     Nelson recruited Kirschner to Amazon’s real estate group and served as his mentor

   and supervisor. Kirschner reported exclusively to Nelson from November 8, 2017 until June 2019,

   when Nelson was terminated for misconduct.

           77.     At the time of Nelson’s termination, Kirschner served as a Principal Real Estate

   Manager with primary responsibility for Amazon’s real estate transactions in Northern Virginia.

   See Dkt. 156-6.

           78.     On April 2, 2020, Kirschner was terminated as a result of the internal investigation

   conducted by Amazon in response to Informant 1’s whistleblower report.

           79.     Amazon generally used two customary real estate deal structures: (i) build-to-suit

   lease transactions; and (ii) direct purchase transactions.

           80.     In build-to-suit lease transactions, Amazon identifies the type of location that would

   be suitable for an Amazon facility and partners with a commercial real estate developer that is

   willing to own and develop the land for Amazon. Typically, the developer purchases the land and

   builds the basic shell of the facility (i.e., the external structure). Amazon then leases the land and

   shell from the developer for a period of years, and Amazon designs and builds the inside of the

   facility to suit its business needs.

           81.     The total lease payments to the landlord-developer are typically calculated to

   compensate the developer for: (i) the costs of purchasing the land; (ii) the costs to construct the

   shell; and (iii) a negotiated percentage yield on the purchase and construction costs. The developer

   is also paid its operating expenses to act as landlord.

           82.     In direct purchase transactions, Amazon and/or its affiliates purchase land outright

   and build Amazon facilities on these sites to suit the company’s needs.




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          83.     Amazon has a multi-step process for selecting suitable land for both lease and

   purchase transactions that relies on market and internal diligence by Amazon real estate

   Transaction Managers (“TMs”) such as Kirschner and Nelson.

          84.     Site diligence is conducted largely by Amazon real estate TMs as well as external

   brokers and agents who report property and market details to Amazon real estate TMs—here

   Nelson and Kirschner for the transactions at issue.

          85.     Following the site diligence, an Amazon TM will structure the transaction and

   present the proposed transaction for further approval by Amazon executives. Among other things,

   the Amazon TM will submit information about the deal and make representations that the site

   meets Amazon’s business needs and that its price and the other terms of the proposed transaction

   align with market and Amazon transactional norms.

          86.     Amazon relies on its TMs, and specifically relied on Nelson and Kirschner, to fully

   and accurately provide all facts relevant to the real estate transactions they source, structure, and

   present for approval, including any fees payable to any party as a result of those transactions, the

   purchase history of any land associated with those transactions, and any other nonstandard terms

   that would be pertinent for the subsequent approvers with supporting facts that explain why

   accepting those deviations is in the best interests of Amazon. Amazon’s




                                      Dkt. 162-8 (sealed).

   III.   NELSON AND KIRSCHNER EXPLOITED THEIR ROLES TO CREATE A
          PAY-TO-PLAY SCHEME WITH THEIR FRIEND WATSON

          87.     Nelson and Kirschner abused their positions at Amazon by steering lucrative

   contracts, business opportunities, and competitively sensitive information to their co-conspirators

   in exchange for kickbacks and other benefits they concealed from Amazon in violation of the law

   and company contracts and policies.

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            88.     Specifically, Nelson and Kirschner manipulated transaction presentations and

   concealed material information—including their own conflicts of interest—from Amazon

   executives in order to secure approval for sale and lease transactions with their co-conspirators

   that Amazon would not otherwise have approved.1 Nelson and Kirschner then personally profited

   from those transactions by receiving kickbacks from the Northstar Defendants.

            89.     Nelson and Kirschner were able to manipulate the transactions and the approval

   process because the sale and lease transactions they presented were complex, involved months of

   diligence, and included numerous data points linked to dynamic markets and business needs. The

   Amazon executives responsible for subsequently approving the transactions reasonably relied on

   Nelson and Kirschner to present full and accurate information and to act in the best interests of

   Amazon. But Nelson and Kirschner abused that trust by presenting and promoting transactions

   for their own financial benefit, while misrepresenting or omitting material information, including

   their own financial interest in the transactions.

            90.     Nelson and Kirschner fraudulently induced Amazon to enter into transactions that

   were structured and negotiated to personally benefit Nelson and Kirschner, violated Amazon’s

   policies, and harmed Amazon. Amazon would not have approved the real estate transactions at

   issue had Amazon been aware of Nelson’s and Kirschner’s undisclosed conflicts of interest and

   the kickback scheme.

            91.     But for Defendants’ fraudulent inducement, Amazon would not have entered into

   the transactions at issue in this dispute.




     1
         See, e.g., Declaration of D. Matthew Doden in Support of Plaintiffs’ Supplemental
         Memorandum in Support of Show Cause Order and Plaintiffs’ Application for Preliminary
         Injunction (“Amazon would not, under any circumstances, have approved the real estate
         transactions it entered into with Northstar organized by Casey Kirschner and Carleton Nelson
         had Amazon been aware of the undisclosed conflicts of interest and ‘referral’ agreement
         arrangement between Northstar and Christian Kirschner/Villanova Trust described in detail as
         the ‘Lease Transaction Enterprise in Plaintiffs’ Verified Complaint at ¶9 et seq.”) Dkt. 59, ¶20.
                                                       14
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   IV.     THE FRAUDULENT LEASE TRANSACTIONS

           92.      From February 2018 through January 2020, Amazon executed leases for

   commercial properties in northern Virginia (the “Lease Transactions”) with at least four Northstar-

   affiliated limited liability companies that acted as landlord-developers for the properties: Dulles

   NCP LLC; Quail Ridge NCP, LLC; Manassas NCP LLC; and Dulles NCP II LLC (the “Project

   Entities”).

           93.      The Lease Transactions grew out of Northstar’s rigged bid for two Virginia

   development projects that Nelson and Kirschner steered to Northstar and Watson at or around the

   time that Watson executed the 2018 referral/kickback agreement with Kirschner’s brother

   Christian through the Villanova Trust, which was established by Atherton to channel the kickback

   payments to Nelson and Kirschner.

           94.      Nelson and Kirschner used their positions at Amazon to steer approval of the Lease

   Transactions, while concealing the fact that the transactions included hidden or inflated fees that

   were used to fund the Northstar Defendants’ kickbacks to the Villanova Trust, which was

   established by Atherton to channel the payments back to Nelson and Kirschner.

           A.       Nelson and Kirschner Solicit Rigged Northstar Bids for Virginia Leases

           95.      Northstar served as a primary developer-landlord for the Lease Transactions at

   issue in this suit.

           96.      Amazon began its relationship with Northstar in or around September 2017 based

   on Nelson and Kirschner’s recommendations. Amazon did not know, and Nelson and Kirschner

   did not disclose, that Northstar’s CEO Watson was Kirschner’s longstanding, personal friend.

           97.      Watson’s personal relationship with Kirschner began long before Kirschner joined

   Amazon, and paralleled Watson’s longstanding personal relationship with Kirschner’s brother,

   Christian, whom Watson has described as “one of [his] best friends.” Dkt. 155-1; Dkt. 157-1

   (“Lorman Decl.”) ¶ 7.

           98.      Watson also had a personal friendship with Nelson.
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           99.     Watson, Nelson, and Kirschner often communicated with one another through

   personal emails and chats, including WhatsApp, and they took a variety of personal trips together,

   which were funded by Watson and Northstar.

           100.    These trips included a lavish, all-expenses-paid fishing excursion to the Florida

   Everglades and a luxury hunting trip to New Zealand (to which Nelson was invited but could not

   attend). The Kirschner brothers also served as groomsmen at Watson’s September 28, 2019

   wedding, to which Nelson was also invited. Id. at ¶ 8.

           101.    Nelson and Kirschner’s engagement with Watson and Northstar for the Lease

   Transactions dates back to at least July 2017, when Watson met with Kirschner and his brother

   Christian in Virginia. Dkt. 156-9. Prior to that point, Watson had urged Christian to arrange

   “getting in front of Amazon with your brother.”

           102.    Watson coordinated his Virginia visit with Kirschner and Christian through

   Kirschner’s personal email account and text messages. The following week, Watson emailed

   Christian “notes from my tour with Amazon in Virginia last week,” detailing information he was

   provided about competitor lease terms. Christian replied that “[a]fter this meeting, you should

   have the green light to officially get started.”

           103.    In a July 26, 2017 email, Kirschner referred to Watson as “Brother” and wrote that

   he “look[ed] forward to seeing you out here . . . Carl [Nelson] and I will be ready for you.”

   Kirschner and Nelson then met with Watson in Seattle on August 24, 2017. Dkt. 156-9; Dkt. 156-

   10.

           104.    At or around the time of this meeting, Kirschner sent Watson a so-called “Request

   for Proposal” (“RFP”), purportedly soliciting terms on which Northstar could work with Amazon

   to expand Amazon’s build-to-suit facilities in Northern Virginia. Dkt. 155-5.

           105.    But the “RFP” Watson received was simply a pretext that Nelson and Kirschner

   used to justify steering contracts to Northstar in exchange for kickbacks and other benefits. See

   id.
                                                      16
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           106.    On or around September 20, 2017, Northstar responded to the “RFP.” Dkts. 157-3

   to -9. Northstar’s response contained several false representations that induced Amazon to

   contract with Northstar on the Lease Transactions.

           107.    First, the response assured Amazon of Northstar’s “commitment, loyalty, integrity,

   and honesty” to its business partners, id. at 112, and detailed an investment structure accountable

   to Amazon and investors and insulated from other projects. Notably, the response stated that each

   Northstar “investment is orchestrated through a single-purpose limited liability company or fund

   that Northstar creates and directs,” id. at 107, and that “Watson[] functions as the managing

   partner” and shares in the “net profits of [each] investment through designated sharing ratios with

   the capital partners,” id. at 109.

           108.    Second, the Northstar RFP included a proposed lease agreement that contained

   various representations regarding the disclosure and activities of all “Professional Service

   Providers,” such as Northstar. Dkt. 157-4 at 19. The draft agreements Northstar submitted with

   its RFP response contained a warranty clause stating that the Northstar entities had made no

   undisclosed brokerage or other fee payments. See id. at 17, 21, 88; Dkt. 158-1 at 7; Dkt. 158-10

   at 14, 16. This warranty was untrue given the undisclosed agreement between Northstar and the

   Villanova Trust and the provision of “brokerage” and other payments to the Villanova Trust,

   approximately two-thirds of which were subsequently distributed to Nelson and Kirschner.

           B.      Nelson and Kirschner Secure Approval of the Rigged Northstar Bids

           109.    During Amazon’s transaction review and approval process for the first Northstar

   build-to-suit transaction, Nelson and Kirschner represented that they had “held a competitive

   bidding process through issuing RFPs to 4 developers to partner with us in the construction of the

   shell buildings. Northstar Development was awarded the BTS project due to their aggressive

   business terms and strong execution team.” This statement was false as presented, as Nelson and

   Kirschner had in fact solicited proposals from no other parties.


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          110.    Nelson’s and Kirschner’s dishonest claims about the bidding process and the

   strength of Northstar’s bid—without disclosing their personal relationship with Watson or that he

   had promised to pay them kickbacks if selected to develop the sites—created a false foundation

   Amazon’s approval of the first two lease transactions, as well as for the subsequent seven lease

   transactions for which Amazon selected Northstar as a development partner.

          111.    In total, the Lease Transactions involved the purchase, development, and lease of

   nine different properties over a two-year period based on pricing and other data that Nelson and

   Kirschner were in a position to manipulate, either directly or through third parties.

          112.    Each of these transactions was also subject to numerous contracts and development

   budgets principally created and negotiated between Nelson, Kirschner, and the Northstar

   Defendants, which allowed them to conceal improper payments in the form of artificially high or

   unwarranted fees and inflated profit yields for Northstar.

          113.    Nelson and Kirschner prepared and presented the internal real estate justifications

   and recommendations for Amazon’s approval of the lease transactions with Northstar.

          114.    Consistent with Amazon’s



                                                          Kirschner initiated the approval process for

   each transaction, and was a first-line approver of each transaction.

          115.    Nelson also approved each transaction presented for his approval prior to his

   termination from Amazon in June 2019. Dkt. 162-8 (sealed).

          116.    As a result of Nelson’s and Kirschner’s efforts, Amazon approved the Lease

   Transactions with the Northstar Defendants.

          117.    These approvals were fraudulently induced by (1) Nelson and Kirschner, who failed

   to disclose, among other things, their personal relationships and kickback agreement with the

   Northstar Defendants and the Villanova Trust, and (2) the Northstar Defendants, who deliberately


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   misrepresented and/or concealed from Amazon their arrangements with Nelson, Kirschner, and

   the Villanova Trust.

          C.      Nelson, Kirschner, and the Northstar Defendants Conspire on Lease
                  Performance

          118.    To execute the kickback scheme on the rigged Lease Transactions, Northstar had

   to do more than just form the Project Entities necessary to execute the transactions; it had to ensure

   that those entities could purchase and develop the covered real estate sites on the terms specified

   in the contracts. These obligations posed a significant problem for Northstar, which did not have

   the capital or capability to fund the acquisition or perform the development work its contracts

   required.

          119.    The Northstar Defendants thus conspired with Nelson and Kirschner to obtain an

   equity partner, lender support, and construction and other development contracts for the Lease

   Transaction sites on terms that fraudulently concealed the kickback scheme. To accomplish this,

   they relied on Nelson and Kirschner’s positions and authority at Amazon to deflect or otherwise

   suppress inquiries about fees and contract provisions that Defendants’ partners questioned or

   identified as suspicious.

          120.    Northstar’s primary equity investor in connection with the Amazon Lease

   Transactions was IPI NSIPI Data Center Holdings, LLC (“IPI NSIPI”).

          121.    This entity was formed by a partner entity, IPI, that makes real estate investments

   in technology and connectivity-related real estate assets. IPI has experience entering into joint

   ventures (JVs) with other firms in order to combine resources on real estate development projects,

   and often serves as a capital provider as part of its role in the JVs. Gilpin Decl. ¶ 3.

          122.    Watson and Northstar initially reached out to IPI because Northstar did not have

   the capital to purchase and develop the properties covered by their fraudulently-obtained contracts.




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           123.    IPI was introduced to Watson and Northstar in January of 2018 by third party

   brokers who were helping Watson source capital for a real estate development where Amazon was

   to be the sole tenant.

           124.    Thus, Watson and Northstar leveraged their relationships with Nelson and

   Kirschner to solicit funding and joint venture support from IPI. Dkt. 160-2 (“Gilpin Decl.”) ¶ 3.

           125.    IPI is not named as a defendant in this action, and is not known or suspected to have

   endorsed or engaged in any of the illicit conduct at issue in this suit.

           126.    Together, IPI and Northstar formed the joint venture known as NSIPI Data Center

   Venture, LLC, that partnered with Northstar on the Lease Transactions.

           127.    IPI NSIPI is the sole owner of NSIPI Data Center Venture, LLC, which became the

   sole owner of the four Project Entities holding the nine executed leases with Amazon for the shell

   facilities developed and located on the Virginia real property sites involved in the Lease

   Transactions (the “Projects”). Gilpin Decl. ¶¶ 3–4.

           128.    Northstar Commercial Partners Management, LLC and its affiliates, at the direction

   of Watson, was originally the developer, property manager, and asset manager for IPI and Amazon

   on each of the Projects. Gilpin Decl. ¶ 4. Watson created Defendant Sterling to be a minority

   equity investor in the Quail Ridge NCP, LLC and Dulles NCP, LLC Project Entities. Id. And he

   created Defendant Manassas to be a minority investor in the Manassas NCP, LLC Project Entity.

           129.    These arrangements were in place before the Northstar parties signed their first

   leases with Amazon, as evidenced by the fact that the “Sterling NCP I, LLC” referenced in

   Northstar’s 2018 kickback agreement (the “2018 Kickback Agreement”) is the same entity

   referenced in Northstar’s September 20, 2017 “RFP” response to Amazon, see Dkts. 157-3 to -9,

   which designated Sterling I NCP, LLC as one of the two Northstar entities—the other being

   Sterling II NCP, LLC, id. at 6— that would execute the two initial Virginia Lease Transactions

   with Amazon.


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            130.    Collectively, Defendants Sterling NCP FF, LLC and Manassas NCP FF, LLC

   owned approximately 8.4% of the equity interest in the Northstar build-to-suit projects (via an

   interest in NSIPI Data Center Venture, LLC) until April 2, 2020, when IPI terminated them from

   the lease contracts and associated Projects based on the misconduct at issue in this suit. Id.

            131.    Once formed, the joint venture between IPI and the Northstar Defendants created

   the four Project Entities—Dulles NCP LLC2; Quail Ridge NP, LLC3; Manassas NCP LLC4; and

   Dulles NCP II, LLC5—that Northstar/Sterling managed as the landlords for the leased sites.

   Watson separately created and controlled (through two intermediary LLCs) a separate entity—

   Defendant NSIPI Administrative Manager, LLC—to handle this management role. The following

   chart depicts the relationships that the Northstar Defendants had with the IPI joint venture and

   various LLC landlord-developers involved in the Lease Transactions prior to Northstar’s

   termination on April 2, 2020:




     2
         On or around January 17, 2018, Northstar and IPI, through NSIPI Data Center Venture, LLC,
         formed Dulles NCP, LLC in Delaware for the purpose of executing lease agreements with
         Amazon for the first two Virginia sites at issue here. Dkt. 159-5. On or around February 27,
         2018, Amazon executed the two lease agreements for these sites with Dulles NCP LLC.
     3
         On or around April 6, 2018, Amazon executed lease agreements for four additional commercial
         sites with Quail Ridge NCP, LLC. Dkt. 157-2. Public records indicate that Quail Ridge NCP,
         LLC        was      incorporated    on     January    17,    2018.           Dkt.    159-6
         (https://icis.corp.delaware.gov/Ecorp/EntitySearch/NameSearch.aspx).
     4
         On or around November 1, 2018, Amazon executed lease agreements for two further sites with
         Manassas NCP, LLC. Dkt. 157-2. Public records indicate that Manassas NCP LLC was
         incorporated          on        May         16,      2018.            Dkt.          159-7
         (https://icis.corp.delaware.gov/Ecorp/EntitySearch/NameSearch.aspx).
     5
         On or about January 13, 2020, Amazon executed a further lease agreement for another
         commercial site with Dulles NCP II. Dkt. 157-2. Public records indicate that Dulles NCP II,
         LLC was incorporated on June 6, 2018. Dkt. 159-8.
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          132.    The Deeds of Lease were signed by Watson, who was identified as the “Manager”

   or “President,” on behalf of the landlord entities.

          133.    Northstar and Watson utilized the foregoing network of LLCs to execute the nine

   Lease Transactions with Amazon since 2018:

        Lease #                  Landlord Entity                         Date Executed
          1           Dulles NCP LLC                             February 27, 2018
          2           Dulles NCP LLC                             February 27, 2018
          3           Quail Ridge NCP, LLC                       April 6, 2018
          4           Quail Ridge NCP, LLC                       April 6, 2018
          5           Quail Ridge NCP, LLC                       April 6, 2018
          6           Quail Ridge NCP, LLC                       April 6, 2018
          7           Manassas NCP LLC                           November 1, 2018
          8           Manassas NCP LLC                           November 1, 2018
          9           Dulles NCP II                              January 13, 2020

          134.    All but one of these Lease Transactions were recommended by Nelson and

   Kirschner in furtherance of the kickback scheme (Lease 9 was recommended only by Kirschner

   because Nelson was terminated in June 2019).

          135.    Watson and Northstar were central to the creation, management, and control of the

   landlord entities. Watson signed the Deeds of Lease as well as the related

                                                  and completion guarantees, on behalf of the landlord

   entities and was identified as the “Manager.” Dkt. 158-3 ¶ 33.

          136.    As detailed below, the Lease Transactions were tainted by kickbacks reflected in at

   least nine lease-related payments from Northstar to the Villanova Trust from March 7, 2018 to

   August 7, 2019. Dkts. 155-7, 156-1, 156-4, 159-9, 160-1.

          137.    Specifically, Northstar made payments of at least $5.11 million between March

   2018 and August 2019 to the Villanova Trust referencing at least three of the landlord LLCs that

   Northstar had created to manage the Lease Transactions: Sterling (Leases #1, 2), Quail Ridge

   (Leases #3, 4, 5, 6), and Manassas (Leases #7, 8).



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            138.    Villanova Trust subsequently sent a portion of these payments to the 2010

   Irrevocable Trust set up by Atherton, which in turn funneled the money through several other

   entities created by Atherton, and ultimately into Nelson’s and Kirschner’s bank accounts.

            139.    Nelson and Kirschner were able to conceal their illicit conduct by exploiting their

   positions at Amazon. For example, Northstar’s equity partner IPI questioned some of the fee

   provisions in the Northstar Leases as unusual, but the Northstar Defendants represented that the

   structure reflected Amazon’s approval and preferences. IPI did not have a reason to contest the

   Northstar Defendants’ position until Northstar’s COO approached IPI in early 2020 to report his

   concerns about the Villanova Trust arrangement, which IPI then relayed to contacts within

   Amazon independent of Nelson and Kirschner. See Dkt. 160-2 (“Gilpin Decl.”) ¶ 5.

            D.      The Defendants’ Fraudulent Misrepresentations in Connection with the Lease
                    Agreements

            140.    To the extent the Lease Agreements were or are legally enforceable against

   Amazon, the Northstar Defendants’ kickback arrangement with Nelson and Kirschner breached

   them.

            141.    The initial lease agreements between Amazon and the Northstar-affiliated landlord

   LLCs warranted that: (i) there “are no management agreements, service, maintenance or other

   contracts . . . relating to the Project . . . other than those” that were “disclosed in writing” to

   Amazon; (ii) the Northstar parties “dealt with no brokers, finders or the like in connection with

   this transaction”; and (iii) Amazon (as Tenant) would not have to pay or reimburse the Northstar-

   affiliated Landlords for any “legal, accounting or professional fees and costs incurred in

   connection with lease negotiations.” Dkt. 158-1 at 7; Dkt. 158-10 at 14, 16.6




     6
         All emphasis herein is supplied unless otherwise noted.
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          142.     Further, each Lease warranted that “[n]o . . . agreements, oral or written, have been

   made by Landlord [Defendants] . . . which are not contained in the . . . Lease Documents.” Dkt.

   158-3 ¶ 34 (at 2).

          143.     The immediately ensuing paragraph, titled “Brokers,” provided that Northstar

   “dealt with no broker, agent or other person in connection with this transaction and that no broker,

   agent or other person brought about this transaction, other than the brokers, if any, set forth [at the

   start of the] Lease.” Id. at ¶ 34. Northstar set forth no Brokers at the beginning of the Deed of

   Lease, even though the 2018 Kickback Agreement expressly designates as “Brokerage Fees” on

   the Lease Transactions the multi-million dollar kickback payments that Northstar made to

   Villanova Trust. Dkts. 158-1 to 159-3; Dkt. 155-6 at 2, ¶ 2.5; Dkt. 155-10.

          144.     The executed




                                Dkt. 163-8; Dkt. 163-9.

          145.               of the



                  Dkt. 163-8.

          146.     There are no provisions in either the Lease Agreements or the

                 indicating that it would be permissible for Northstar to have engaged the Villanova

   Trust as its undisclosed broker.

          147.     The Lease Agreements also prohibits corrupt activities, specifically including

   “bribes.” Dkts. 158-1 to 159-3.

          148.     The “Anti-Corruption” provision in the Lease Agreements states: “Landlord

   acknowledges that Tenant’s Code of Business Conduct and Ethics (the Code) prohibits the paying

   of bribes to anyone for any reason, whether in dealings with governments or the private sector.

   Landlord will not violate or knowingly permit anyone to violate the Code’s prohibition on bribery
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   or any applicable anti-corruption laws . . . Landlord will maintain true, accurate and complete

   books and records concerning any payments made to another party by Landlord under this deed of

   lease . . . Landlord will promptly provide written notice to Tenant regarding all pertinent facts

   relating to any improper solicitation, demand or other request for a bribe, improper gift or anything

   of value, made by any party in connection with activities performed by Landlord pursuant to this

   Deed of Lease.” Dkt. 158-3 ¶ 40 (at 7).

          149.    Similarly, Exhibit F to the Lease Agreements lists a provision entitled “Code of

   Conduct,” which states “Grantor acknowledges Grantee’s Code of Business Conduct and

   Ethics . . . [that] prohibits the paying of bribes to anyone for any reason,” and “Grantor will

   promptly provide written notice to Grantee regarding all pertinent facts relating to any improper

   solicitation, demand or other request for a bribe, improper gift or anything of value, made by any

   party in connection with any activities performed by Grantor pursuant to this agreement . . .

   Grantee may immediately terminate or suspend performance under this Agreement if Grantor

   breaches this section.” Dkt. 158-10 at 4 (¶ 12 of Exhibit F).

          150.    The
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                                                                                                  Dkt.

   163-8.

            151.   The Northstar Defendants violated this provision of the Lease Agreement by paying

   kickbacks, which are bribes.

            152.   At least a month before the initial lease agreements were signed in February 2018—

   by Watson, personally—Northstar negotiated and executed the 2018 Kickback Agreement with

   Villanova’s Trustee for “Business Development” services effective January 8, 2018. Dkts. 155-6,

   159-4. Notably, the appendix to this agreement details a compensation schedule including

   “Development Fees,” “MP Profits,” “Brokerage Fees,” and “Leasing Fees” for “Project Name

   Sterling NCP I, LLC,” Dkt. 155-6, the entity Northstar created to handle the first two Virginia

   Lease Transactions.

            153.   The 2018 Kickback Agreement itself is signed by Watson, see id., and identifies

   Villanova Trust, through its Trustee, Christian, as the “Contractor” entitled to the payments in the

   fee schedule, id., which Villanova subsequently funneled to First Western Trust and/or other

   accounts held for the benefit of Nelson and Kirschner.

            154.   The Northstar Defendants’ failure to disclose the fact that they were paying

   kickbacks fraudulently induced Amazon to enter the Lease Transactions, and thus rendered the

   related contracts with the Northstar Defendants voidable at Amazon’s election.

            155.   The Northstar Defendants also engaged in conduct, both independently and in

   concert with the Atherton-established Villanova Trust, that breached the terms of the Lease

   Transaction contracts that they fraudulently induced Amazon to sign.           In April 2020, IPI

   terminated and rescinded those contracts with respect to the Northstar Defendants and amended

   them with Amazon.       Amazon and IPI further amended the Lease Transaction contracts in

   connection with a Confidential Settlement Agreement, which mitigated, but did not fully eliminate,

   some of the known damages caused to Amazon and IPI by Defendants’ kickback scheme.


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              156.   The Northstar Defendants, Atherton, and the Villanova Trust also aided and abetted

   Nelson and Kirschner’s acts in breach of their employment agreements and other legal duties to

   Amazon.

              E.     Northstar’s COO Reported the Fraudulent Lease Transaction Conduct and
                     Northstar was Terminated from the Lease Transaction as a Result

              157.   In January 2020, Timothy Lorman,7 who served as Northstar’s COO until April

   2020, approached Luke Gilpin, the Vice President of IPI Partners in Chicago, and disclosed

   information and documents substantially corroborating the facts supplied by Informant 1. See

   generally Gilpin Decl. ¶¶ 2, 10–21.

              158.   Mr. Lorman is a long-time reserve Sheriff’s Deputy for the Douglas County

   Sheriff’s Office in Douglas County, Colorado. Lorman Decl. ¶ 4.

              159.   Mr. Lorman was the Chief Operating Officer of Northstar from March 25, 2019 to

   April 7, 2020. Id. at ¶ 2.

              160.   Mr. Lorman personally knows and has interacted with Mr. Gilpin on numerous

   occasions in Mr. Gilpin’s official capacity as Vice President of IPI. Gilpin Decl. ¶ 10. Mr. Gilpin

   first met Mr. Lorman in October 2019, and finds him “competent and trustworthy.” Id.

              161.   On January 24, 2020, Mr. Lorman told Mr. Gilpin that he wanted to travel from

   Denver, Colorado to speak with Mr. Gilpin in Chicago, where Mr. Gilpin works for IPI. Gilpin

   Decl. at ¶¶ 2. Mr. Lorman told Mr. Gilpin that the conversation should take place in person. Id.

   at ¶ 11.

              162.   Mr. Lorman and Mr. Gilpin met in Chicago on January 28, 2020. During the

   meeting, Mr. Lorman asked Mr. Gilpin if he knew of a “special agreement” between Kirschner

   and Watson. Gilpin Decl. at ¶ 12. Mr. Lorman told Mr. Gilpin that he suspected that Watson,




     7
         Mr. Lorman is the individual referenced as Informant 2 in the original complaint and other
         documents filed in this matter.
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   former Northstar employees Kyle Ramstetter and Will Camenson, Kirschner, and Kirschner’s

   brother Christian had engaged in misconduct that “violated Northstar’s agreements with IPI.” Id.

   Mr. Lorman also suspected that these individuals could have “violated the leases the entities signed

   with Amazon, and might have violated the law.” Id.

            163.   During the January 28, 2020 meeting, Mr. Lorman shared with Mr. Gilpin multiple

   documents evidencing the Defendants’ misconduct at Amazon’s expense. Notably, Mr. Lorman

   shared an executed version of the 2018 Kickback Agreement that Watson signed on behalf of

   Northstar on January 8, 2018. Gilpin Decl. ¶ 13; Dkt. 155-6. Mr. Gilpin reviewed the documents

   and informed IPI’s outside counsel of the meeting with Mr. Lorman. Gilpin Decl. at ¶ 14. IPI

   then informed Amazon of the meeting. Id.

            164.   On or around February 14, 2020, Mr. Lorman provided Mr. Gilpin with at least four

   documents via Dropbox that further evidenced misconduct by the Defendants at Amazon’s

   expense. See Gilpin Decl. ¶ 15.

            165.   The first document is a copy of the executed version of the Northstar-Villanova

   kickback agreement that Lorman shared at the Chicago meeting with Mr. Gilpin. Gilpin Decl. ¶

   15; Dkt. 155-6.

            166.   The second and third documents are wire receipts (dated June 7, 2019, and August

   7, 2019) evidencing payments from Northstar-affiliated entities to Villanova Trust in connection

   with certain Lease Transactions at issue in this action. Gilpin Decl. ¶ 15; Dkts. 156-4, 159-9.

            167.   Each wire receipt lists the “Originator Name” as “W D C HOLDINGS LLC” (aka

   Northstar), the “Beneficiary Bank” as “First Tennessee Bank,” and the “Beneficiary” as

   “Villanova Trust” at “16 Compton Trace Nashville, TN.” See Dkts. 156-4, 159-9.

            168.   The June 7 wire for $150,000 references “Dulles Final Leasing Payment.” See Dkt.

   159-9.

            169.   The August 7 wire for $321,028.44 references “Manassas Leasing Fee.” See Dkt.

   156-4.
                                                   29
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          170.      The fourth document that Mr. Lorman provided to Mr. Gilpin is a spreadsheet with

   a column titled “Referal [sic] - Villanova Owed” with four separate entries totaling $1,497,614.50.

   Gilpin Decl. ¶ 15; Dkt. 155-7.

          171.      The first entry lists $250,000 owed for a “Leasing Fee” associated with the “Dulles”

   “Project.” Id.

          172.      The second entry lists $225,642.60 owed for a “Development Fee (20%)” also

   associated with the “Dulles” “Project.” Id.

          173.      The third entry reflects $760,210.50 owed for a “Leasing Fee (25%)” associated

   with the “Quail” “Project.” Dkt. 155-7.

          174.      And the fourth entry reflects $211,761.40 for a “Development Fee (20%)” also

   associated with the “Quail” “Project.” Id.

          175.      On February 16, 2020, Mr. Lorman provided Mr. Gilpin with additional evidence

   of the Defendants’ misconduct concerning Amazon properties in this District. This evidence

   consisted of audio recordings that Watson directed Mr. Lorman to record of discussions between

   Watson and former Northstar employees (and White Peaks principals) Ramstetter and Camenson

   on or about September 27, 2019. Gilpin Decl. ¶ 16; Dkt. 155-9; Lorman Decl. ¶¶ 9–11.

          176.      In these recordings, Watson demands that these individuals pay Northstar millions

   of dollars in proceeds that the White Peaks Defendants realized in July 2019 on their $116 million

   “flip” sale of a Virginia property to Amazon.

          177.      Mr. Lorman and Mr. Gilpin had further conversations in the spring of 2020

   concerning Mr. Lorman’s “ongoing suspicions regarding potential misconduct by Brian Watson

   and Northstar relevant to [IPI and Northstar’s] business relationship and work for Amazon in

   Virginia.” Gilpin Decl. ¶ 18. Notably, Mr. Lorman and Mr. Gilpin discussed “on multiple

   occasions” Mr. Gilpin’s discovery that Ramstetter “had signed” while at Northstar and “without

   authorization, multiple contracts and change orders related to the [Amazon] Projects [in Northern

   Virginia].” Id. at ¶ 19. Mr. Gilpin stated that this unauthorized conduct put the (Northstar-
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   managed) landlords to whom Amazon rendered payments “in default under their respective credit

   agreements.” Id.

          178.    Mr. Lorman also reported that “multiple Northstar employees were involved in

   matters relating to Brian Watson’s personal finances,” and that Watson had “received into a

   personal bank account a deposit of approximately $5 million” that Mr. Lorman understood to

   comprise “part of a settlement” between Watson, Kyle Ramstetter, and Will Camenson on the

   White Peaks transaction proceeds that Watson demanded Ramstetter and Camenson pay Northstar

   in September 2019. Gilpin Decl. ¶ 21.

          179.    After Mr. Gilpin received the information and corroborating documents and files

   from Mr. Lorman in February 2020, see infra ¶¶ 97–102, he promptly shared them with IPI’s

   outside counsel, who in turn shared them with Amazon. See Gilpin Decl. ¶ 17; Dkt. 44 ¶ 12. IPI

   also shared “numerous examples” of Northstar’s and Brian Watson’s failures to “appropriately

   manage and comply with” requirements found in contracts governing the affected Virginia real

   property sites that Amazon would not have executed but for the Defendants’ and their co-

   conspirators’ unlawful conduct, as well as Watson’s failures to “appropriately manage and comply

   with project requirements.” Gilpin Decl. ¶ 6.

          180.    All of these failures caused damage to Amazon in amounts to be determined in the

   course of these and related legal proceedings.

          181.    For example, Northstar admitted to IPI in April 2018 that certain fees in the

   Northern Virginia Projects “were excessive.” Gilpin Decl. ¶ 5.

          182.    But Northstar represented to IPI “that an Amazon employee had nonetheless

   instructed Northstar to include them”—a representation on which IPI reasonably relied based in

   part on the Northstar Defendants’ relationship with Nelson and Kirschner. Id.

          183.    In reality, Kirschner, directly and through his brother Christian, Trustee of the

   Villanova Trust, had requested that Northstar add and/or increase fees to the budgets for the Lease


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   Transactions to increase the amount of fees that he and Nelson would receive through the

   Villanova Trust, which thereby increased the cost of the transaction to Amazon.

           184.   The first Lease Transaction, for example, contained a leasing fee of 0.5%, which

   was equivalent to an anticipated $300,000 for that transaction. The next Northstar budget,

   however, increased that fee to 2%, which was equivalent to an anticipated $1,013,614 for that

   transaction.

           185.   Indeed, correspondence obtained through discovery shows that in late 2017,

   Kirschner and Christian exchanged their “thoughts” about negotiating the fees that the Villanova

   Trust would receive from Northstar and Brian Watson, with proposed terms for, respectively, a

   “1st Deal” and “Future Deals” with Amazon. [CK1309]

           186.   These acts and other contract breaches, along with the underlying fraud and other

   unlawful acts that precipitated them, damaged Amazon, IPI, and their respective business partners,

   and compelled the Northstar Defendants’ for-cause termination from involvement with the lease

   transaction projects and contracts on April 2, 2020. Id. ¶ 22–25.

           F.     Amazon and IPI Amend the Tainted Lease Transactions to Mitigate Damages
                  From Northstar’s Fraud

           187.   After Amazon discovered the Defendants’ fraudulent scheme, Amazon and IPI

   devoted significant resources to transitioning and ultimately removing Defendants and associates

   entities from their roles in the Virginia Lease Transaction sites in the spring of 2020. See generally

   Gilpin Decl. ¶ 22–26; Dkt. 160-4. While Northstar’s removal from control of the lease sites has

   reduced the Defendants’ ability to harm those projects, there remains an imminent risk that, absent

   the injunctive relief ordered by the Court, the Defendants will spoliate evidence, disclose

   confidential Amazon information, and dissipate assets in which Amazon holds an equitable

   interest.

           188.   On February 19, 2020, Amazon and IPI agreed to amend the leases and

   management contracts at the Northstar-affiliated Lease Transaction sites to facilitate this transition

                                                    32
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   and the Northstar Defendants’ termination. IPI relied on its ability to exercise its “majority

   interest” authority over the joint venture that controls the Landlord LLCs for the relevant properties

   (“Dulles NCP, LLC, Quail Ridge NCP, LLC, Dulles NCP II, LLC and Manassas NCP, LLC”) to

   remove the Watson/Northstar-affiliated entities from both the joint venture and their involvement

   with the Landlord LLCs and the properties.

          189.    As part of these amendments, Amazon and IPI agreed that it was critical to avoid

   any interruption in the development or construction of the unfinished Northstar-affiliated Lease

   Transaction sites and the operation of the completed Northstar-affiliated Lease Transaction sites.

          190.    These understandings are reflected in the 2020 Lease Continuity Agreement

   between Amazon and IPI, which contains a clause guaranteeing completion of the Lease

   Transaction sites and Amazon’s right to “uninterrupted quiet enjoyment.”

          191.    In early April 2020, IPI executed its obligations under the Lease Continuity

   Agreement with Amazon by, among other things, terminating the Watson/Northstar-affiliated

   rights and interests in the Lease Transaction sites, transitioning vendor obligations, and demanding

   the Northstar Defendants’ return of books, records, and business information central to the

   integrity of Plaintiffs’ legal and business interests. Dkt. 160-4; Gilpin Decl. ¶¶ 22–26.

          192.    Specifically, on April 2, 2020, IPI sent a formal Termination Letter to Northstar

   and Watson notifying them of the Cause Event for their termination and IPI’s Election of Remedies

   as controlling stakeholder in the joint venture parent of the four landlord-developer entities for the

   relevant Virginia lease sites. This letter effected the immediate removal of Watson and several

   Northstar affiliates (NSIPI Administrative Manager, LLC, Sterling NCP FF, LLC, and Manassas

   NCP FF, LLC) from the joint venture and associated landlord-developer companies. Dkt. 160-5.

          193.    IPI coupled its April 2, 2020 Termination Letter to Defendants Watson and

   Northstar with required notices to other affiliates and partners. Dkt. 160-4.

          194.    The Termination Letters removed Northstar-related persons and entities from the

   NSIPI Virginia development joint venture and its affiliated landlord LLCs.
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          195.    The terminations were necessary to protect Amazon business relationships and

   mitigate damages that Amazon and/or its partners suffered as a result of the fraud and other

   unlawful schemes. This conduct caused costs on Amazon projects to exceed budgets, caused

   budgeted costs to be diverted to kickbacks and other unauthorized and unlawful payments, and

   fraudulently induced and caused Amazon to engage in business with partners that did not deliver

   the value they represented and contracted to provide, and whose work for the company Amazon

   would not have approved but for the Defendants’ unlawful acts.

          196.    Amazon and IPI incurred significant costs negotiating amendments to the leases

   and related contracts relevant to the sites affected by the Defendants’ misconduct and

   mismanagement. IPI has since assumed or transferred to other partners all Northstar-related

   responsibilities on the Lease Transactions, for which Amazon has approved more than $400

   million in Capital Appropriation Requests (i.e., spend requests) since February 2018. Dkt. 157-2.

   In December 2021, Amazon and IPI entered into the Confidential Settlement Agreement, which

   mitigated, but did not fully eliminate, the damages caused to both Amazon and IPI as the result of

   Defendants’ misconduct and mismanagement.

          G.      Defendants Obtained Millions of Dollars as a Result of the Fraudulent Lease
                  Transaction Conduct

          197.    The benefits Nelson and Kirschner received as a result of their unlawful conduct

   took many forms, including kickbacks benchmarked to various transaction fees and funneled

   through multiple shell entities, disguised lump sum payouts on Amazon transactions, and lavish

   trips or reciprocal agreements to steer real estate deals to the Northstar Defendants and their

   associates.

          198.    As set out in detail below, the monetary benefits provided to Nelson and Kirschner

   were facilitated and concealed by various trusts: Renrets; the Villanova Trust and the 2010

   Irrevocable Trust (the “Atherton Trusts”); and entities, including AllCore, Finbrit, Cheshire



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   Ventures, Sigma Regenerative Solutions and CTBSRM (the “Atherton Entities”), all but one of

   which were established specifically for this purpose by Atherton.

            199.    Atherton was a central part of the scheme, such that it would not have been possible

   without his involvement.

            200.    Atherton is an attorney barred in Colorado who was previously suspended from the

   practice of law from November 15, 2013 to February 25, 2014, Dkt. 162-3, due to violations of

   five separate Colorado Rules of Professional Conduct in connection with financial transactions.8

   Atherton reportedly assisted clients in exploiting a Colorado conservation easement program to

   improperly obtain millions of dollars in state and federal tax credits. See Dkt. 162-4. Bank

   accounts held in Atherton’s name have also been the subject of forfeitures related to the

   government’s investigation into the scheme that is the subject of this suit. See Dkt. 162-5.

            201.    Atherton’s “job” in the conspiracy, as described by Nelson, was to “make us

   invisible” by creating the appearance of a “clean” structure – and that’s “exactly what he [was]

   doing.” Dkt. 212-12. Nelson explained that “the reason we love Rod [Atherton] is because Rod’s

   like this is what I do . . . He, Romanowski, all these guys. This is his f[*]cking job—is to keep

   these guys safe.”9




     8
         Atherton violated Colo. RPC 1.7(a)-(b) (Version 2002) (limiting a lawyer’s permission to
         represent a client where the representation is directly adverse to another client, or where the
         representation may be materially limited by the lawyer’s responsibilities or interests); 1.8(a)
         and (f) (Version 2002) (restricting the circumstances in which a lawyer may enter into a
         business transaction with a client or knowingly acquire a pecuniary interest adverse to the
         client, and the circumstances in which a lawyer may accept fees for representing a client from
         one other than the client); 1.3 (Version 2002) (a lawyer shall exercise reasonable diligence and
         promptness); 1.4(a)-(b) (Version 2002) (a lawyer shall keep a client reasonably informed about
         the status of a matter, promptly comply with reasonable requests for information, and explain
         a matter so that a client can make informed decisions); and 8.4(c) (a lawyer shall not engage
         in conduct involving dishonesty, fraud, deceit, or misrepresentation).
     9
         Dkt. 212-12. This is likely a reference to the tax fraud scandal involving Bill Romanowski,
         the former National Football League linebacker found to have improperly taken tax deductions
         by a United States Tax Court judge in 2013. According to news publications addressing the
         case, Romanowski asserted that he was “brought into the investment scam by Rodney
                                                                                (Cont’d on next page)
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          202.    Atherton did so by, among other things, “set[ing] up” “the 2010 Irrevocable Trust,”

   which received 66% of the funds from Northstar via the Villanova Trust.

          203.    Kirschner and Nelson “formed Allcore [sic] through Rod Atherton.”

          204.    Atherton likewise formed Defendants Cheshire Ventures and Finbrit in Wyoming

   in June 2019 and September 2019, respectively, and Sigma in Colorado in June 2019, immediately

   following Nelson’s termination from Amazon and Kirschner’s assumption of Nelson’s portfolio

   and responsibilities in Amazon’s real estate division.

          205.    Earlier in March 2018, Atherton also formed Defendant 2010 Irrevocable Trust and

   CTBSRM in Colorado and Wyoming, respectively.

          206.    At a minimum, Defendants expected to obtain tens of millions as a result of the

   fraudulent lease transaction conduct, including approximately $5,120,000 in kickbacks attributable

   to the Leases paid by Defendants Watson and WDC Holdings via the Villanova Trust. The 2018

   Kickback Agreement (and the Kirschner Recycle Bin spreadsheet to which Kirschner keyed the

   anticipated profits to himself and his co-conspirators from that agreement) also anticipated the

   payment by Northstar to the Villanova Trust (and accordingly to Nelson and Kirschner) of monies

   associated with the back end of the deal, e.g. at the end of the lease term with Amazon—“any MP

   [Managers Profits] Interest Fees within fifteen (15) days . . . upon receipt of such funds from a sale

   or other capital event wherein MP profits are received by [Northstar].”




      Atherton, a Denver tax attorney who was also at the center of the near-collapse of Colorado’s
      conservation-easement program in 2007.” The article continued that “Atherton and the law
      firms where he has worked have battled lawsuits accusing them of misconduct and being the
      cause        for      millions        of        dollars      in       back-tax         liabilities.”
      (https://www.denverpost.com/2013/02/27/bill-romanowski-ex-denver-broncos-lb-owes-5-
      million-tax-court-says/); see also https://www.leagle.com/decision/intco20130220f21 This
      decision states, among other things, that “[a]lthough he testified multiple times to the contrary,
      the evidence is clear that Atherton received improper payments from [the investment
      opportunity in which Atherton had convinced Romanowski to invest] as a result of
      [Romanowski] choosing to enter the program.”
                                                    36
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          207.    Defendant Nelson in fact boasted about the money he had made through this

   scheme, asserting to Ramstetter in their July 2019 meeting at the Denver International Airport, for

   example, that: “I don’t candidly, I don’t actually need the money. I’ve put enough of the f[*]cking

   money I made on the Brian deals in the, you know, couple different investments and savings

   accounts.” Dkt. 212-12.

          208.    The United States filed a forfeiture action in this District indicating that, from

   August 2018 to August 2019, “the Villanova Trust wired approximately $3,375,625 to a bank

   account maintained for the benefit of” Nelson and Kirschner. Dkt. 156-2 ¶ 10. The forfeiture

   complaint, which was filed against a lake house in Minnesota owned by Kirschner, further states

   that Kirschner “has admitted accepting funds from [Northstar] associated with [his] job with

   [Amazon],” that Northstar “paid the kickbacks to the Villanova Trust associated with the

   [Amazon] development deals in Northern Virginia,” ¶ 13, and that Nelson and Kirschner also

   “received or benefitted from approximately $5,818,955 from other developers in 2019 for

   [Amazon] projects in Northern Virginia.” Id. ¶ 14.

          209.    This is consistent with evidence Amazon has obtained in its ongoing internal

   investigation of the Defendants’ unlawful enterprise.

          210.    Specifically, the “First Western Trust Bank account ending 3698 maintained for”

   Nelson and Kirschner that received “$9,194,580.50 in fraud proceeds” (Dkt. 156-2) reflects at least

   in part wire payments from Villanova Trust to another trust or account (¶¶5–15). Further, the

   “seven transfers totaling $6,244,442.19 [that] were made between First Western Trust Bank

   account ending 3698 and First Western Trust Bank account ending 0525” (Dkt. 156-2) reflect at

   least in part wire payments from a separate trust or account (¶16) to AllCore.

          211.    On or about December 14, 2018, Watson asked a Northstar subordinate to send him

   “the template referral agreement” and itemized referral fees for Northstar’s “top 10 referral

   partners,” including Villanova Trust. Dkt. 160-6.


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           212.    The Northstar employee informed Watson that “V illanova [sic] Trust” had

   received “$50,000.” Id.

           213.    Watson then requested “the total amount of fees we have paid to Villanova, or ALL

   fees . . . . Leasing, sales, development, etc.” Id.

           214.    The Northstar employee responded that Northstar had paid $4,641,955.40 to

   Villanova at that time. Id.

           215.    Funds received by Villanova were subsequently passed through to AllCore for the

   personal benefit of Nelson and Kirschner.

           216.    Whether other entities or individuals covered by Northstar’s “template referral

   agreement” or “top ten referral partners” had a role in the Lease Transaction portion of the RICO

   or other unlawful scheme is not clear. But records obtained from Northstar’s former COO Mr.

   Lorman indicate that at a minimum, the Lease Transaction conduct involving the Defendants

   continued beyond the December 2018 date on which Northstar records show $4.6 million in

   payments to Villanova Trust. In 2019, Northstar sent at least two wires to Villanova Trust with

   “transaction memo” references to two separate Northstar landlord LLCs (Dulles and Manassas)

   connected to the Lease Transaction conduct:

    DATE                   AMOUNT                        TRANSACTION MEMO
    June 7, 2019           $150,000.00                   Dulles Final Leasing Payment
    August 7, 2019         $321,028.44                   Manassas Leasing Fee

           217.    Further, financial statements obtained since Amazon initiated this suit indicate that

   the Northstar Defendants had received at least $10,026,899 in acquisition, leasing, development,

   and asset management fees on just the Dulles and Quail Ridge lease projects as of late 2018, and

   had wired at least $5,112,983.84 to Defendant Villanova Trust pursuant to its 2018 Referral

   Agreement with Northstar on the Amazon Lease Transactions. Dkt 156-1; Dkt. 57 ¶ 4.

   V.      THE FRAUDULENT DIRECT PURCHASES

           218.    The Direct Purchase portion of Defendants’ fraudulent enterprise was a parallel and

   significant complement to the Lease Transaction portion.
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          219.   The Direct Purchase portion of Defendants’ RICO enterprise included at least the

   2019 White Peaks land sale to Amazon, and a separate land acquisition in Northern Virginia at the

   end of 2019 that netted Nelson and Kirschner approximately $2.5 million each.

          A.     The White Peaks Transaction

          220.   In the summer of 2019, two of Northstar’s then-employees (Ramstetter and

   Camenson) used Defendants White Peaks Capital LLC and NOVA WPC LLC to facilitate the sale

   to Amazon of land in Chantilly, Virginia for a new Amazon development. See Dkts. 160-7 to -10.

   At the time of the transaction, these two Northstar employees styled themselves, respectively, as

   “Managing Director” of both LLCs, and “Manager” of White Peaks Capital.

          221.   Nelson and Kirschner played an essential role in the White Peaks Transaction,

   worked with the White Peaks Defendants to ensure its success, and did so to obtain kickbacks from

   the White Peaks Defendants—actions that both Nelson and Kirschner knew to be fraudulent and

   in violation of their obligations under Amazon’s Code of Conduct and other policies, including

   the                                 .

          222.   On or about July 30, 2019, Defendant NOVA WPC LLC purchased the White

   Peaks property from 41992 John Mosby Highway LLC, a Virginia limited liability company, for

   $98.67 million.

          223.   41992 John Mosby Highway LLC had purchased the White Peaks property for

   approximately $20 million just 13 months earlier. Dkts. 161-1, 161-10 to -12, 162-1.

          224.   That same day (July 30, 2019), NOVA WPC LLC sold the White Peaks property

   to Plaintiff Amazon Data Services for approximately $116.4 million. Dkts. 160-7 to -10, 161-1,

   161-2. Press coverage of the sale highlighted Defendant NOVA WPC LLC’s same-day profit of

   nearly $18 million. Dkt. 161-1.

          225.   The nearly $18 million in proceeds the White Peaks Defendants realized on the sale

   were funded directly by Amazon’s purchase of the property. As described below, a portion of

   those funds were used to pay kickbacks to Nelson, Kirschner, and Watson.
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            226.    Nelson asserted on multiple occasions that he and Kirschner were able to, did, or

   had, engineered internal Amazon approvals for the White Peaks transaction. For example:

            i.      In a June 13, 2019 chat—occurring days before Amazon terminated Nelson’s

                    employment for misconduct—Nelson wrote to Ramstetter that the latter should

                    “work with me on getting the contract clean ASAP and I’ll push the internal CAR

                    [Capital Appropriation Request, i.e., the internal Amazon transaction approval

                    process] to clean that out . . . Then we move to PSA with you [] And it will go fast

                    . . . This is all I’m focused on now [] So we will get it done!” Dkt. 212-160, pgs.

                    15-16.


            ii.     In the recorded conversation between White Peaks/NOVA WPC principal

                    Ramstetter and Nelson occurring in July 2019 at the Denver International Airport,

                    Nelson asserted that Ramstetter had “people like Casey [Kirschner] or myself

                    saying, ‘we’ve got this,’” (Dkt. 212-12), and that regarding pending deals in which

                    he and Kirschner have an interest, “Casey [Kirschner] will get them through. He

                    knows how to get them through” Dkt. 212-12.10


            iii.    And when Ramstetter expressed concern about Nelson’s direct participation in the

                    approval process for the transaction with respect to which he is pressuring

                    Ramstetter to pay him a kickback—“here’s what scares me, when you said, hey, I

                    personally walked this through and ran the level eight, ten, whatever the meetings




    10
         Defendant Nelson also suggests to Ramstetter in July 2019—after Amazon terminated his
         employment with the company following an investigation substantiating allegations of
         misconduct—that he is able to obtain a job for Ramstetter working at Amazon: “We can get
         you that job. I can get you that job today. We can bring it on a loop and get that cooking. I
         don't think you want that job. You’re maxed out at 160 base a year.” Dkt. 212-12.
                                                                                 (Cont’d on next page)
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                   they were”—Nelson asks, “Why?” and suggests that the date on the agreement will

                   somehow obfuscate his prior involvement.11

            227.   Nelson and Kirschner also exerted pressure on the White Peaks Defendants to

   obtain a share of the approximately $18 million profit obtained by the White Peaks Defendants

   through the sale of the property to Amazon. The White Peaks Defendants yielded to this pressure.

            228.   For example, in the July 2019 discussion at the Denver International Airport,

   Nelson pressured Ramstetter to share monies from the transaction with himself and Kirschner,

   threatening that “Casey [Kirschner] wants to blow you up.” Dkt. 212-12. After Ramstetter

   expressed concern about the “anti-bribery language” in contracts with Amazon, Nelson

   acknowledged that Ramstetter’s concern is valid: “[t]he anti-bribery stuff, there’s no question

   that that could be -- you get to Code of Business conduct and those things . . . ,” but assures

   Ramstetter that “the only people that are gonna know about this, are gonna be you, me and

   Casey.” Dkt. 212-12.

            229.   The White Peaks Defendants yielded to this pressure because they recognized, as

   reflected in their own documents, that Nelson and Kirschner

                              The White Peaks Defendants therefore agreed to wire the $1 million

   kickback pursuant to instructions issued by Atherton. In order to further obfuscate the payment,

   Nelson, Kirschner, and Atherton then arranged for Amazon civil engineering contractor Johnny

   Lim and his company, E2M Properties, to facilitate the transfer of the kickback by making the

   payment through E2M.

            230.   Kirschner used upwards of $1.5 million of the funds from the White Peaks and

   other kickbacks to finance the construction of a lake house in Minnesota. Dkt. 156-2.




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         Dkt. 212-12.
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           231.   The White Peaks Defendants also disbursed $5 million of the proceeds from the

   2019 property sale to Watson.

           232.   On September 27, 2019, approximately six weeks after the Washington Business

   Journal reported on the transaction, Watson confronted the White Peaks principals and then-

   Northstar employees Ramstetter and Camenson about the land sale. Dkt. 155-9.

           233.   Watson accused Ramstetter of engaging in a side deal with Northstar’s “largest

   client” (Amazon), and characterized Ramstetter’s conduct of the transaction as “federal FBI-type

   stuff.” Id.

           234.   Watson never raised these concerns with Amazon, and instead pressed Ramstetter

   to “pay us [Northstar] the money [nearly $18 million] immediately” because “[a]nything that

   comes from [Amazon deals] should be Northstar.” Id. at 5.

           235.   Ramstetter replied that he was “[p]otentially” willing to pay Northstar the money,

   but suggested he and Watson discuss the matter with their Amazon contact—Kirschner—“over a

   drink.” Id. at 6. Ramstetter then alluded to misconduct on other Amazon-related transactions,

   stating that “what we did for Amazon—that’s FBI . . . . You have two corporate real estate people

   for the largest tenant in the world that you can trace the money, it will get out of hand” because

   there is evidence showing that “we all know what we did.” Id. at 8. He then reiterated that he,

   Watson, and Kirschner should try to “work something out” before someone “say[s] something to

   the wrong person and it gets out, [and] the whole Amazon thing shut[s] down.” Id.

           236.   During a separate conversation Watson secretly recorded, former Northstar

   employee and White Peaks principal Will Camenson stated that Northstar was left out of the deal

   because of Watson’s “actions and [Watson’s] treatment of Kyle [Ramstetter] and his contract.”

   Dkt. 155-9 at 19.

           237.   Following these conversations, Northstar fired the two employees involved in the

   White Peaks transaction, but only

                                           and paying both of these Defendants a total of $5 million
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   in by their employees. In or about February 2020, Watson used approximately $1.36 million of

   the $5 million payment he received for the White Peaks transaction to fund the construction of a

   ranch home in Grand County, Colorado.

          241.    On the following Monday, September 30, 2019, Watson continued to discuss the

   White Peaks Purchase with Northstar’s then-COO, Timothy Lorman, who later blew the whistle

   on the fraud scheme. To “demonstrate to [Mr. Lorman] that his relationship with Casey Kirschner

   was still strong despite the fallout from the NOVA WPC Transaction, Watson called Kirschner

   and put the call on speakerphone,” without telling Kirschner that Mr. Lorman was in the room.

   Lorman Decl. ¶ 12. After discussing the White Peaks Purchase, Kirschner “commented that he

   had never liked Ramstetter, and that Ramstetter had ‘been involved in this for two weeks and he

   figured out what you and I were doing,’ or words to similar effect.” Id.

          242.    At the time Watson demanded and accepted $5 million in proceeds from the White

   Peaks transaction on the premise that the money was payable to Northstar as Amazon’s agent,

   Watson knew or should have known that prior Northstar payments he had arranged had been used

   to bribe Nelson and Kirschner in connection with the Lease Transactions. Watson also knew or

   should have known that the White Peaks land sale was tainted by payments or other benefits to

   Kirschner (and potentially Nelson) that violated Amazon policies and Northstar’s obligations to

   Amazon. See Dkts. 9-10, 15-16, 39-48, 57-59, 67-69, 82, 84-85, 91, 99.

          243.    Following the PI hearing in this action in May 2020, counsel for the White Peaks

   principals advised Amazon that “Kyle Ramstetter (controlling manager of White Peaks Capital

   and NOVA WPC LLC) is cooperating with the government in its ongoing investigation of the

   events referenced in your complaint.” Dkt. 155-8.

          B.      The Blueridge Transaction

          244.    Nelson and Kirschner facilitated other purchase transactions in Northern Virginia

   for their own personal benefit.


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          245.    In late 2019, Amazon purchased 100 acres in Northern Virginia (the “Blueridge

   Property”) for $83 million (as part the Blueridge Transaction).

          246.    Nelson used proprietary information obtained while working at Amazon to

   interpose an intermediary, the “Blueridge Group,” in the transaction. The Blueridge Group

   partnered with Nelson, who was working under a consultancy agreement between the Blueridge

   Group and Finbrit, in order to benefit himself, Cheshire Ventures, Finbrit, and Kirschner.

          247.    Unbeknownst to Amazon, the Blueridge Group had entered into a “Finder’s Fee

   Agreement” with Finbrit Holdings, LLC (as the “Finder”) on May 15, 2019—approximately one

   month before Nelson’s employment was terminated by Amazon for misconduct. The Finder’s Fee

   Agreement” asserted that the Blueridge Group was “close to executing a purchase and sale

   agreement . . . with H&D Gudelsky Asset Management, LLC . . . as Seller . . . of approximately

   100 acres of land . . . Due to the assistance of the Finder’s helping to locate the Land and assisting

   in negotiating certain of the terms of the PSA, [the Blueridge Group] desires to pay the Finder a

   finder’s fee.” The “Finder’s Fee” was set at “fifty percent (50%) of the net proceeds . . . paid to

   [the Blueridge Group] at the closing.”

          248.    The Finder’s Fee Agreement was signed for Finbrit by “Von Lacey, Manager.”

   The Finder’s Fee Agreement was negotiated for Nelson and Kirschner by Atherton.

          249.    In or around May 2019, the Blueridge Group entered into a purchase and sale

   agreement to purchase the land from the seller for approximately $73 million.

          250.    The terms and form of the purchase and sale agreement were substantially similar

   to a draft agreement exchanged between the seller and Kirschner earlier in May 2019. The draft

   purchase and sale agreement provided that the cost of the sale of the land to Amazon would be $73

   million.

          251.    Nelson was copied on an email chain dated between August 20 and September 20,

   2019—months after he was terminated from Amazon—regarding the purchase of this property by

   Blueridge. Dkts. 163-1, 163-2.
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          252.    In    that    email     chain,    Nelson’s     email    address     is    listed   as

   “Cheshireventures@outlook.com.”

          253.    In addition to negotiating this corrupt transaction while employed at Amazon,

   Nelson knowingly engaged in this transaction after his employment ended in violation of his

   CNIAA agreement with Amazon, which precluded him from using confidential information

   acquired during his tenure with Amazon and also included an 18-month non-compete provision

   following the termination of his employment with Amazon.

          254.    Nelson, in fact, explained the need to use Von Lacey to conceal his role. In his July

   2019 conversation with Ramstetter, Nelson referenced his eighteen-month non-compete and told

   Ramstetter that “for the next seventeen and a half months,” his name is “Von Lacey.” Dkt. 212-

   12.

          255.    Atherton aided Nelson (and thereby Kirschner, who benefitted through his receipt

   of half of the proceeds provided to Finbrit through the corrupt arrangement) to avoid detection by

   Amazon of his illicit role in connection with the Blueridge Transaction. In August 2019, Atherton

   emailed John Cadwallader, the attorney for Blueridge, to explain that the parties should set up

   Blueridge so that Nelson and Atherton would own 50% of the entity. Atherton then noted the need

   for secrecy: “On our side, we will most likely sell our interest in the deal prior to a closing where

   the underlying ground is sold. This helps keep this side’s interest as far from any potential media

   scrutiny discoveries as possible—giving us about as complete anonymity as I can muster.”

          256.    In or around November 2019, and due to Kirschner’s action, who had previously

   negotiated a $73 million purchase price for the land for Amazon, Amazon agreed to purchase the

   Blueridge Property for $73 million, and also pay Blueridge Group an additional $10 million

   assignment fee, which included the undisclosed kickback for the benefit of Nelson and Kirschner

   that Atherton and Von Lacey helped to arrange.




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          257.    Lim—who had been engaged by Amazon to assist with civil engineering for the

   transaction—was also enlisted by Nelson and Kirschner to assist Blueridge, Nelson, Kirschner,

   Atherton, and Finbrit in connection with the same transaction.

          258.    On or around December 23, 2019, Amazon was assigned the purchase agreement

   and acquired the property for $83 million.

          259.    The $83 million purchase price included the previously described $10 million

   assignment fee payable to Blueridge Group.

          260.    That same day, Cadwallader, the attorney for Blueridge, sent an email to various

   parties including Defendants Nelson (at his Cheshire Ventures account) and Atherton, breaking

   down the payment of the proceeds. In the breakdown, Cadwallader noted that “50% of the Net

   Proceeds is the wire to FinBrit.”

          261.    Also that same day, Cadwallader emailed Nelson and others involved in the

   Blueridge transaction that the Finbrit portion of the transaction proceeds would be approximately

   $4,673,000.

          262.    On December 23, 2019, Defendant Allcore issued a $20,000 “Thank You Bonus”

   to Lim in return for his concealed assistance to Nelson, Kirschner, Atherton, and Von Lacey on

   the Blueridge Transaction.

          263.    On December 24, 2019, the Blueridge Group made a wire transfer of $4,818,955.50

   to the 2010 Irrevocable Trust. Undated wire instructions for the 2010 Irrevocable Trust identify

   Atherton as Trustee of 2010 Irrevocable Trust at First Western Trust.

          264.    Nelson and Kirschner brought Blueridge Group into the transaction to serve as a

   conduit for approximately $4.8 million in kickbacks.

          265.    The value of any services or improvements that the Blueridge Group might have

   provided with respect to the Blueridge Property between the time it signed the purchase agreement

   and the time it assigned it to Amazon did not total anywhere near $10 million. Regardless, the


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   assignment fee payable to the Blueridge Group included a hidden 50% kickback payment for the

   benefit of Nelson and Kirschner.

          266.    After the transaction closed, Blueridge Group paid approximately half of the

   assignment fee remaining after costs—or $4,818,955.50—to the 2010 Irrevocable Trust, which

   had been set up by Atherton to funnel kickbacks to Nelson, Kirschner, and Atherton.

          267.    Atherton then caused the 2010 Irrevocable Trust to transfer the kickback proceeds

   to bank accounts controlled by Nelson, Kirschner, and Atherton via various accounts controlled

   by Atherton and Von Lacey. Nelson, Kirschner, and Atherton took approximately even shares

   from the proceeds, each netting approximately $1.1 million in profit from the Blueridge

   Transaction. In particular, on or about December 31, 2019, Atherton caused funds in the amount

   of $1.4 million to be transferred from the 2010 Irrevocable Trust to an account controlled by

   Atherton and Von Lacey and held in the name of AllCore, and on or about December 27, 2019,

   Atherton caused funds in the amount of approximately $3.6 million to be transferred from the 2010

   Irrevocable Trust to an account controlled by Atherton and Von Lacey and held in the name of

   CTBSRM. Between on or about December 30, 2019, and on or about March 20, 2020, Nelson

   received approximately $1.1 million in proceeds from the Blueridge transaction via accounts

   controlled by Atherton, Sigma, Cheshire Ventures, and Renrets. Between on or about December

   31, 2019 and March 18, 2020, Kirschner received approximately $500,000 in proceeds from the

   Blueridge transaction via accounts controlled by Atherton, Sigma, and Kirschner, and Kirschner

   spent $600,000 of the proceeds on the construction of a lake house in Plymouth, Minnesota.

   Between on or about December 31, 2019 and May 5, 2020, Atherton received approximately $1.1

   million in proceeds from the Blueridge transaction via accounts controlled by him and/or various

   entities he owned or controlled. .




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          C.      Defendants Obtained Tens of Millions of Illicit Gains as a Result of the
                  Fraudulent Purchase Transaction Conduct

          268.    As a result of the conduct relating to the Direct Purchase Transactions, the

   Defendants obtained at least $22.7 million in illicit gains, including the following:

          269.    Approximately $4,800,000 in kickbacks from the Blueridge transaction, which

   were funded by the $10,000,000 assignment fee paid by Amazon to the Blueridge Group.

          270.    Approximately $17,700,000 from the White Peaks transaction, which is the

   difference between the NOVA WPC LLC purchase price and Amazon’s subsequent purchase

   price, and which funded $5,000,000 in kickbacks to Defendant Watson and approximately

   $1,000,000 in kickbacks to Nelson and Kirschner.

          D.      The Northstar Defendants are Liable Under the Doctrine of Respondeat
                  Superior for the Acts of Their Employees, Kyle Ramstetter and Will
                  Camenson, in the Direct Purchase Portion of the Kickback Scheme.

          271.    Northstar employed Ramstetter and Camenson, and the work they did was at

   Northstar’s direction.

          272.    During the relevant time period, Kyle Ramstetter was employed as an account

   manager at Northstar.

          273.    During the relevant time period, Will Camenson was also employed as an account

   manager at Northstar.

          274.    The Northstar and White Peak Defendants were engaged in commerce through their

   business dealings.

          275.    The White Peaks sale was done within the ordinary course of Northstar’s business

   and within the scope of Ramstetter and Camenson’s authority as employees of Northstar.

          276.    Indeed, in connection with the White Peaks transaction,

                                                                         . See Dkt. 163-7.

          277.    Brian Watson owns and controls Northstar and as chief executive of Northstar, was

   in a position of control and oversight over Ramstetter and Camenson.

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           278.    In a recorded discussion between Watson and the White Peaks Defendants, Watson

   repeatedly emphasized that both Ramstetter and Camenson were employees of Northstar during

   the Direct Purchase portion of the kickback scheme, stating “[y]ou were working for Northstar as

   a full-time employee,” Dkt. 155-9 at 6, “[y]ou are an employee of this company,” id. at 8, and

   “Will [Camenson]...who was under you, and you were overseeing him as his manager,” id.

           279.    Watson also threatened to fire Ramstetter and Camenson if they did not “do the

   right thing and pay [Northstar the White Peaks sale proceeds] immediately.” Dkt. 155-9 at 6, 10,

   23. In so doing, Watson threatened to terminate their employment if they did not perform an act

   within the scope thereof.

           280.    Indeed, Watson contrasted the positions Ramstetter and Camenson held at

   Northstar with the position that another individual (“Don”), who “is not an employee of this

   company [and] can do whatever he wants to do.” Id. at 11.

           281.    Ramstetter and Camenson were acting within the scope of their apparent authority

   as WDC/Northstar employees when they negotiated the White Peaks sale with Amazon.

           282.    In the recording, Watson tells Ramstetter that: “You were brought in to the Amazon

   account to work specifically for Amazon on our behalf.” Id. at 6.

           283.    In the recording, Watson also asserts that: “[I]f you’re an employee of this

   company, and you’re being paid for full-time work, . . . you’re doing deals that would be deals that

   Northstar is doing . . . .” Id. at 11.

           284.    Ramstetter and Camenson were aware that proceeds from Amazon’s purchase of

   the White Peaks property were used to fund a payment to Casey Kirschner, and this knowledge

   was known or attributable to the Northstar Defendants at the time they demanded and received $5

   million in proceeds from the White Peaks sale to Amazon.

           285.    Watson and Northstar thus knowingly or recklessly received benefits, including a

   $5 million payment in the fall of 2019, from the Direct Purchase portion of the kickback scheme.


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           286.     Watson and Northstar, under the doctrine of respondeat superior, are responsible

   for all damages that resulted from any wrongful acts committed by the White Peaks Defendants

   and/or their principals, former Northstar employees Ramstetter and Camenson, in the claims at

   issue in this suit.

   VI.     DEFENDANTS USED A COMPLEX WEB OF TRUSTS AND ENTITIES TO
           CONCEAL THEIR ILLICIT GAINS AND AVOID PAYMENT OF TAXES

           287.     Nelson and Kirschner used the proceeds of their unlawful enterprise, laundered

   through various trust and third party accounts, to support some or all of five Wyoming entities—

   Defendants AllCore, Finbrit, Cheshire Ventures, Sigma Regenerative Solutions, and CTBSRM—

   they formed while at least one of them was still employed at Amazon.

           288.     Casey Kirschner, in a signed statement made to the government, admitted and

   summarized the flow of illicit funds:

           I accepted money from Northstar associated with deals I worked on with Amazon. Carl
           Nelson and I formed Allcore through Rod Atherton. Northstar paid kickbacks, which were
           paid to the Villanova Trust. The Villanova Trust was formed by my brother, Christian
           Kirschner. Brian Watson of Northstar paid the Villanova Trust associated with the Amazon
           development deals in Northern Virginia. The Villanova Trust transferred 66% of the funds
           from Northstar to the 2010 Irrevocable Trust, which Rod Atherton set up. Rod Atherton
           then transferred the funds to me and Carl Nelson.

           E.       Atherton

           289.     In addition to setting up sham entities to conceal the identities of the co-

   conspirators, as described above, Atherton facilitated transfers of the illicit funds.

           290.     For example, WhatsApp exchanges between Kirschner and his brother Christian

   include a request by Kirschner for Christian to “work with Rod [Atherton] to have our shares wired

   to his Trust. I just talked to him he will disperse to us from there.”

           291.     Atherton also knowingly enabled Nelson and Kirschner to use the Northstar funds

   for their personal benefit, including accessing at least some funds under the guise of loans.

   Atherton “advised” Nelson and Kirschner that the “key is avoiding [payments] being looked at as

   a distribution,” by styling them as sham “loans.”

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           292.   Atherton was a willing and knowing participant in the conspiracy who sought to

   shield and recharacterize his role behind the veil of legitimate legal services. As Kirschner

   admitted in his signed statement, Atherton knew that the money paid to the 2010 Irrevocable Trust

   was from Northstar, and he knew that Nelson and Kirschner worked for Amazon.

           293.   Recent discovery also revealed that Atherton was enthusiastic about becoming

   involved in this scheme to Kirschner’s brother, Christian, writing in September 2018 that he

   “want[ed] to help with the stuff you and Casey are working on and my mind is on overdrive on

   it.”

           294.   Nelson and Kirschner paid Atherton at least “a hundred and fifty thousand a year”

   for his role in the conspiracy out of funds derived from the proceeds of their unlawful enterprise

   and laundered through the Atherton Entities. Dkt. 212-12 (“AllCore has received like $3 million

   in revenue. But then, you’ve got to remember, like, we pay Rod a hundred and fifty thousand a

   year, we pay Von Lacey to be a straw guy . . .”)

           F.     Von Lacey

           295.   Defendant Von Lacey was paid by Nelson and Kirschner “to be a straw guy”—

   meaning that Von Lacey’s name appeared on organizational documents and other corporate

   documents of several of the entities created by Atherton in furtherance of the scheme.

           296.   While Von Lacey’s name appeared on the entities, it was in fact Nelson and

   Kirschner who controlled the entities. In Nelson’s words, Nelson’s “name” was “Von Lacey” “for

   the next seventeen months.” Dkt. 212-12. Atherton also described Von Lacey to Christian as a

   “quality guy” who “has been opening doors” for Atherton.

           297.   As an example of the services provided by Von Lacey, the May 15, 2019 “Finder’s

   Fee Agreement” between Blueridge Group and Finbrit is signed by “Von Lacey” as “Manager” of

   the entity.




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          G.      Villanova Trust

          298.    Defendant Kirschner has admitted in a signed statement that Atherton helped the

   Nelson and Kirschner to establish the Villanova Trust as a vehicle for them to receive kickback

   payments from fees Northstar had obtained through the Lease Transactions with Amazon.

          299.    The Villanova Trust did not perform any legitimate services that would justify its

   receipt of fees associated with the Lease Transactions.

          300.    Watson, Nelson, Kirschner, and Atherton all were aware that the purpose of the

   Villanova Trust was to hide from Amazon the fact that Nelson and Kirschner would each receive

   a share of the money payable from Amazon to Northstar under the lease transactions and in fact

   designed this structure to accomplish that aim.

          301.    Watson knew that some of the funds going to Villanova Trust would be, and were

   being, distributed to Kirschner and Nelson.

          302.    The Villanova Trust wired funds deposited into the Trust to other accounts or trusts,

   such as the 2010 Irrevocable Trust settled by Atherton, that would, in turn, wire the funds to

   AllCore and to Kirschner and Nelson.

          303.    Following the PI hearing in this action against Villanova Trust, Christian

   Kirschner’s counsel advised Amazon that Christian Kirschner, Villanova’s founder and sole

   trustee, “is cooperating with the government in its ongoing investigation into the events referenced

   in [Amazon’s] complaint.” Dkt. 161-8.

          H.      AllCore

          304.    Atherton formed Defendant AllCore in March 2018. He did so shortly after the

   award of at least two Lease Transactions to Northstar.

          305.    Atherton structured AllCore as a legitimate business when in reality AllCore was

   a mechanism through which Nelson and Kirschner could collect illicit funds without detection.

   Atherton did so with full knowledge that he was facilitating the transfer of kickbacks through

   various trust accounts and entities.
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            306.    AllCore was formed by Atherton for the purpose of allowing Nelson and Kirschner

   to receive funds that flowed through the Villanova Trust, and from the Villanova Trust through

   the 2010 Irrevocable Trust to then be transferred to Nelson and Kirschner—all to facilitate their

   access the Northstar kickbacks while employees of Amazon or soon thereafter.

            307.    AllCore received proceeds from the unlawful enterprise and Nelson and Kirschner

   in turn used funds from AllCore for their personal benefit.

            308.    Bank records show that Nelson and Kirschner could and did obtain for their

   personal use funds wired from these other accounts or trusts to AllCore in the form of sham

   “loans.” Nelson and Kirschner had no intention of repaying these loans, and Atherton caused them

   to be extended with full knowledge of this. In a July 2019 conversation, Nelson told Ramstetter

   that the loans “aren’t recorded, they’re totally, I mean it’s literally, Rod [Atherton] will say like

   ‘yeah so you’re not paying the notes. So who’s going to complain? The trust? . . . Well I am the

   trust. What’s going to happen?” Dkt. 212-12.

            I.      The Flow of Illicit Funds to Defendants

            309.    Bank records and other summary materials identified to Amazon in discovery make

   clear that the Atherton Trusts and the Atherton Entities were part of an elaborate scheme to

   obfuscate and conceal the payment of kickback monies to Nelson and Kirschner. Monies

   deposited into the 2010 Irrevocable Trust were sent to:

            i.      Ramstetter, in return for his assistance to Nelson and Kirschner in facilitating the

                    transfers to the Villanova Trust;12




    12
         See, e.g., Dkt. 212-16: Nelson messages Ramstetter that Ramstetter can expect a “[l]ittle Xmas
         bonus”; Nelson suggests that Ramstetter, in connection with this payment, “sign the W9” and
         writes that they “had to approach it as an employee with payment due to our structure [] On
         advice of counsel – puts the tax burden on you which I wanted to avoid.” Ramstetter replies,
         “[n]ow flip me a couple buildings in the interim and let me really line your pockets like we
         were discussing!” (pg. 9)
                                                                                 (Cont’d on next page)
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            ii.     Nelson, directly;

            iii.    Nelson, by way of Allcore Development LLC and Atherton;

            iv.     Nelson, by way of CTBSRM, and Renrets LLC, an entity established in May 2017

                    by James M. Sterner (“Renrets” is “Sterner” spelled backwards), who is his father-

                    in-law.13 Sterner is the sole member of the LLC.

            v.      Kirschner, directly;

            vi.     Kirschner, by way of CTBSRM, Ergo Law LLC, Allcore Development LLC,

                    Sigma Regenerative Solutions LLC, and Atherton;

            vii.    Cheshire Ventures, by way of Allcore Development LLC, Sigma Regenerative

                    Solutions LLC, and Atherton; and

            viii.   Atherton, by way of Allcore Development LLC, Ergo Law LLC, and Sigma

                    Regenerative Solutions LLC.

            310.    In addition to obscuring the identities of Nelson and Kirschner as recipients of

   kickback payments flowing from transactions with Amazon, this complex web of payments and

   interlocking shell entities was intended to, and did, provide a means by which Nelson and

   Kirschner sought to avoid the payment of taxes legally due on their illicit profits.

            311.    Nelson and Kirschner sought to avoid the payment of taxes legally due on their

   receipt of these illicit profits by characterizing distributions from the relevant Atherton Entities as

   “loans” which Nelson and Kirschner and Atherton knew would never be repaid. For example:




    13
         See Nelson forfeiture complaint, Dkt. 1, ¶36 (alleging the transfer by a “Person #7,”
         identifiable as Atherton, of “approximately $2,017,152.37 from the CTBSRM account to a
         bank account in the name Renrets LLC, which is controlled by Person #8 [identifiable as
         Sterner]. Typically, within days of receiving the wires from the CTBSRM bank account,
         Person #8 transferred the funds, which in sum totaled approximately $1,948,011, to Carleton
         Nelson’s personal account #1518835838 at American Express Bank. Carleton Nelson
         subsequently transferred the funds he received from Person #8 to various other bank accounts,
         which Carleton Nelson controlled.”
                                                                                  (Cont’d on next page)
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            i.     Amazon has identified an extract of a




                            ;

            ii.    In an interrogatory response dated March 25, 2022, Nelson admitted that he

                   “received monies from Renrets LLC, who received money from CTBSRM via an

                   executed promissory note;”14 and

            iii.   In discovery, Nelson produced an August 19, 2019 email to Atherton reflecting a

                   confirmation that $330,512.37 had been paid by CTBSRM for the benefit of

                   Renrets, LLC”.

            312.   Nelson and Kirschner planned to use AllCore to continue misappropriating

   Amazon information or opportunities for their own benefit after they were terminated from

   Amazon, and used the proceeds of their unlawful activities to fund the Atherton Entities as vehicles

   for their personal gain and platforms for soliciting and rewarding co-conspirators who helped them

   profit from Amazon information or opportunities at the company’s expense.

            313.   A recently-produced document showing a text message between Atherton and

   Christian makes clear that Atherton was interested not only in facilitating Northstar’s fraudulent

   scheme, but also in expanding the scheme to include other developers: “Also, I definitely want to

   expand beyond Brian [Watson]. There are lots of Brians.”

            314.   Nelson and Kirschner did not disclose to Amazon the existence of the Atherton

   Entities.




   14
        Nelson asserted in the same interrogatory response that “timely interest was due and paid”
        pursuant to this promissory note. Despite this assertion, however, to this date Nelson has not
        produced any evidence showing that he has paid any interest on the loan or has paid back the
        loan. In fact, Nelson never had any intention to fulfil his obligations under the note, which
        was merely a mechanism set up to mask the distributions that 2010 Irrevocable Trust made to
        Nelson and Casey Kirschner. See Dkt. 212-12.
                                                   56
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            315.   Nor did Nelson and Kirschner disclose to Amazon that kickbacks solicited and paid

   in respect of Amazon real estate transactions engineered by Nelson and Kirschner would be routed

   through a complex web of bank accounts, trusts, and shell entities to avoid alerting Amazon to

   Nelson and Kirschner’s receipt of these clearly illicit payments.

            316.   Indeed, and to the contrary, Nelson and Kirschner and Atherton concealed their

   affiliation with the Atherton Entities by having Atherton organize them and appear as the contact

   on their registration documents, and by appointing Defendant Von Lacey to sign relevant

   documents relating to these entities.15

            J.     Nelson and Kirschner Intended to Continue their Pay-to-Play Scheme After
                   Departing from Amazon

            317.   Nelson and Kirschner intended to continue their kickback scheme and other

   unlawful conduct at Amazon’s expense after the termination of their employment with the

   company, and Nelson in fact did so. Nelson and Kirschner created one or more of the AllCore,

   Finbrit and Cheshire LLCs while they were at Amazon, supported these LLCs with proceeds from

   their unlawful conduct, and continued to use them to obtain information and business opportunities

   at Amazon’s expense.

            318.   Defendants Atherton and Von Lacey utilized the Atherton Trusts and the Atherton

   Entities to not only facilitate the establishment of channels for the secret involvement of Nelson

   and Kirschner in Amazon transactions during and after their employment with Amazon, and the

   payment of kickbacks to Nelson and Kirschner, but also to benefit personally from these

   transactions.

            319.   Although the only individuals listed as a contact for the entities in public

   registration documents is their organizer, Atherton, and registered agent, Defendant Von Lacey,




    15
         For example, Defendant Lacey is, variously, designated as the “Manager” and “President” of
         “AllCore Development, LLC.”
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   email correspondence on Amazon systems and identified in discovery shows Nelson interacting

   for or with these entities during and after his time at Amazon.

          320.    For example, on March 10, 2020, Nelson—who was terminated from Amazon in

   June 2019—sent Knoxville real estate site proposals stamped with an AllCore logo to an Amazon

   broker using a Cheshire Ventures email address and signature block:




   Dkts. 161-6, 161-7.

          321.    Similarly, on January 16, 2020, Kirschner received a proposal for a Fairfax,

   Virginia real estate site from a Cheshire Ventures email handle that Kirschner forwarded internally

   for consideration within Amazon. Dkt. 162-2.

          322.    All of the acts alleged herein violate the law and Amazon policies, as well as breach

   multiple provisions of the CNIAA Agreements Nelson and Kirschner signed with Amazon as a

   condition of their employment.

          323.    Those agreements expressly state that “any breach” may cause Amazon

   “irreparable harm for which there is no adequate remedy at law,” and that Nelson and Kirschner

   have already agreed that Amazon will “be entitled to the issuance by a court of competent

   jurisdiction of an injunction, restraining order, or other equitable relief in favor of itself, without

   the necessity of posting a bond, restraining [Nelson and Kirschner] from committing or continuing

   to commit any such violation.” Dkt. 162-9 § 7.4 (Casey Kirschner CNIAA); Dkt. 162-10 § 6

   (Nelson CNIAA).




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   VII.    NELSON AND KIRSCHNER’S CONDUCT VIOLATED THEIR DUTIES TO
           AMAZON

           324.   As relevant here, Amazon’s Code of Conduct requires Amazon personnel to,

   among other things: (i) act “lawfully, ethically, and in the best interests of Amazon.com”; and (ii)

   “avoid” and “promptly notify the Legal Department” of any potential “conflict of interest” such as

   “when an employee or a family member receives a personal benefit as a result of the employee’s

   position with Amazon.com.” Dkt. 156-8.

           325.   Both Nelson and Kirschner were aware of the policy and agreed to abide by it.

           326.   Nelson and Kirscher both certified compliance with the Code of Conduct while

   they were employed at Amazon, and both received online and in-person training related to the

   Code of Conduct. Dkt. 162-6.

           327.   The Code of Conduct is complemented by Amazon’s

          , as well as by specific contracts Amazon employees sign, including the CNIAA Agreements

   that each of Nelson and Kirschner executed as a condition of their employment with the company.

           328.   The purpose of Amazon’s



                           Dkt. 162-8.

           329.   The                                          also states that



                                                                                  Dkt. 162-8.

           330.   Nelson and Kirschner took advantage of the fact that they were the            on the

   subject transactions to act in their own interests, instead of

   and thus knowingly and deliberately violated the                                      .

           331.   These CNIAA Agreements contain several provisions relevant to this suit that

   Nelson and Kirschner breached, as detailed below.



                                                     59
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          332.    The CNIAA Agreements expressly state that Nelson and Kirschner each has read

   or acknowledged all of the Agreement’s terms and enters into them freely.

          333.    In particular, Kirschner’s 2015 CNIAA Agreement states that he has “carefully read

   all of th[e] Agreement’s terms,” that Amazon “has been induced to employ [him] by [his]

   representation that [he] will abide by and be bound by each of the covenants and restraints in th[e]

   Agreement,” and that he “recognizes that the restrictions in this Section 4 may significantly limit

   Employee’s future flexibility in many ways. For example, the restriction in Section 4.1 bar

   Employee, for 18 months after the Separation Date, from accepting certain competitive

   opportunities.” Dkt. 162-9.

          334.    Nelson’s 2012 CNIAA Agreement states that he is “entering into this Agreement .

   . . as a condition of [his] employment” with Amazon, that his employment constitutes

   “consideration” for the “mutual promises” in the Agreement, and that he “recognizes that the

   restrictions set forth in Sections 2 and 3 of t[he] Agreement may seriously limit [his] future

   flexibility in many ways,” including by “mak[ing] it impossible for ]him] to seek or accept certain

   opportunities for a period of 18 months after [his] Termination Date.” Dkt. 162-10.

          335.    Both Nelson’s and Kirschner’s CNIAA Agreements provide that “[a]ny breach of

   this Agreement may cause” Amazon “irreparable harm for which there is no adequate remedy at

   law” and that “[a]s a result,” Amazon will “be entitled to the issuance by a court of competent

   jurisdiction of an injunction, restraining order, or other equitable relief in favor of itself, without

   the necessity of posting a bond, restraining [Nelson or Kirschner] from committing or continuing

   to commit any such violation.” Dkt. 162-9; Dkt. 162-10.

          336.    Both Nelson’s and Kirschner’s CNIAA Agreements expressly limit their use and

   disclosure of a defined universe of “Confidential Information.”

          337.    Both Agreements also contain robust “non-competition” provisions addressed to

   Nelson and Kirschner’s activities while employed with Amazon, as well as for periods of 12 and

   18 months following their termination dates.
                                                     60
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           338.    These “non-competition” provisions include the following, non-exhaustive

   restrictions:

           CASEY KIRSCHNER AGREEMENT                        CARLETON NELSON AGREEMENT
                                           18-month Provisions
    “During employment and for 18 months after “While employed by the Company and for a
    the Separation Date,” Employee “will not, period of 18 months after the date the
    directly or indirectly, whether on Employee’s Employee cases to be employed by the
    own behalf or on behalf of any other entity (for Company . . . the Employee will not, directly
    example, as an employee, agent, partner, or or indirectly, and whether or not for
    consultant), engage in or support the compensation, either on [his] own behalf or as
    development, manufacture, marketing, or sale an employee, officer, agent, consultant,
    of any product or service that competes or is director, owner, partner, joint venture,
    intended to compete with any product or shareholder, investor, or in any other capacity
    service sold, offered, or otherwise provided by (except in the capacity of an employee of the
    Amazon (or intended to be sold, offered, or Company acting for the Company),
    otherwise provided by Amazon in the future) knowingly:
    that Employee worked on or supported, or (i) accept or solicit employment with, or accept
    about which Employee obtained or received or solicit a consulting assignment with, or
    Confidential Information”;                       accept or solicit investment capital, directly or
    “During employment and for 18 months after indirectly, from any individual or entity . . .
    the Separation Date,” Employee “will not, from which the Company has accepted
    directly or indirectly, whether on Employee’s investment capital, or with which, prior to the
    own behalf or on behalf of any other entity (for Termination Date, the Company has held
    example, as an employee, agent, partner, or serious discussions regarding the possibility of
    consultant): (a) accept or solicit business from securing investment capital (“Investors or
    any Customer of any product or service that Prospective Investors”), provided, however,
    Employee worked on or supported, or about that this Section 3(c)(i) shall not apply to
    which Employee obtained or received Investors or Prospective Investors that are
    Confidential Information; or (b) encourage any introduced to the Company through the efforts
    Customer or Business Partner to cease doing of the Employee; or . . .
    business with Amazon or to terminate or limit (iv) enter into or propose to enter into any
    an existing relationship or arrangement with business arrangement with any entity with
    Amazon.” Dkt. 162-9 §§ 4.1 - 4.2.                which, prior to the Termination Date, the
                                                     Company was involved in substantially the
                                                     same business arrangement, or with which,
                                                     prior to the Termination Date, the Company
                                                     had held discussions regarding the possibility
                                                     of entering into such an arrangement, if such
                                                     arrangement would be competitive with or
                                                     otherwise deleterious to the interests of the
                                                     Company. Dkt. 162-10 §§ 3(c)(i)-(iv).
                                           12-month Provisions
    “During employment and for 12 months after “While employed by the Company and for a
    the Separation Date,” Employee “will not, period of twelve (12) months after the date the
    directly or indirectly, whether on Employee’s Employee ceases to be employed by the
    own behalf or on behalf of any other entity (for Company, without regard to when or for what
    example, as an employee, agent, partner, or reason if any, such employment shall terminate
                                                   61
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           CASEY KIRSCHNER AGREEMENT                        CARLETON NELSON AGREEMENT
    consultant): (a) solicit or otherwise encourage (the “Termination Date”), the Employee will
    any employee, contractor, or consultant of      not, directly or indirectly, and whether or not
    Amazon (‘Amazon Personnel’) to terminate        for compensation, either on his or her own
    any employment or contractual relationship      behalf or as an employee, officer, agent,
    with Amazon; (b) disclose information to any    consultant, director, owner, partner, joint
    other individual or entity about Amazon         venturer, shareholder, investor, or in any other
    Personnel that could be used to solicit or      capacity (except in the capacity of an
    otherwise encourage Amazon Personnel to         employee of the Company acting for the
    form new business relationships with that or    benefit of the Company), knowingly employ,
    another individual or entity; or (c) otherwise  or retain as a consultant or contractor, or cause
    interfere with the performance by current or    to be so employed or retained, or enter into a
    former Amazon Personnel of their obligations    business relationship with any person who:
    or responsibilities to Amazon.” Dkt. 162-9 §    (i) is an employee of the Company or has been
    4.3.                                            employed by the Company at any time within
                                                    the twelve (12) months prior to the date of such
                                                    act; or
                                                    (ii) is a consultant, sales agent, contract
                                                    programmer, or other independent agent
                                                    retained by the Company; or
                                                    (iii) has been retained by the Company as a
                                                    consultant, sales agent, contract programmer,
                                                    or other independent agent at any time within
                                                    the twelve (12) months prior to the date of such
                                                    an act. Dkt. 162-10 §§ 3(b)(i)-(iii).
                                           During Employment
    See above.                                      In addition to the restrictions above, “[d]uring
                                                    the period of [his] employment with the
                                                    Company, the Employee will not, directly or
                                                    indirectly, and whether or not for
                                                    compensation, either on his or her own behalf
                                                    or as an employee, officer, agent, consultant,
                                                    director, owner, partner, joint venturer,
                                                    shareholder, investor, or in any other capacity
                                                    (except in the capacity of an employee of the
                                                    Company acting for the benefit of the
                                                    Company), knowingly engage in any activity
                                                    or business which is of the same nature as, or
                                                    substantively similar to, an activity or business
                                                    of the Company or an activity or business
                                                    which the Company is developing and of
                                                    which the Employee has knowledge. Dkt.
                                                    162-10 § 3(a).

          339.    Neither Kirschner’s nor Nelson’s CNIAA agreement allowed them to engage in the

   conduct at issue in this suit or to receive kickbacks derived illegally from an abuse of their positions

   at and the trust previously, and reasonably, placed in them by Amazon.

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          340.    In any case, and regardless of the contents of the CNIAA Agreements, the

                             required them to act in the best interests of Amazon, and the Code of

   Conduct that Nelson and Kirschner acknowledged at multiple points after they signed the CNIAA

   expressly prohibit the very conduct in which they nevertheless engaged, i.e., conflicts of interest,

   bribery, and self-dealing.

          341.    Further, Nelson’s 2012 CNIAA explicitly prohibits him from using “Confidential

   Information,” which includes “future plans” and “any other information gained in the course of

   the Employee’s employment with the Company that could reasonably be expected to prove

   deleterious to the Company if disclosed to third parties,” “directly or indirectly, at any time, during

   the term of [his] employment with the Company or at any time thereafter” acquired from or during

   his tenure with the Company “in connection with any activity or business except the business of

   the Company, and shall not disclose such Confidential Information to any individual, partnership,

   corporation, or other entity unless such disclosure has been specifically authorized in writing by

   the Company, or except as may be required by any applicable law.” Dkt. 162-10 § 2(b).

          342.    And Casey Kirschner’s 2015 CNIAA Agreement prohibits him from using

   “Confidential Information” in any way without Amazon’s “prior written approval.” In Casey

   Kirschner’s case, “Confidential Information” is broadly defined and includes “proprietary or

   confidential information of Amazon in whatever form, tangible or intangible, whether or not

   marked or otherwise designated as confidential, that is not otherwise generally known to the

   public, relating or pertaining to Amazon’s business, projects, products, customers, suppliers,

   inventions, or trade secrets.” Dkt. 162-9.

          343.    Despite this requirement, both Nelson and Kirschner used proprietary and

   confidential information for their benefit and to Amazon’s detriment.

          344.    Nelson took and maintained Confidential Information, including Amazon’s future

   plans for land purchases, as well as information he had learned during his tenure at Amazon, and

   used it for his own personal gain, including disclosing it to third parties to advance his own interests
                                                     63
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   to the detriment of Amazon, for the purpose of engaging in the enterprise at issue here. E.g., Dkts.

   163-1, 163-2.

          345.     In particular, Amazon learned through Defendant Nelson’s initial disclosures that

   after Nelson was terminated, he retained on a personal hard drive approximately 1.4 million pages

   of Amazon documents generated while he worked at Amazon, in contravention of his CNIAA and

   other policies that required the hard drive be sanitized.

          346.     Instead of abiding by these obligations, Nelson retained and used these 1.4 million

   pages to his own benefit.

          347.     Nelson and Kirschner violated Amazon’s Code of Conduct, the foregoing CNIAA

   Agreements they signed with the company, and various laws throughout their tenures at Amazon

   by conspiring to perpetuate such violations after Nelson’s termination.

          348.     These violations involved a host of Amazon business opportunities and

   transactions, including those involved in the kickback scheme at issue in this suit, as well as the

   use of at least the Atherton Trusts and the Atherton Entities to misuse Amazon information, coopt

   business opportunities, or otherwise engage in activities that “interfere with the performance by

   current or former Amazon Personnel of their obligations or responsibilities to Amazon,” Dkt. 162-

   9 § 4.3 (Kirschner Agreement), or are “competitive with or otherwise deleterious to the interests

   of the Company.” Dkt. 162-10 § 3(c)(iv) (Nelson Agreement), including but not limited to the

   activities detailed below.

          349.     As noted, the Lease Transaction portion of the kickback scheme targeted at least

   the nine Virginia commercial real property leases that one or both of Nelson and Kirschner steered

   to the Northstar Defendants between February 27, 2018 and January 13, 2020 (the “Virginia Lease

   Transactions”). The Direct Purchase portion of the kickback scheme in turn encompassed the

   2019 White Peaks “flip” transaction in which Amazon bought a Virginia property at an

   approximately $18 million markup from former Northstar employees (the “White Peaks

   Purchase”), the 2019 purchase of the Blueridge Property which resulted in a $10 million fee paid
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   to Blueridge, Nelson, Kirschner, and Atherton (through Defendant Finbrit)—with a “Thank You

   Bonus” paid to Lim—as well as the unlawful use of Amazon funds to pursue business

   opportunities for Nelson, Kirschner, the Atherton Entities, and other co-conspirators at Amazon’s

   expense in Virginia.

          350.    In all of these transactions, Nelson and Kirschner violated their duties to Amazon

   and conspired with one another and third parties to misuse company funds, business opportunities,

   or information to obtain personal benefits or advantages to the detriment of the company.

   VIII. THE DEFENDANTS’ EFFORTS TO CONCEAL THEIR ILLICIT SCHEME

          351.    Nelson and Kirschner concealed their communications evidencing their misuse of

   corporate information and opportunities and their receipt of prohibited personal benefits through

   the use of personal emails and chats, meetings and trips, and assistance from third parties, including

   Atherton and his network of shell entities.

          352.    Since December 2019, Amazon has uncovered significant evidence of the

   Defendants’ pay-to-play scheme and its connection to multiple unlawful enterprise activities

   involving real estate lease and purchase transactions at Amazon’s expense, including the conduct

   relating to Lease Transactions and Direct Purchases as alleged in Amazon’s initial complaint, First

   Amended Complaint, and Second Amended Complaint, and elaborated herein.

          353.    The internal investigation prompted by Informant 1’s December 2019 report

   encompassed a review of Nelson and Kirschner’s company records, including an examination of

   Kirschner’s Amazon laptop.

          354.    This examination revealed that Kirschner copied approximately 375 documents

   onto a USB device the night before he surrendered the laptop for a requested IT scan.

          355.    Many of these files referenced confidential Amazon business transactions,

   including on the Northstar Virginia sites.

          356.    The Amazon IT inspection of Kirschner’s electronic files identified a remnant file

   in the Recycle Bin of his laptop, with a partial file name reading “Downloads\Villanova Trust
                                                  65
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   Executed.pdf.” A metadata inspection indicated that the file was saved to the laptop Downloads

   folder on or about May 8, 2019, but was subsequently deleted from the laptop.

          357.    Amazon’s IT inspection of Kirschner’s company files also uncovered a spreadsheet

   that appeared to be a rough calculation of the fees Casey Kirschner and his coconspirators expected

   and agreed to receive on six different build-to-suit deals, including “Shaw Rd.,” “Quail Ridge,”

   “Manassas,” “Lerner,” “Route 50,” and “DTC.” Id. at ¶¶ 5, 18; Dkt. 155-10.

          358.    The referenced fees on these transactions, several of which concern Northstar-

   affiliated Lease Transaction sites, total $37.1 million, with the author’s total “Share” indicated as

   $14.5 million. Dkt. 155-10. The spreadsheet was recovered from the laptop’s Recycle Bin,

   indicating an attempt to delete the file. See MacDonald Decl. ¶ 18.

          359.    Amazon found other suspicious information in Kirschner’s files, including an

   Outlook back-end AppData folder containing a Northstar spreadsheet itemizing purported

   Northstar costs on the Amazon Manassas Lease Transaction deals. Dkt. 156-7. On the lower

   right-hand side of the document, someone had calculated a “Leasing Fee” of $1,656,148, which

   approximates the $1.6 million Leasing “Commission” that Casey Kirschner had projected for the

   Manassas transactions. Dkt. 156-7.

          360.    This and other evidence contradicts Watson’s assertions to the FBI and Amazon

   business partners that the (undisclosed and/or prohibited) “fees” that Northstar paid Villanova

   Trust on the Virginia real estate transactions were “not sent” to Nelson and Kirschner. It also

   corroborates that Northstar’s engagements were not “competitive,” but were instead facilitated by

   Nelson and Kirschner in violation of Amazon’s Code of Conduct, Amazon’s

                      , and CNIAA Agreements governing Nelson and Kirschner’s conduct during

   and after their employment with Amazon.

          361.    Hours after the FBI raided his home on April 2, 2020, Watson sent a lengthy and

   wide-ranging email to a broad range of personal and business contacts including Kirschner and

   other Defendants who perpetrated the fraud against Amazon. Dkt. 155-1. In that email, Watson
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   alerted the group to the FBI’s questions and documents (including and particularly the grand jury’s

   interest in the Villanova Trust), cast blame on various former Northstar personnel, referenced

   discussions with his legal counsel, and identified Northstar assets and payments that could be

   affected by the fraud and misappropriation allegations against him. Watson’s email also contained

   factual misstatements in an apparent attempt to whitewash his involvement in the fraudulent

   scheme.

            362.   The conflict between the investigation record and Watson’s statements confirms

   the Defendants’ misconduct and the ongoing threat they pose to Amazon and public interests in

   this and related legal proceedings.

            363.   As a threshold matter, the email statements Watson made on the evening of April

   2, 2020 (and earlier that week to investors) about Amazon’s view of Northstar’s work flatly

   contradicts the record and termination notice for “fraud and willful misconduct” IPI issued to

   Northstar that same day.

            364.   As detailed above and in the PI record in this action, voice recordings, computer

   files, and financial records indicate that the Northstar Defendants fraudulently induced and/or

   breached actionable representations and covenants in their 2017 RFP and ensuing contracts that

   Watson executed on their behalf with Amazon and its partners on the Virginia Lease Transaction

   sites.

            365.   And the case record further demonstrates the knowing or recklessly false nature of

   the Northstar Defendants’ account of the Lease Transaction portion of the kickback scheme. See

   Dkts. 9-10, 15-16, 39-48, 57-59, 67-69, 82, 84-85, 91, 99.

            366.   These statements—designed to signal accomplices to obstruct discovery of the

   Defendants’ ongoing unlawful activities—were followed by a host of other developments,

   including the resignation of much of Northstar’s management team, that led to entry of the

   Temporary Restraining Order on April 28, 2020 (Dkt. 16) and the Preliminary Injunction on June

   5, 2020 (Dkt. 57). See generally Dkts. 156-4, 159-9, 161-3, 161-4, 161-5.
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          367.     And evidence that the parties have placed in the case record since Amazon filed

   this suit in April 2020—including Colorado audio recordings of former Northstar principals and

   sworn witness testimony submitted with the parties’ May 14 and 18, 2020 PI filings—confirm

   Nelson and Kirschner’s involvement in the kickback scheme. See Dkt. 155-8. This evidence is

   documented throughout the PI record. See Dkts. 9-10, 15-16, 39-48, 57-59, 67-69, 82, 84-85, 91,

   99. It includes documentation that Defendant Watson reformed a prior agreement with Christian

   to direct Amazon-related payments directly to the Villanova Trust, and that the Northstar

   Defendants considered themselves Amazon’s agents when they extracted a multimillion dollar

   payment on the White Peaks sale, which Nelson and Kirschner sought to include in their pay-to-

   play scheme and for which they received a seven-figure payment from the White Peaks

   Defendants.

          368.     The Northstar Defendants subsequently defied both the TRO and PI, as well as the

   Court’s discovery order regarding their compliance with the same, and dissipated assets.

          369.     For example, Defendants Watson and Northstar admitted that on June 19, 2020,

   they closed—without any notice to Plaintiffs or this Court—the $1.85 million sale of a luxury

   Denver condominium that Defendant Northstar owned and Defendant Watson personally used.

   Dkt. 68 at 16; Dkt. 82 at 8.

          370.     Watson and Northstar admitted that they netted nearly $700,000 from the sale of

   this condo. Dkt. 82-3 at 1 (listing net value of condo as of May 31, 2020 of $688,108 based on

   appraisal of $1.85 million—the same amount for which the condominium was sold less than three

   weeks later).

          371.

              Dkt. 163-5.

          372.     And as recently as July 2020, Northstar and Watson demanded $11 million in

   unjustified payments on their terminated lease contracts for the nine Virginia properties Amazon


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   had the right to lease from IPI, as well as threatened to place liens on those properties in violation

   of Virginia law and this Court’s PI. Dkt. 57.

          373.    As of the date of the filing of this Complaint, Watson and Northstar have been

   sanctioned for failure to comply with the Injunction. Evidence produced in Court-ordered

   discovery demonstrates that Northstar and Watson dissipated assets covered by the Injunction and

   failed to comply with this Court’s order. Dkts. 348, 413. Northstar and Watson’s personal assets

   have been placed under the control of a court-appointed Receiver in order to compel compliance

   with the Injunction. Dkts. 413, 433. In the absence of the Injunction and receivership, Watson

   and Northstar are likely to return to the acts that pose a risk of imminent harm to Amazon including

   through the dissipation of assets in which Amazon holds an equitable interest, the compromise of

   confidential information, and the spoliation of evidence of the fraudulent scheme.

                                                 *****

          374.    The foregoing factual allegations alone establish that the Defendants’ extensive and

   unlawful enterprise activities have already resulted in direct, proximate, and foreseeable injuries

   to Amazon’s business and property, including by inflating the prices that Amazon paid and

   depriving Amazon of the benefits of business decisions free from illegal outside pressure and

   control of the disposition of its assets and risk of loss. By reason of their misconduct, the

   Defendants have successfully extracted through Amazon millions of dollars in kickback and other

   payments, the full extent of which is not yet known.

          375.    Based on the foregoing allegations, Plaintiffs hereby plead the following causes of

   action and requests for relief.


                                             COUNT I
                                          RICO Enterprise
                        In Violation of RICO 18 U.S.C. §§ 1962(a), (b), (c), (d)

          376.    Plaintiffs incorporate all preceding paragraphs by reference.

          377.    This count is against all Defendants (“Defendants”).

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          378.    Each Defendant is a “person” as required by 18 U.S.C. § 1961(3).

          379.    The Defendants constitute an association-in-fact enterprise within the meaning of

   18 U.S.C. §§ 1961(4) and 1962. Each Defendant participated in the operation or management of

   the kickback scheme (the “RICO Enterprise”), which includes but is not limited to the Lease

   Transaction conduct and Direct Purchase conduct alleged herein.

          380.    At all relevant times, the RICO Enterprise was engaged in, and its activities

   affected, interstate commerce within the meaning of 18 U.S.C. § 1962.

          381.    The RICO Enterprise is an “enterprise” as defined in 18 U.S.C. § 1961(4),

   associated for the common purpose of profiting from the acquisitions, investments, and business

   activities of at least Amazon and its business partners and investors through perpetration of

   kickbacks and other unlawful acts by and through which the Defendants fraudulently induced

   Amazon and its affiliates to send business and payments to or through RICO Enterprise members

   and their accomplices to obtain and distribute illicit gains from the RICO Enterprise, including

   from the Lease Transactions and Direct Purchases alleged herein.

          382.    The Defendants organized their operation into a cohesive group with specific and

   assigned responsibilities to further the enterprise. Over the course of the scheme, the Defendants

   adapted the structure of their scheme to changing circumstances—recruiting and attempting to

   recruit new members, creating new legal entities through which to funnel their illicit proceeds, and

   preparing to expand and perpetuate their fraudulent scheme.

          383.    Amazon and its affiliates reasonably relied on the Defendants’ representations and

   assurances that they were conducting business ethically, legally, and according to the applicable

   provisions laid out in various agreements and relationships between and among Amazon and the

   Defendants. This reliance resulted and proximately caused harm to Amazon by, among other

   things, causing Amazon and its affiliates to enter into agreements they would not have otherwise

   entered, to pay more than they would have otherwise paid, and to lose the honest services of its

   own employees.
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          384.    The Defendants acted with the intention of securing and sharing between

   themselves the proceeds of transactions that, absent the combination and illicit payments, would

   not have taken place or would not have resulted in the prices that were approved or received. The

   agreement between the Defendants resulted in higher purchase, lease fee, and other costs to

   Amazon than otherwise would have occurred. As a direct and proximate result of the Defendants’

   conduct, Amazon and its affiliates suffered economic harm.

          385.    The Defendants participated in the RICO Enterprise with the purpose of extracting

   payments and terms from Amazon and its affiliates that the Defendants would not have been able

   to obtain absent their undisclosed and illegal relationships between and among the Defendants.

   The Defendants colluded to obtain and direct kickbacks and other illegal benefits to Nelson and

   Kirschner in exchange for their fraudulent and otherwise unlawful and inequitable acts causing

   Amazon and its affiliates to approve contracts, payments, and other benefits to the Defendants.

          386.    After the Defendants secured commitments and/or approvals from Amazon and its

   affiliates for real estate transactions worth hundreds of millions of dollars, the Defendants illegally

   funneled a portion of the proceeds to Nelson and Kirschner and their accomplices, including family

   members. This kickback scheme allowed the Defendants to secure business and increased the

   costs and other terms that Amazon and its affiliates agreed to and approved for at least 11

   commercial real estate projects in Northern Virginia.

          387.    The pattern of racketeering has been continuous.            The Supreme Court has

   recognized that “‘[c]ontinuity’” is “both a closed- and open-ended concept, referring either to a

   closed period of repeated conduct, or to past conduct that by its nature projects into the future with

   a threat of repetition.” H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 241 (1989). The predicate

   acts in the RICO Enterprise stretched over a substantial period of time, with the scheme beginning

   in or before September 2017 with the fixing of the RFP process on the Lease Transactions and

   continuing through at least August 2019 with the various wire payments made as kickbacks for

   the lease agreements, as well as transaction fraud and kickbacks on the Direct Purchases. The
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   RICO Enterprise expanded over time to encompass new transactions, and was intended to and did

   present a significant risk of being repeated and expanded to new real estate transactions in Virginia

   and other markets.

          388.    Had Amazon and its affiliates not discovered the actions of the Defendants, the

   RICO Enterprise would have continued and expanded undetected into new transactions and

   markets. The Defendants worked to set up and expand the infrastructure and patterns that allowed

   them to execute and repeat their behavior. The development of the RICO Enterprise, and the very

   nature of it, projects into the future with a threat of repetition due to the constant presentation of

   new real estate opportunities and contracts. The relationships among the Defendants—including

   their practices of social interactions—and the way they set up the scheme to function under the

   cover of their regular courses of business, further establish the common purpose, longevity, and

   continuing harm of the RICO Enterprise to Amazon, its affiliates and partners, and other victims.

   The Defendants agreed to and did conduct and participate in the conduct of the RICO Enterprise

   through a pattern of racketeering activity and for the unlawful purpose of intentionally defrauding

   or otherwise harming the Amazon Plaintiffs and their affiliates. As relevant here, “racketeering

   activity” is defined in 18 U.S.C. § 1961(1) to include, among other crimes, violations of 18 U.S.C.

   § 1343 (wire fraud), 18 U.S.C. § 1346 (honest services fraud), 18 U.S.C. § 1956 (money

   laundering), 18 U.S.C. § 1957 (transacting in criminally-derived property), 18 U.S.C. § 1952

   (violations of the Travel Act).


                                       Pattern of Racketeering Activity

          389.    The Defendants conducted and participated in repeated acts of racketeering activity

   amounting to a “pattern of racketeering activity” within the meaning of RICO, 18 U.S.C. §

   1961(5).




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                 Multiple Instances of Wire Fraud in Violation of 18 U.S.C. § 1343

          390.    Pursuant to and in furtherance of their unlawful scheme, the Defendants committed,

   or agreed to facilitate, multiple related acts of wire fraud in violation of 18 U.S.C. § 1343. Under

   18 U.S.C. § 1343, anyone “having devised or intending to devise any scheme or artifice to defraud,

   or for obtaining money or property by means of false or fraudulent pretenses, representations, or

   promises” is prohibited from making use of the “wire[s]” “for the purpose of executing such

   scheme or artifice.”

          391.    The Defendants committed multiple related acts of wire fraud as described in 18

   U.S.C. § 1343 by “devis[ing] [a] scheme or artifice to defraud,” and by “obtaining money [and]

   property by means of false or fraudulent pretenses, representations, or promises” and by

   transmitting or causing “to be transmitted by means of wire” “writings, signs, signals, pictures, or

   sounds for the purpose of executing such scheme or artifice.” As detailed above, Defendants

   orchestrated an elaborate ruse involving misrepresentations, omissions, sham legal services, a

   strawman, and a web of shell entities to obtain illegal profits at Plaintiffs’ expense.

          392.    The Defendants’ acts of wire fraud included at least nine wire payments between

   March 2018 and August 2019 that constituted kickback payments made pursuant to the

   referral/kickback agreement that Northstar, by and through its CEO and alter ego defendant Brian

   Watson, signed with Villanova Trust involving the Virginia Lease Transactions. These payments

   and related activities constitute a pattern of racketeering activity pursuant to 18 U.S.C. § 1961(5).

   The Defendants’ acts of wire fraud also included several bank wire payments among the

   Defendants to secure the sale and settlement of Amazon’s direct purchase of the Blueridge

   Property and the White Peaks commercial real estate parcel in 2019. For example, the Defendants

   directed the “Exchange Escrow Funds” to “be disbursed directly to Realty Exchange Corporation

   by wire for placement in the qualified exchange escrow account.” Dkt. 161-9 (emphasis added).

   The Defendants also wired the funds through First VA Community Bank, 11325 Random Hills

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   Rd., Fairfax, VA 22030, to a beneficiary address at 7400 Heritage Village Plaza, #102, Gainesville,

   VA 20155. Id. The Defendants also directed or caused the payment of approximately $5 million

   in proceeds from the White Peaks transaction to a personal bank account registered to Watson in

   or around the fall of 2019.

          393.    The Defendants and their agents have also transmitted, or caused to be transmitted,

   by means of wire communication in interstate or foreign commerce, writings, signs, signals,

   pictures and sounds that furthered their fraudulent enterprise. These communications included

   emails, chats, and other communications between and among the Defendants concerning their

   scheme; the transmission of Amazon’s confidential business information using personal email

   addresses; communications from Nelson and Kirschner, Brian Watson, and his agents to co-

   conspirators and others misrepresenting the nature of the RICO Enterprise, misleading federal

   agents, and alerting his co-conspirators to the FBI’s investigation; and communications by

   Northstar, Brian Watson, and his agents to IPI and others designed to interfere with Amazon’s use

   and enjoyment of several Virginia lease sites.

          394.    In all instances, the Defendants acted with knowledge and fraudulent intent to cause

   Amazon to make payments that would benefit the Defendants and their co-conspirators. For

   example, the Northstar and White Peaks Defendants agreed to pay kickbacks in order to obtain

   lucrative company contracts and sell property to Amazon at an inflated price, as did the Defendants

   involved in the Blueridge Transaction; Nelson and Kirschner made misrepresentations and

   manipulated Amazon’s internal review process so that they could receive those kickbacks; and the

   Defendants went through great pains to conceal that payments were being funneled to themselves

   and their co-conspirators so that this would go undetected by Amazon.

          395.    In committing these acts, the Defendants committed wire fraud in violation of 18

   U.S.C. § 1343, and their acts amount to racketeering activity under 18 U.S.C. § 1961(1).




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                    Honest Services Fraud in Violation of 18 U.S.C. §§ 1343, 1346

          396.    Pursuant to and in furtherance of their unlawful scheme, the Defendants committed,

   or agreed to facilitate, multiple related acts of honest services fraud as described in 18 U.S.C. §§

   1343 and 1346.

          397.    18 U.S.C. § 1346 provides that the term “scheme or artifice to defraud” in the wire

   fraud statute, id. at § 1343, “includes a scheme or artifice to deprive another of the intangible right

   of honest services.”

          398.    The honest services fraud statute “criminalizes . . . schemes to defraud that involve

   bribes or kickbacks” in violation of a fiduciary duty. Black v. United States, 561 U.S. 465, 471

   (2010); see also Skilling v. United States, 561 U.S. 358, 408 (2010).

          399.    The RICO Enterprise described herein is a fraudulent kickback scheme under 18

   U.S.C. § 1346. Critically, the Defendants used the Villanova Trust and other entities to funnel

   kickbacks to Nelson and Kirschner on the Lease Transactions and Direct Purchases. This kickback

   scheme was central to the Defendants’ broader unlawful enterprise, which was designed and

   executed through multiple unlawful acts with the common purpose of causing Amazon and its

   affiliates and partners to approve or provide payments, contracts, or other benefits to the

   Defendants that caused Amazon and its partners direct and proximate harm.

          400.    As detailed above, the RICO Enterprise is reflected in at least nine lease-related

   wire payments from Northstar to “Villanova Trust” from March 7, 2018 to August 7, 2019, Dkts.

   155-3, 155-7, 156-1, 156-4, 160-1, and also in kickback and other illicit wire payments on the

   Direct Purchases.

          401.    In furtherance of the RICO Enterprise, the Defendants made material false

   statements and omissions, including but not limited to falsely warranting that the Northstar parties

   “dealt with no brokers, agent or other person in connection with” the covered transaction, Dkts.

   158-1 to 159-3, in connection with real estate transactions worth hundreds of millions of dollars.

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   The Defendants also made knowingly false and material representations about the price, terms,

   comparables, and availability of Virginia real estate parcels as detailed above.

          402.    In furtherance of the RICO Enterprise, Defendant Casey Kirschner made material

   false statements or omissions, including but not limited to the failure to disclose his personal

   interest in the transactions he promoted with other Defendants.

          403.    In furtherance of the RICO Enterprise, Defendant Carleton Nelson made material

   false statements or omissions, including but not limited to the failure to disclose his personal

   interest in the transactions he promoted with other Defendants.

          404.    The Defendants also owed fiduciary duties to Amazon, either through their

   employment relationship (as contemplated by their CNIAAs, the Code of Conduct, and the

                                     ), or occupation of other positions of trust, which they violated

   by depriving Amazon of its intangible right to their honest services.

          405.    Absent the kickback payments and related deception and unlawful conduct by the

   Defendants, Amazon would not have entered into any of the Lease Transactions or Direct

   Purchases on the terms infected by the Defendants’ unlawful acts.

          406.    In all instances, the Defendants acted with knowledge that they were engaged in a

   massive kickback scheme and had an intent to defraud Amazon. For example, Kirschner told

   federal prosecutors that most of the money Northstar sent to the Villanova Trust was transferred

   to him and Nelson as kickback payments; he told his brother that Atherton had agreed to disperse

   Nelson and Kirschner’s “shares” of the proceeds once they were wired to his trust; and Nelson is

   on tape saying that Atherton’s job was to make them “invisible.” Moreover, the complicated web

   of sham trusts and entities used to facilitate payments to the various Defendants demonstrates an

   intent to conceal the kickbacks from Amazon and others so that the scheme to defraud could

   continue.

          407.    In all instances, the Defendants knew, or reasonably should have known, that the

   RICO Enterprise would directly and proximately harm Amazon and its affiliates and partners.
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          408.    In committing these acts, the Defendants committed, or agreed to facilitate, honest

   services fraud in violation of 18 U.S.C. §§ 1343 and 1346, and their acts amount to racketeering

   activity under 18 U.S.C. § 1961(1).


                          Money Laundering in Violation of 18 U.S.C. § 1956

          409.    Racketeering activity is further defined in 18 U.S.C. § 1961(1) to include violations

   of the federal money laundering statute, 18 U.S.C. § 1956.

          410.    Under 18 U.S.C. § 1956(a)(1)(A)–(B), a person who knows “that the property

   involved in a financial transaction represents the proceeds of some form of unlawful activity” is

   prohibited from conducting a “financial transaction” that involves that property “with the intent to

   promote the carrying on of specific unlawful activity” or “knowing that the transaction is designed

   in whole or in part . . . to conceal or disguise the nature, the location, the source, the ownership, or

   the control of the proceeds of specified unlawful activity.”

          411.    A “financial transaction” is broadly defined in 18 U.S.C. § 1956(c)(3)–(4) to

   include transactions that affect interstate or foreign commerce, such as “a purchase, sale, loan,

   pledge, gift, transfer, delivery, or other disposition,” or various transactions affecting interstate or

   foreign commerce through a financial institution, including “a deposit, withdrawal, transfer

   between accounts, exchange of currency, loan, extension of credit, purchase or sale of any stock,

   bond, certificate of deposit, or other monetary instrument.”

          412.    The phrase “specified unlawful activity” is defined in 18 U.S.C. § 1956(c)(7) to

   include, among other things, “any act or activity constituting an offense listed in section 1961(1),”

   of the RICO statute.

          413.    The Defendants repeatedly engaged in money laundering in violation of 18 U.S.C.

   § 1956(a)(1) by engaging in transactions using bank accounts at financial institutions to further

   their racketeering activities and conceal or disguise the nature of the proceeds.



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          414.    First, they regularly transacted business among themselves and others affiliated

   with the RICO Enterprise using the various entities and trusts. For example, Informant 1 provided

   Amazon with apparent evidence of at least $4.6 million in wired kickback payments from

   Northstar to the Villanova Trust as of December 14, 2018. Former Northstar COO Timothy

   Lorman then corroborated these payments and discovered two additional wire receipts (dated June

   7, 2019 and August 7, 2019) documenting kickback payments from WDC Holdings (Northstar) to

   the Villanova Trust in furtherance of the RICO Enterprise. These wire transfers occurred across

   state lines, as Northstar is located in Colorado and the Villanova Trust and its accounts are located

   in Tennessee. Moreover, the Defendants knew that the funds being transferred were derived from

   the unlawful activities of their RICO Enterprise and associated unlawful acts, including numerous

   offenses listed in 18 U.S.C. § 1961(1), as detailed herein. As such, the Defendants violated 18

   U.S.C. § 1956 every time they transacted using funds illicitly derived from the Lease Transactions

   and every time payments were made to the Villanova Trust.

          415.    The Defendants also engaged in money laundering in violation of 18 U.S.C. §

   1956(a)(1) by engaging in transactions using bank accounts to further their racketeering activities

   on the Direct Purchases. Specifically, on the White Peaks transaction the Defendants directed the

   “Exchange Escrow Funds” to “be disbursed directly to Realty Exchange Corporation by wire for

   placement in the qualified exchange escrow account.” Dkt. 161-9. The Defendants also wired the

   funds through First VA Community Bank, 11325 Random Hills Rd., Fairfax, VA 22030, to a

   beneficiary address at 7400 Heritage Village Plaza, #102, Gainesville, VA 20155. Id. The

   Defendants subsequently directed or caused to be paid a portion of the funds they received from

   Amazon for the White Peaks sale to at least one account held for the benefit of Nelson and

   Kirschner. Kirschner used at least a portion of these funds for personal gain, including to finance

   the real property and improvements known as 35 Queensland Lane North in Plymouth, Minnesota

   at issue in the federal civil forfeiture action the United States filed in rem against that property and

   improvements in this Court on June 1, 2020. Dkt. 156-2.
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          416.    The Defendants also directed or caused the payment of $5 million in proceeds from

   the White Peaks Purchase to a personal bank account held by Watson in or around the fall of 2019.

   The Defendants knew that the funds being moved to these accounts were derived from the unlawful

   activities of their enterprise, including numerous offenses listed in 18 U.S.C. § 1961(1), as detailed

   herein. As such, the Defendants violated 18 U.S.C. § 1956.

          417.    In addition, in violation of 18 U.S.C. § 1956(a) the Defendants engaged in these

   financial transactions with the intent to promote the carrying on of specified unlawful activities.

   For example, Nelson and Kirschner used the laundered proceeds to support some or all of Renrets

   (in the case of Nelson), Allcore, Finbrit, Cheshire Ventures, Sigma Regenerative Solutions, and

   CTBSRM as vehicles for their personal gain and platforms for soliciting and rewarding co-

   conspirators who helped them profit from Amazon information and opportunities. They also paid

   Atherton and Von Lacey for their services relating to the RICO Enterprise. Moreover, the

   Defendants specifically intended to hide the origins and paths of the proceeds of their Lease

   Transactions, Direct Purchases, and related unlawful activities by passing funds derived from such

   activities through various entities and trusts, including the Villanova Trust, an entity created by

   Christian, the brother of Defendant Kirschner, who had legal, fiduciary, and ethical duties to

   Amazon.

    Engaging in Monetary Transactions in Property Derived from Specified Unlawful Activity
                              in Violation of 18 U.S.C. § 1957

          418.    Under 18 U.S.C. § 1961(1), violations of 18 U.S.C. § 1957 constitute a predicate

   act of racketeering activity.

          419.    One who “knowingly engages . . . in a monetary transaction in criminally derived

   property” violates 18 U.S.C. § 1957 if that property is “of a value greater than $10,000 [and]

   derived from specified unlawful activity.”

          420.    The statute defines “criminally derived property” as property that constitutes

   “proceeds obtained from a criminal offense,” 18 U.S.C. § 1957(f)(2); it further defines “specified

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   unlawful activity” as the same unlawful activity defined in 18 U.S.C. § 1956, including acts

   constituting racketeering activity under 18 U.S.C. § 1961(1), id. at § 1957(f)(3).

          421.    The money that the Defendants derived through the kickback scheme and

   fraudulent dealings were taken at the expense, and to the detriment of, Amazon and its affiliates.

          422.    Relatedly, through the RICO Enterprise and related unlawful activities, the

   Defendants committed numerous criminal offenses constituting racketeering activity as detailed

   herein (including wire fraud), which also constitute “specified unlawful activity” under 18 U.S.C.

   § 1957(f)(3). Through this conduct, the Defendants derived proceeds that unjustly enriched

   themselves and also directly and proximately harmed Amazon and its affiliates and partners.

          423.    As the perpetrators and beneficiaries of the “specified unlawful activity” from

   which the funds were derived, the Defendants knew the money and other benefits they obtained

   from the RICO Enterprise were the product of such activity.

          424.    By depositing these funds in at least one bank account held by an interstate financial

   institution, the Defendants engaged in monetary transactions as defined by 18 U.S.C. § 1957(f)(1).

   When the Defendants engaged in any subsequent withdrawal, transfer, or exchange of these funds,

   they engaged in further monetary transactions as defined by 18 U.S.C. § 1957(1).

          425.    As detailed above, Informant 1 provided Amazon with apparent evidence of at least

   $4.6 million in payments from Northstar to Villanova Trust as of December 14, 2018. And Mr.

   Lorman discovered two wires, one for $150,000 and another for $321,028.44, both far in excess

   of the $10,000 threshold required for liability under 18 U.S.C. § 1957. On numerous occasions,

   the Defendants withdrew or transferred portions of these proceeds in excess of $10,000.

          426.    In addition, the Defendants directed or caused the payment of over $6 million in

   proceeds from the White Peaks sale to bank accounts held for the benefit of Nelson, Kirschner,

   and Watson in or around the period from July to September 2019. The Defendants also directed

   or caused the payment of approximately $5 million in illicit profits on the Blueridge Property to


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   be paid or funneled to Nelson and Kirschner. The funds were fruit of the Defendants’ unlawful

   activities related to their RICO Enterprise.

           427.   For the foregoing reasons, the Defendants repeatedly violated 18 U.S.C. § 1957,

   engaging in further racketeering activity under 18 U.S.C. § 1961(1).


                             Violation of the Travel Act, 18 U.S.C. § 1952

           428.   Racketeering activity is further defined in 18 U.S.C. § 1961(1) to include violations

   of the “Travel Act,” 18 U.S.C. § 1952, which criminalizes the use of interstate facilities to “(1)

   distribute the proceeds of any unlawful activity; or . . . (3) otherwise promote, manage, establish,

   carry on, or facilitate the promotion, management, establishment, or carrying on, of any unlawful

   activity.”

           429.   The Travel Act defines “unlawful activity” to include “extortion, bribery, or arson

   in violation of laws of the State in which committed or of the United States” as well as acts of

   money laundering in violation of 18 U.S.C. §§ 1956 and 1957. 18 U.S.C. § 1952(b).

           430.   For purposes of 18 U.S.C. § 1952, “interstate facilities” are defined to include

   email, mail, telephone calls, text messages, and wire transfers. The Defendants made use of

   interstate facilities in furtherance of their crimes of money laundering.

           431.   The Defendants used wire transfers to make payments and communicated to each

   other via phone, e-mail, and/or other electronic means in order to further their money laundering

   activities. The Defendants reside in various states and used interstate facilities in furtherance of

   their crimes of money laundering. For example, multiple wire transfers from Northstar in

   Colorado went to Villanova Trust in Tennessee. Northstar and other Defendants domiciled in

   Colorado, Tennessee, and Nevada conducted business with Amazon, which has headquarters

   and/or principal places of business in Washington State and Virginia. And the Defendants,

   including Nelson and Kirschner, personally engaged in interstate travel to participate in meetings

   or other activities in furtherance of the RICO Enterprise. Any transactions that the Defendants

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   made with vendors or other business partners located in Virginia were also interstate activities that

   furthered their bribery (kickback) and money laundering activities with respect to the Lease

   Transactions and Direct Purchases.

          432.    With specific intent to commit acts of bribery of others (to ensure their silence) and

   money laundering and to facilitate these acts, the Defendants made use of “interstate facilities” to

   “distribute the proceeds of any unlawful activity; or . . . otherwise promote, manage, establish,

   carry on, or facilitate the promotion, management, establishment, or carrying on, of [their]

   unlawful activity.” 18 U.S.C. § 1952(a). Among other things, they intentionally engaged in acts

   of bribery of others (kickbacks to secure improper and unjust benefits and to secure concealment

   of the RICO Enterprise) and money laundering through interstate channels, in violation of 18

   U.S.C. §§ 1952 and 1956. Their conduct thus constitutes racketeering activity in multiple forms

   according to 18 U.S.C. § 1961(1).

      Predicate Acts of Racketeering Activity Amount to a Pattern of Racketeering Activity
                                   under 18 U.S.C. § 1961(5)

          433.    The Defendants committed and/or aided and abetted the commission of at least two

   or more of the foregoing acts of racketeering. The acts alleged were related to each other by virtue

   of common participants (the Defendants), common victims (Amazon, IPI, and their affiliates,

   partners and investors), a common method of commission and common results (perpetration of a

   kickback and money laundering scheme that fraudulently induced business and contracting

   decisions to the benefit of the Defendants), and a common purpose (defrauding and otherwise

   extracting money and property from Amazon and its affiliates and partners for the personal

   financial gain of the Defendants while concealing their unlawful conduct). The Defendants’

   conduct thus constitutes a pattern of racketeering activity, as defined by 18 U.S.C. § 1961(5).

          434.    The Defendants violated 18 U.S.C. § 1962(a).

          435.    As a direct and proximate result of the RICO Enterprise and the Defendants’

   racketeering and other activities, Plaintiffs have been injured in their business and property in

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   violation of 18 U.S.C. § 1962(a), which prohibits “any person who has received any income

   derived, directly or indirectly, from a pattern of racketeering activity . . . in which such person has

   participated as a principal . . . to use or invest, directly or indirectly, any part of such income, or

   the proceeds of such income, in acquisition of any interest in, or the establishment or operation of,

   any enterprise which is engaged in, or the activities of which affect, interstate or foreign

   commerce.”

           436.      The Defendants derived, both directly and indirectly, financial and other benefits

   as a result of their unlawful RICO Enterprise, including but not limited to the kickbacks and other

   payments they received as a result of their fraud and other enterprise conduct.

           437.      The unlawful proceeds from the RICO Enterprise were used in part to operate

   defendant Northstar, which Watson converted as a vehicle and alter ego for the unlawful activities

   of the Defendants’ racketeering activities.

           438.      Watson commingled his personal finances with Northstar funds and assets.

           439.      Moreover, Watson is listed as the owner of the various Northstar-associated

   entities—notably Defendants Sterling NCP FF LLC, Manassas NCP FF LLC, and NSIPI

   Administrative Manager, LLC—that until April 2, 2020, had ownership interests and/or

   management responsibilities for Lease Transaction properties through NSIPI Data Center Venture,

   LLC, the joint venture that (through IPI) recently terminated all Northstar-related interests in the

   venture.

           440.      In addition, and as detailed above, Nelson and Kirschner used the proceeds of their

   unlawful enterprise to fund Allcore, Finbrit, Cheshire Ventures, Sigma, Regenerative Solutions,

   and CTBSRM and to pay Atherton and Von Lacey for the services they provide in connection with

   these entities.

           441.      The Defendants violated 18 U.S.C. § 1962(b).

           442.      As a direct and proximate result of the Defendants’ racketeering activities, the

   Amazon Plaintiffs and their affiliates, partners, and investors, have been injured in their business
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   and property in violation of 18 U.S.C. § 1962(b), which prohibits “any person through a pattern of

   racketeering activity . . . to acquire or maintain, directly or indirectly, any interest in or control of

   any enterprise which is engaged in, or the activities of which affect, interstate or foreign

   commerce.”

           443.    The Defendants maintained control of the RICO Enterprise through the

   racketeering activities of the Defendants, trusts, entities, and other channels engaged in interstate

   commerce and whose activities affect interstate commerce. The Defendants conspired together

   over a period of years to extract unlawful profits from a series of Amazon real estate transactions.

   Nelson and Kirschner conspired with developers and middlemen, including Watson and Northstar,

   to arrange deals from which the co-conspirators could leach value. This scheme relied on Atherton

   and the network of shell entities he created to make possible the transfers that put funds into the

   pockets of the co-conspirators while shielding the scheme from Amazon and other third parties.

   The conspiracy continued after Nelson’s departure from Amazon and ended only because it was

   discovered. The Defendants facilitated, perpetuated, maintained, and expanded their scheme

   through committing wire fraud, honest services fraud, bribery, extortion, and money laundering.

   The illegal enterprise extensively utilized facilities of interstate commerce including, but not

   limited to, persons and entities, including trusts and shell companies, located in, variously,

   Colorado, Tennessee, Virginia, Washington State, and Wyoming.

           444.    As detailed above, the Defendants violated 18 U.S.C. § 1962(c) by “conduct[ing]

   or participat[ing], directly or indirectly, in the conduct of such enterprise’s affairs through a pattern

   of racketeering activity.”

           445.    The Defendants also violated 18 U.S.C. § 1962(d), which prohibits “any person to

   conspire to violate any of the provisions of” 18 U.S.C. §§ 1962(a)-(c). The Defendants knowingly

   agreed to commit, and subsequently engaged in, a pattern of racketeering activity, and further

   knew that the participation and agreement of each of them was necessary to allow the commission

   of this pattern of racketeering activity. Each of the Defendants knew about and agreed to facilitate
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   the RICO Enterprise’s unlawful scheme to obtain property and other illicit benefits from Amazon

   and its affiliates and partners. It was part of the conspiracy that the Defendants and their co-

   conspirators would commit a pattern of racketeering activity in the conduct of the affairs of the

   RICO Enterprise, including the acts of racketeering set forth above.

           446.    Amazon was injured in its business and property by reason of the Defendants’

   violations of 18 U.S.C. § 1962(a), (b), (c), and (d).

           447.    The RICO Enterprise directly and proximately caused injuries to Amazon and its

   affiliates and partners including, but not limited to: the purchase of real property in Virginia

   unlawfully inflated above its fair market value by millions of dollars; millions of dollars in

   kickback payments that resulted in Amazon and its affiliates paying artificially inflated prices for

   at least the 11 real estate transactions alleged herein; the fees and costs Amazon and its partners

   incurred by working to remove the Defendants, their agents, and those acting in concert with them

   from their roles on the affected Lease Transaction sites, including attorneys’ fees and costs

   associated with preparing, executing, and enforcing the February 19, 2020 Lease Continuity

   Agreement and the December 27, 2021 Confidential Settlement Agreement; the impairment of

   Amazon’s legal entitlement to business relationships and to make business decisions free from

   outside pressure wrongfully imposed; and the denial of Amazon’s right to control both the

   disposition of its assets and its risk of loss.

           448.    These injuries to Amazon were a direct, proximate, and reasonably foreseeable

   result of the Defendants’ violations of 18 U.S.C. § 1962(a), (b), (c), and (d). Amazon has been

   and will continue to be injured in its business and property in an amount to be determined at trial.

           449.    Pursuant to RICO, 18 U.S.C. § 1964(c), Amazon is entitled to recover treble

   damages, plus costs and attorneys’ fees, from the Defendants.

           450.    Pursuant to the RICO statute, 18 U.S.C. § 1964(a), Amazon is entitled to injunctive

   and other equitable relief, including an order requiring the Defendants to disgorge the full measure

   of their unjust gains from the fraudulent scheme.
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             451.   Amazon is further entitled to, and should be awarded, a permanent injunction that

   enjoins the Defendants, their assignees, and anyone else acting in concert with them from profiting

   from or otherwise monetizing their relationship with Amazon, Amazon confidential information,

   or any of the projects or properties described herein, including by marketing or otherwise

   leveraging the existence of a relationship with Amazon and/or knowledge of Amazon business

   practices to promote future business activities.


                                             COUNT II
                                Detinue Pursuant to Va. Code § 8.01-114

             452.   Plaintiffs incorporate all preceding paragraphs by reference.

             453.   This count is against all Defendants.

             454.   “An action for detinue lies when a party unlawfully withholds the personal property

   of another.” Secureinfo Corp. v. Telos Corp., 387 F. Supp. 2d 593, 620 (E.D. Va. 2005) (citing

   Va. Code § 8.01-114). “The remedy for a detinue claim is recovery of the item being withheld

   and any damages for its detention.” Id.

             455.   In Virginia, to maintain an action for detinue, “a plaintiff must establish (1) a

   property interest in the thing sought to be recovered, (2) the right to immediate possession of the

   property, (3) that the property is capable of identification, (4) that the property is of some value,

   and (5) that the defendant had possession at some time before the institution of the action.” In re

   Paysage Bords De Seine, 1879 Unsigned Oil Painting on Linen by Pierre-Auguste Renoir, 991 F.

   Supp. 2d 740, 744 (E.D. Va. 2014) (citing Vicars v. Atl. Disc. Co., 140 S.E.2d 667, 670 (Va.

   1965)).

             456.   Through the Lease Transaction portion of the RICO Enterprise, the Defendants

   received $15,263,163 from their illicit agreement on the Lease Transactions.

             457.   Approximately $5,112,983.84 of this corpus was possessed by the Northstar

   Defendants and then wired to the Villanova Trust pursuant to their 2018 Kickback Agreement on

   the Lease Transactions for the benefit of Nelson, Casey Kirschner, Christian Kirschner, and
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   Atherton. Ex 11; Dkt. 57 ¶ 4. Discovery and trial may reveal that Defendants possessed or

   continue to possess more.

          458.    Through the White Peaks Transaction portion of the RICO Enterprise, the

   Defendants unlawfully obtained approximately $17,700,000 from Plaintiffs by overcharging

   Amazon on a flip-sale of the White Peaks property.

          459.    White Peaks Capital and/or NOVA possessed that entire profit, minus costs. From

   that corpus, one or both of those entities wired (i) $5,000,000 to Watson after an October 2019

   “settlement” and (ii) $1,000,000 to an account associated with E2M Properties, LLC, a Lim

   company, for Kirschner’s and/or Nelson’s and/or Atherton’s benefit. Discovery and trial may

   reveal that Defendants possessed or continue to possess more.

          460.    In the Blueridge Transaction, Plaintiffs overpaid the Blueridge Group by

   $10,000,000 on account of Kirschner’s interposition of the Blueridge Group into a deal whereby

   Kirschner had already agreed with the seller that Amazon could purchase the property for $73

   million, rather than the $83 million paid following the Blueridge Group’s involvement in the deal.

          461.    Through the Blueridge Transaction portion of the RICO Enterprise, Defendant

   Atherton arranged for approximately $4,800,000 from this corpus to be transferred in due course

   to Nelson’s Finbrit entity for his own benefit and the benefit of Nelson and Kirschner. Discovery

   and trial may reveal that Defendants possessed or continue to possess more.

          462.    In the Lease Transactions, the White Peaks Transaction, and the Blueridge

   Transaction, the Defendants inflated the prices for each transaction unknown to Plaintiffs, who

   understood that these prices had been negotiated in the absence of fraud or self-dealing.

          463.    Plaintiffs have a property interest in the funds that the Defendants unlawfully

   obtained or converted as a result of their illicit activities. Plaintiffs also have an immediate right

   to possess these funds, which were not legally transferred to the Defendants in the first place.

          464.    The funds Plaintiffs seek to recover are capable of identification. Amazon can trace

   monies it paid to the Defendants relating to (i) amounts corresponding to rent paid in connection
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   with the Lease Transactions based on the amounts listed in Exhibit A to the Villanova Trust

   kickback agreement; (ii) the White Peaks purchase, based on the sales contract and wire transfer

   records; and (iii) the Blueridge purchase, based on an email an attorney from the Blueridge Group

   sent to various Defendants regarding the breakdown of the proceeds.

           465.    All of these payments relate directly to real estate transactions that occurred in

   Virginia, and are therefore subject to a claim for detinue under Virginia Law. See Dkts. 161-10 to

   -12, 163-6.


                                                COUNT III
                                                  Fraud

           466.    Plaintiffs incorporate all preceding paragraphs by reference.

           467.    This count is against Defendant Nelson, Defendant Kirschner, Defendant Watson,

   Defendant Northstar, and the White Peaks Defendants.

           468.    In Virginia, a party “alleging fraud must prove by clear and convincing evidence

   (1) a false representation, (2) of a material fact, (3) made intentionally and knowingly, (4) with

   intent to mislead, (5) reliance by the party misled, and (6) resulting damage to him.” Thompson v.

   Bacon, 425 S.E.2d 512, 514 (Va. 1993). Virginia recognizes fraud by omission, sometimes called

   “concealment.”      Bank of Montreal v. Signet Bank, 193 F.3d 818, 827 (4th Cir. 1999)

   (“‘Concealment of a material fact by one who knows that the other party is acting upon the

   assumption that the fact does not exist constitutes actionable fraud.’” ) (quoting Allen Realty Corp.

   v. Holbert, 318 S.E.2d 592, 597 (Va. 1984)).            Concealment is a “deliberate” or “willful”

   “nondisclosure.” Hitachi Credit Am. Corp. v. Signet Bank, 166 F.3d 614, 629 (4th Cir. 1999).

           469.    In the alternative for Nelson and Kirschner, under Washington law “[t]he elements

   of fraud include: (1) representation of an existing fact; (2) materiality; (3) falsity; (4) the speaker’s

   knowledge of its falsity; (5) intent of the speaker that it should be acted upon by the plaintiff; (6)

   plaintiff’s ignorance of its falsity; (7) plaintiff’s reliance on the truth of the representation; (8)

   plaintiff’s right to rely upon it; and (9) damages suffered by the plaintiff.” Adams v. King Cty.,
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   192 P.3d 891, 902 (Wash. 2008) (en banc) (citation omitted). As in Virginia, Washington

   recognizes that “the first element of fraud may be satisfied by omission of a material fact.”

   Amtruck Factors, a Div. of Truck Sales, Inc. v. Int’l Forest Prods., 59 Wash. App. 8, 18 (1990),

   abrogated on other grounds, Ross v. Kirner, 162 Wash. 2d 493, 500 (2007).

          470.    The Defendants committed fraud by concealing from Plaintiffs material

   information relating to their kickback scheme.

          471.    Watson and Northstar knowingly and intentionally concealed the fact that they were

   paying kickbacks to Amazon employees in connection with the Lease Transactions.

          472.    While negotiating with Amazon, and before the lease agreements were executed,

   Watson and Northstar colluded with Nelson and Kirschner to secure the Lease Transactions and

   finalized the 2018 Referral Agreement with the Villanova Trust, which would be used to funnel

   payments to Nelson, Kirschner, and others.

          473.    Watson and Northstar failed to disclose their arrangements with Nelson, Kirschner,

   and the Villanova Trust to Amazon. The obligation to disclose that information arose out of the

   common law and existed independent of any contractual obligation that Watson and Northstar had

   with Amazon. At the very least, however, Watson and Northstar should have been prompted to

   comply with their common law obligation once they were presented with contract language

   inquiring whether they had paid any undisclosed brokerage, referral, or similar fees to third parties

   in relation to the Lease Transactions and whether there were any agreements made by the landlords

   that were not contained in the lease documents. They should have been further prompted by

   contract language discussing Amazon’s Code of Conduct, which prohibited the paying of bribes.

          474.    In part, Watson’s and Northstar’s fraud induced Amazon to enter into the lease

   contracts. See Enomoto v. Space Adventures, Ltd., 624 F. Supp. 2d 443, 452 (E.D. Va. 2009);

   Ware v. Scott, 257 S.E.2d 855, 857 (Va. 1979). Watson and Northstar knew that Amazon would

   not have proceeded with the transactions if it had been aware that its counterparties intended to

   funnel kickbacks to Amazon employees and the brother of an Amazon employee. Thus, the
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   concealment detailed above was undertaken and continued with the purpose of procuring the lease

   agreements and inducing Amazon to enter and perform them.

          475.    The White Peaks Defendants also knowingly and intentionally concealed the fact

   that they were paying kickbacks to Amazon employees in connection with the White Peaks

   Transaction.

          476.    The White Peaks Defendants knew at the time they negotiated and executed the

   contract with Amazon that Nelson and Kirschner were actively working behind the scenes to

   secure approval for the transaction at a rate inflated by their anticipated kickbacks and tainted by

   their fraud and self-dealing. The White Peaks Defendants, Nelson, and Kirschner cannot credibly

   claim that either side expected that Nelson’s and Kirschner’s assistance steering the deal through

   internal approvals would come with no kickback strings attached, given the prior pressure exerted

   by Nelson and Kirschner against White Peaks principal Ramstetter to ensure that the kickbacks on

   the Lease Transactions were promptly disbursed to the Villanova Trust for their benefit.

          477.    The White Peaks Defendants failed to disclose this information to Amazon. The

   obligation to disclose that information arose out of the common law and existed independent of

   any contractual obligation that the White Peaks Defendants had with Amazon. At the very least,

   however, the White Peaks Defendants should have been prompted to comply with their common

   law obligation once they were presented with contract language inquiring whether they had

   engaged any other brokers or finders and whether there were any other agreements or

   understandings related to the property. They should have been further prompted by contract

   language discussing Amazon’s Code of Conduct, which prohibited the paying of bribes.

          478.    In part, the White Peaks Defendants’ fraud induced Amazon to enter into the

   purchase agreement. See Enomoto, Ltd., 624 F. Supp. 2d at 452. The White Peaks Defendants

   knew that Amazon would not have proceeded with the transaction if it had known that its

   counterparty intended to funnel kickbacks to its own employees. Thus, the concealment detailed


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   above was undertaken with the purpose of procuring the purchase agreement and inducing Amazon

   to enter it.

           479.    Nelson and Kirschner knowingly and intentionally concealed from Amazon that

   they would be receiving, and ultimately did receive, kickbacks on the Lease Transactions and

   Direct Purchase Transactions.

           480.    The obligation to disclose this information arose out of the common law and existed

   independent of any contractual obligation Nelson and Kirschner had with Amazon or any policies

   that they were required to comply with during their employment. At the very least, however,

   Nelson and Kirschner should have been prompted to comply with their common law obligation in

   light of their CNIAA agreements, Amazon’s Code of Conduct, and Amazon’s

                       , which collectively prohibited the conduct at issue and required Amazon

   personnel to log conflicts of interest.

           481.    The Defendants committed fraud by making various misrepresentations and

   omissions in connection with Amazon’s RFP and other approval processes.

           482.    Nelson and Kirschner knowingly and intentionally misrepresented and concealed

   important information from Amazon throughout the RFP process so the Company would conclude

   that the Lease Transactions were competitive, fair market deals executed in Amazon’s best interest

   and in compliance with all relevant laws and Amazon’s Code of Conduct.

           483.    Relatedly, Watson and Northstar knowingly and intentionally failed to disclose to

   Amazon that part of the proceeds they received from the Lease Transactions would be used to fund

   kickbacks to Amazon insiders, and that they had submitted these inflated bids with the help, and

   at the direction of, those insiders.

           484.    The White Peaks Defendants knowingly and intentionally made various

   misrepresentations and omissions in their discussions with Amazon leading up to the White Peaks

   sale, including their failure to disclose to Amazon that they were working with Nelson and

   Kirschner.
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          485.    In part, Watson’s, Northstar’s, and the White Peaks’ Defendants’ fraud induced

   Amazon to enter into the lease contracts and the White Peaks contract. See Enomoto, 624 F. Supp.

   2d at 452; Ware, 257 S.E.2d at 857. Defendants knew that Amazon would not have proceeded

   with the transactions if it had been aware that the prices were inflated to include kickback payments

   to Amazon employees. In addition, Watson and Northstar submitted an RFP response that

   contained false representations, including assurances that Northstar would be honest with its

   business partners and a proposed lease agreement representing that Northstar had made no

   undisclosed brokerage or other fee payments. Thus, these misrepresentations were made, and the

   concealment detailed above was undertaken and continued, with the purpose of procuring the

   agreements and inducing Amazon to enter and perform them.

          486.    The Defendants committed fraud through concealing their personal financial

   relationships and conflicts of interest from Amazon.

          487.    Nelson and Kirschner knowingly and intentionally failed to disclose to Amazon

   that they had personal financial relationships with the landlords and sellers involved in the Lease

   Transactions and Direct Purchase Transactions from which they expected to receive millions in

   kickbacks, and these parties similarly failed to disclose these financial relationships to Amazon.

          488.    Each of these financial relationships created a conflict of interest that was harmful

   to Amazon, and that under Amazon’s policies, was required to be reported to the Company.

          489.    In part, Watson’s, Northstar’s, and the White Peaks Defendants’ fraud induced

   Amazon to enter into the lease and purchase agreements. See Enomoto, 624 F. Supp. 2d at 452;

   Ware, 257 S.E.2d at 857. These defendants knew that Amazon would not have proceeded with

   the transactions if it was aware that its employees and the counterparties to prospective or existing

   transactions had personal financial relationships with each other and were tainted by a conflict of

   interest. Their concealment was therefore undertaken and continued with the purpose of procuring

   the lease and purchase contracts and inducing Amazon to enter and perform them.


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          490.     The Defendants’ false statements and omissions were material and designed to

   mislead Amazon.

          491.     Each of the transactions at issue was premised on the Company’s reasonable

   understanding that its employees and counterparties were not laboring under conflicts of interest

   and that it was paying a fair price instead of one unlawfully inflated by kickbacks.

          492.     The Lease Transactions were further premised on Amazon’s belief that the

   information filtered through its internal review and approval processes, and provided by its own

   employees and those responding to RFPs, was reliable and produced through arm’s length

   negotiations.

          493.     The Defendants used false statements and omissions to mislead Amazon into

   thinking that these conditions were met and fraudulently induce the Company into entering the

   Lease and Direct Purchase Transactions so that they could reap millions of dollars for their own

   personal benefit at Amazon’s expense.

          494.     Had Amazon known that the transactions were inflated by millions of dollars in

   kickbacks or that its employees and contract counterparties had financial relationships with each

   other and were colluding to benefit at Amazon’s expense, it would not have approved the

   transactions.

          495.     Plaintiffs reasonably relied on the Defendants’ misrepresentations and omissions to

   their detriment and approved the transactions.

          496.     Amazon was not and could not reasonably have been made aware of these

   misrepresentations and omissions.

          497.     Amazon had a right to rely on the representations made by its own employees and

   to assume that the concealed facts did not exist. Pursuant to their employment agreements and

   Amazon’s policies, including Amazon’s Code of Conduct and                                         ,

   Nelson and Kirschner had an obligation to act, and were expected to be acting, in Amazon’s best

   interests and to refrain from the unlawful conduct they committed. Similarly, Amazon had the
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   right to rely on the assumption that its contract counterparties were not violating their common

   law duty to refrain from making misrepresentations and concealing material information while

   engaging in business transactions.

           498.    Alternatively, and at the very least, Defendants committed constructive fraud

   because they negligently or innocently misrepresented or omitted material facts. See Hitachi

   Credit Am. Corp. v. Signet Bank, 166 F.3d 614, 628 (4th Cir. 1999); see also Ross v. Kirner, 172

   P.3d 701, 704 (Wash. 2007) (en banc).

           499.    Each of the landlord entities that signed the lease agreements served as Watson’s

   alter ego.

           500.    The White Peaks Defendants were alter egos of Ramstetter and Camenson in

   executing the White Peaks Transaction.

           501.    As a direct result of Amazon’s justifiable and reasonable reliance on the

   Defendants’ material misrepresentations and omissions, Defendants were unjustly enriched in the

   amount of tens of millions of dollars, and Amazon sustained damages, including but not limited to

   the inflated purchase price on the White Peaks property and the Blueridge Property and the costs

   and fees it paid to members of the Lease Transaction Enterprise on contracts they procured through

   fraud and kickbacks which artificially inflated the price of the transactions. Plaintiffs are also

   entitled to punitive damages. See Tidewater Beverage Services, Inc. v. Coca Cola., Inc., 907 F.

   Supp. 943, 948 (E.D. Va. 1995).


                                             COUNT IV
                  Tortious Interference with Contractual and/or Business Relations

           502.    Plaintiffs incorporate all preceding paragraphs by reference.

           503.    This count is against Defendant Watson, Defendant Northstar, and the White Peaks

   Defendants.

           504.    In Virginia, the elements of tortious interference are: “(1) the existence of a valid

   contractual relationship . . .; (2) knowledge of the relationship . . . on the part of the interferor; (3)
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   intentional interference inducing or causing a breach or termination of the relationship . . .; and (4)

   resultant damage to the party whose relationship . . . has been disrupted.” Schaecher v. Bouffault,

   772 S.E.2d 589, 602 (Va. 2015).

           505.   Plaintiffs entered into valid employment contracts with Nelson and Kirschner.

   Those contracts prohibited Nelson and Kirschner from using and/or disclosing confidential

   information for their own benefit and to Amazon’s detriment, as well as from competing with

   Plaintiffs during and after their terms of employment.

           506.   Watson, Northstar, and the White Peaks Defendants had knowledge of Nelson’s

   and Kirschner’s employment relationship with Amazon. Watson, Northstar, and the White Peaks

   Defendants intentionally interfered with Plaintiffs’ contracts by causing Nelson and Kirschner to

   make improper use of confidential Amazon information and enter into a pay-to-play arrangement

   that was deleterious to Amazon’s interests.

           507.   In all instances, and as detailed above, Watson, Northstar, and the White Peaks

   Defendants acted with improper motives and by improper means (including, but not limited to,

   racketeering and bribery).

           508.   Each of the landlord entities that signed the lease agreements served as Watson’s

   alter ego.

           509.   Plaintiffs have been harmed by, and are suffering from ongoing and imminent

   threats of additional harm from, Watson’s, Northstar’s, and the White Peaks Defendants’ tortious

   interference with Plaintiffs’ contractual and/or business relations relations as detailed above and

   in the Application for a Temporary Restraining Order that accompanied Amazon’s first Verified

   Complaint. Injury and damages include, but are not limited to immediate economic damages

   resulting from inflated and fraudulent transaction costs.

           510.   Although many of these harms are compensable in money damages, the injury to

   Amazon’s ongoing business and business relationships is not, and regardless injunctive relief is


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   necessary to prevent the Defendants from spoliating evidence and assets essential to recovery of

   monetary relief.


                                               COUNT V
                                            Civil Conspiracy

          511.    Plaintiffs incorporate all preceding paragraphs by reference.

          512.    This count is against all Defendants.

          513.    Under Virginia law, a common law claim of civil conspiracy lies where “a plaintiff

   sustains damages as a result of an act that is itself wrongful or tortious.” Dunlap v. Cottman

   Transmission Sys., LLC, 754 S.E.2d 313, 317 (Va. 2014). Virginia law also recognizes a statutory

   claim of civil conspiracy where “two or more persons who combine, associate, agree, mutually

   undertake or concert together for the purpose of (i) willfully and maliciously injuring another in

   his reputation, trade, business or profession by any means whatever or (ii) willfully and

   maliciously compelling another to do or perform any act against his will, or preventing or hindering

   another from doing or performing any lawful act.” Va. Code § 18.2-499(A).

          514.    In the alternative for Nelson and Kirschner, under Washington law “[t]o establish

   a common law claim for civil conspiracy,” a plaintiff is “required to prove by clear, cogent, and

   convincing evidence that (1) two or more people combined to accomplish an unlawful purpose, or

   combined to accomplish a lawful purpose by unlawful means; and (2) the conspirators entered into

   an agreement to accomplish the conspiracy.” Bonneville v. Pierce Cty., 202 P.3d 309, 318 (Wash.

   Ct. App. 2008) (quotation marks omitted).

          515.    As alleged herein, the Defendants have conspired to induce breach of contract and

   engage in fraud, tortious interference with contractual and business relationships, and unlawful

   racketeering and enterprise activity against Plaintiffs and others.

          516.    The Defendants entered into an agreement to accomplish these conspiracies. For

   example, Nelson, Kirschner, and Atherton conspired to have Atherton create a number of trusts

   and entities to facilitate and conceal their illicit gains; Nelson and Kirschner conspired to steer
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    lucrative company contracts and business opportunities to third parties that agreed to provide them

    with personal benefits in return; Watson and Christian conspired about how to use the Villanova

    Trust to funnel kickbacks from the Amazon lease transactions; Atherton volunteered to help

    Christian with the “stuff” that Christian and Kirschner were working on, which he wanted to

    expand to more developers; Kirschner had a spreadsheet with rough calculation of the fees and he

    and his co-conspirators expected and agreed to receive on various Lease Transactions; and the

    Defendants organized into a cohesive group with specific and assigned responsibilities to further

    the enterprise. In forming these agreements, the Defendants acted for the purpose of willfully and

    maliciously inducing Amazon to pay inflated prices for each of the transactions at issue so that

    they could obtain kickback payments and other benefits.

           517.    The Defendants’ actions resulted in damage to Amazon, as detailed elsewhere in

    relation to the racketeering, fraud, tortious interference, and breach of contract claims.

           518.    Under the Virginia statutory claim for civil conspiracy, Plaintiffs are entitled to

    “recover three-fold the damages by him sustained, and the costs of suit.” Va. Code § 18.2-500(A).

    Amazon is also entitled to “loss of profits.” Id.

           519.    The statute further provides for equitable relief, stating that the “court shall have

    jurisdiction to . . . issue injunctions pendente lite and permanent injunctions and to decree damages

    and costs of suit, including reasonable counsel fees to complainants’ and defendants’ counsel.”

    Va. Code § 18.2-500(B).


                                               COUNT VI
                                            Breach of Contract

           520.    Plaintiffs incorporate all preceding paragraphs by reference.

           521.    This count is against Nelson and Kirschner.

           522.    Under Virginia law, “the elements of a breach of contract action are (1) a legally

    enforceable obligation of a defendant to a plaintiff; (2) the defendant’s violation or breach of that


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    obligation; and (3) injury or damage to the plaintiff caused by the breach of obligation.” Ulloa v.

    QSP, Inc., 624 S.E.2d 43, 48 (Va. 2006) (quotation marks and alteration omitted).

           523.    In the alternative for Nelson and Kirschner , under Washington law “[t]he elements

    of a breach of contract claim are: (1) the existence of a valid contract, (2) breach of that contract,

    and (3) damages resulting from the breach.” Karpenski v. Am. Gen. Life Cos., 999 F. Supp. 2d

    1235, 1250 (W.D. Wash. 2014).

           524.    Plaintiffs executed a CNIAA Agreement with Kirschner that provides, among other

    things, that: (i) Amazon “has been induced to employ [Kirschner] by [Kirschner’s] representation

    that [he] will abide by and be bound by each of the convenants and restraints in th[e] Agreement”,

    Dkt. 162-9 § 9 (Kirschner CNIAA); see also Dkt. 162-9 Recitals A–D (Kirschner CNIAA); (ii)

    any breach of the Agreement may cause Amazon irreparable harm for which there is no adequate

    remedy at law, Dkt. 162-10 § 6 (Kirschner CNIAA); and that (iii) Defendant Casey Kirschner will

    “hold all Confidential Information in strictest confidence and will not acquire, use, publish,

    disclose, or communicate any Confidential Information except as required in connection with

    [their] work without the prior written approval of an authorized officer of Amazon,” Dkt. 162-9 §

    3.1 (Kirschner CNIAA).

           525.    Plaintiffs also executed a CNIAA Agreement with Nelson that provides, among

    other things, that: (i) that Nelson is “entering into this Agreement . . . as a condition of [his]

    employment” with Amazon, “recogniz[ing] that the restrictions set forth in Sections 2 and 3 of

    t[he] Agreement may seriously limit [his] future flexibility in many ways,” Dkt. 162-10 Recital

    and § 4(a) (Nelson); (ii) “[a]ny breach of this Agreement may cause the Company irreparable harm

    for which there is no adequate remedy at law,” Id. § 6 (Nelson); and that (iii) Nelson “shall not,

    directly or indirectly, at any time . . . use or cause to be used any” non-public “Confidential

    Information” acquired from or during employment with the Company “in connection with any

    activity or business except the business of the Company, and shall not disclose such Confidential

    Information to any individual, partnership, corporation, or other entity unless such disclosure has
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    been specifically authorized in writing by the Company, or except as may be required by any

    applicable law.” Id. § 2(b) (Nelson).

           526.    These CNIAA Agreements further warrant that, during employment with Amazon

    and “for 18 months” thereafter, Nelson and Kirschner “will not, directly or indirectly,” either “on

    [their] own behalf or” otherwise, Dkt. 162-9 § 4 (Kirschner CNIAA); Dkt. 162-10 § 3(c) (Nelson

    CNIAA):

           CASEY KIRSCHNER AGREEMENT                          CARLETON NELSON AGREEMENT

     (i) engage in or support the development,         (i) “knowingly (i) accept or solicit
     manufacture, marketing, or sale of any product    employment . . . a consulting assignment . . .
     or service that competes or is intended to        investment capital, directly or indirectly, from
     compete with any product or service sold,         any individual or entity . . . from which the
     offered, or otherwise provided by Amazon (or      Company has accepted investment capital, or
     intended to be sold, offered, or otherwise        with which, prior to the Termination Date, the
     provided by Amazon in the future) that            Company has held serious discussions
     Employee worked on or supported, or about         regarding the possibility of securing
     which Employee obtained or received               investment capital (“Investors or Prospective
     Confidential Information”;                        Investors”), provided, however, that this
                                                       Section 3(c)(i) shall not apply to Investors or
     (ii) “solicit business from any Customer of any Prospective Investors that are introduced to the
     product or service that Employee worked on or Company through the efforts of the Employee;
     supported, or about which Employee obtained or
     or received Confidential Information”;
                                                       (ii) accept or solicit employment with, or . . . a
     (iii) “encourage any Customer or Business consulting assignment with, or . . . business
     Partner to cease doing business with Amazon from any individual or entity that was a
     or to terminate or limit an existing relationship customer or client of the Company prior to the
     or arrangement with Amazon”;                      Termination Date, or with which the Company
                                                       had engaged in serious discussions prior to the
     (iv) “solicit or otherwise encourage any
                                                       Termination Date related to the possibility that
     employee, contractor, or consultant of
                                                       such individual or entity might become a
     Amazon (“Amazon Personnel”) to terminate
                                                       customer or client of the company (a “Current
     any employment or contractual relationship
                                                       or Prospective Customer”), if the product or
     with Amazon” or “disclose information to any
                                                       service provided by the Employee to such
     other individual or entity about Amazon
                                                       Current or Prospective Customer is
     Personnel that could be used to solicit or
                                                       substantially the same as a product or service
     otherwise encourage Amazon Personnel to
                                                       offered by the Company to such Current or
     form new business relationships with that or
                                                       Prospective Customer, and such acceptance or
     another individual or entity”; or
                                                       solicitation would be competitive with or
     (v) “otherwise interfere with the performance otherwise deleterious to the Company’s own
     by current or former Amazon Personnel of business relationship or anticipated business
     their obligations or responsibilities to relationship with such Current or Prospective
     Amazon.” Dkt. 162-9 § 4.                          Customer; or

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                                                    (iii) accept or solicit business from any retail
                                                    market sector, segment, or group that the
                                                    Company has solicited, targeted, or accepted
                                                    business from prior to the Termination Date,
                                                    or has actively planned, prior to the
                                                    Termination Date, to solicit, target, or accept
                                                    business from (the “Target Market”), if the
                                                    product or service provided or offered by the
                                                    Employee to such Target Market is
                                                    substantially the same as a product or service
                                                    provided or offered by the Company to the
                                                    Target Market, and such acceptance or
                                                    solicitation would be competitive with or
                                                    otherwise deleterious to the Company’s own
                                                    business activities, or anticipated business
                                                    activities, related to the Target Market; or

                                                    (iv) enter into or propose to enter into any
                                                    business arrangement with any entity with
                                                    which, prior to the Termination Date, the
                                                    Company was involved in substantially the
                                                    same business arrangement, or with which,
                                                    prior to the Termination Date, the Company
                                                    had held discussions regarding the possibility
                                                    of entering into such an arrangement, if such
                                                    arrangement would be competitive with or
                                                    otherwise deleterious to the interests of the
                                                    Company. Dkt. 162-10 §§ 3(c)(i)-(iv).


           527.   Nelson and Kirschner breached all and continue to violate aspects of all of these

    provisions in the course of conducting their unlawful pay-to-play scheme for Amazon real estate

    business, including by participating in the RICO Enterprise. For example, Nelson and Kirschner

    steered proprietary and competitively sensitive business information to co-conspirators in

    exchange for kickbacks and other benefits they concealed from Amazon in violation of company

    contracts and policies; Nelson became involved with the Blueridge Transaction, serving as a

    consultant for a counterparty on a transaction for Amazon despite his non-compete provision;

    Kirschner copied about 375 documents onto a USB device, many of which referenced confidential

    Amazon business transactions, including on the Northstar sites; and both Nelson and Kirschner

    used Atherton Trusts and Atherton Entities to co-opt business opportunities, interfere with the

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    performance of Amazon personnel, or otherwise engage in conduct competitive with or deleterious

    to the interests of the company.

           528.    Nelson also breached and continues to violate aspects of his CNIAA by retaining

    after his termination from Amazon the hard drive that contains approximately 1.4 million pages of

    Amazon documents. Section 1(a) of Nelson’s CNIAA required him to “promptly disclose and

    deliver over to the Company”—both “[d]uring the course of employment and at the termination

    thereof”— enumerated categories of “Disclosure Information,” including but not limited to “ideas

    or information conceived, originated, adapted, discovered, developed, acquired, evaluated, tested,

    or applied by [Nelson] while employed by the Company if the idea or information could reasonably

    be expected to prove useful or valuable to the Company.” Further, Section 2(b) broadly prohibited

    Nelson from “us[ing] or caus[ing] to be used any . . . Confidential Information in connection with

    any activity or business except the business of the Company,” either “directly or indirectly, at any

    time, during the term of his . . . employment with the Company or at any time thereafter, and

    without regard to when or for what reason, if any, such employment shall terminate.” Section 2(a)

    defines “Confidential Information” to include, among other things, data “compiled by the

    Company.”

           529.    These breaches have not been cured and have caused Amazon to suffer pecuniary

    harm and damages in amounts to be determined at trial. In addition, Nelson’s continued possession

    of the hard drive containing approximately 1.4 million pages of Amazon documents poses

    immediate and irreparable harm to Amazon and necessitates injunctive relief in the form of an

    order (a) preventing their further disclosure or use in any way except for the sole purpose of

    defending this lawsuit in this Court, and (b) requiring that upon the end of this litigation, Nelson

    will immediately return all the materials to Amazon, and all other defendants will immediately

    destroy all copies of the materials in their possession and certify that they have done so.




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                                            COUNT VII
                              Unjust Enrichment and Constructive Trust

           530.    Plaintiffs incorporate all preceding paragraphs by reference.

           531.    This count is against all Defendants.

           532.    Under Virginia law, there is “a three-part test to govern unjust enrichment claims:

    (1) the plaintiff conferred a benefit on the defendant; (2) the defendant knew of the benefit and

    should reasonably have expected to repay the plaintiff; and (3) the defendant accepted or retained

    the benefit without paying for its value.” James G. Davis Constr. Corp. v. FTJ, Inc., 841 S.E.2d

    642, 650 (Va. 2020). The existence of a contract does not bar a claim for unjust enrichment “where

    the benefit received was outside the scope of the contract.” Id. at 648 (quotation marks omitted);

    see also, e.g., id. (the “existence of contract d[oes] not bar [a] claim for unjust enrichment based

    on allegation that fees charged were illegal”). A claim of unjust enrichment “is recognized as

    equitable,” and “a constructive trust . . . is a tool of equity to prevent unjust enrichment.” U.S. ex

    rel. Rahman v. Oncology Assocs., 198 F.3d 489, 497–98 (4th Cir. 1999) (quotation marks

    omitted); see also Cooper v. Cooper, 457 S.E.2d 88, 92 (Va. 1995) (“A constructive trust is

    appropriately imposed to avoid unjust enrichment of a party.”).

           533.    In the alternative for Nelson and Kirschner, under Washington law a “claim of

    unjust enrichment requires proof of three elements—(1) the defendant receives a benefit, (2) the

    received benefit is at the plaintiff’s expense, and (3) the circumstances make it unjust for the

    defendant to retain the benefit without payment.” Norcon Builders, LLC v. GMP Homes VG, LLC,

    254 P.3d 835, 844 (Wash. Ct. App. 2011) (quotation marks omitted). Further, “[a] constructive

    trust arises where a person holding title to property is subject to an equitable duty to convey it to

    another on the ground that he would be unjustly enriched if he were permitted to retain it.” Baker

    v. Leonard, 843 P.2d 1050, 1055 (Wash. 1993) (en banc).

           534.    Plaintiffs conferred a benefit on the Defendants with respect to the Lease

    Transactions. First, Defendants received millions in unjustified payments (Watson and the

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    Northstar Defendants) or kickbacks (Nelson and Kirschner) because Plaintiffs were induced to

    enter into the lease agreements. Second, by agreeing to the leases, Amazon made it possible for

    Northstar to seek funding from other sources, such as lenders and investors. Because Northstar

    would not have secured this funding without Amazon as tenant, Amazon’s actions were a

    necessary and proximate cause of Northstar’s gains.

           535.    The Defendants had actual knowledge of these benefits.

           536.    Defendant Watson’s signature appears on each of the contracts that served as

    vehicles or catalysts for the receipt of the benefits. See, e.g., Dkts. 158-1 to 159-3.

           537.    Defendants Watson and Northstar intentionally wired millions of dollars of these

    benefits to Defendant Villanova Trust, Dkt. 156-1, which subsequently disbursed some or all of

    these benefits to Nelson, Casey Kirschner, Christian Kirschner, and Atherton.

           538.    Further, Amazon uncovered files in the recycle bin of Kirschner’s Amazon-issued

    computer establishing his and his co-conspirators’ knowledge of the benefits conferred, including

    a spreadsheet documenting anticipated prohibited payments to the Defendants. The spreadsheet

    and the 2018 Kickback Agreement tie these prohibited payments to certain improper or overstated

    fees which increased the rent payable by Amazon under the Lease Transaction portion of the RICO

    Enterprise. Dkt. 155-10; Dkt. 57 ¶ 2; Dkt. 44 ¶ 15–16. The Defendants should have expected to

    repay Plaintiffs for the benefits received in unjustified payments or kickbacks because they had

    actual knowledge that Plaintiffs did not intend for them to receive the benefits, as shown by the

    fact that they intentionally obtained—and intentionally concealed—the benefits through their

    knowingly illegal and fraudulent Lease Transaction portion of the RICO Enterprise.

           539.    The Defendants both accepted and retained these benefits without paying for their

    value. To date, the Defendants have refused to return a penny of the benefits Plaintiffs conferred

    on them. This renders receipt of the benefits unjust.

           540.    Had Plaintiffs been aware that Nelson and Kirschner would receive kickbacks,

    Amazon would never have entered into any of the Lease Transactions.
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            541.   Plaintiffs also conferred a benefit on the Defendants by paying to White Peaks

    Capital and NOVA PWC a figure approximately $17,700,000 in excess of the fair market value of

    the real property in Loudoun County, Virginia, subject to the Direct Purchase portion of the RICO

    Enterprise—$5,000,000 of which Watson subsequently obtained from the White Peaks Capital

    and NOVA WPC operators in an undisclosed October 2019 settlement, Lorman Decl. ¶ 13, and

    $1,000,000 of which Nelson and/or Kirschner and/or Atherton subsequently obtained from these

    operators using a bank account associated with E2M Properties, LLC as a fraudulent pass-through.

            542.   The Defendants had actual knowledge of these benefits Plaintiffs conferred on

    them.   White Peaks Capital and NOVA PWC had actual knowledge of the approximately

    $17,700,000 benefit because they were parties to the original transaction with 41992 John Mosby

    Highway LLC, Dkts. 161-10 to -12 (stating a $98,670,000.00 Purchase Price) and the same-day,

    inflated transaction with Plaintiffs, Dkts. 160-7 to -10 (stating a $116,389,000 Purchase Price).

    Watson and WDC Holdings had actual knowledge of this approximately $17,700,000 benefit,

    Lorman Decl. ¶ 9, and also had actual knowledge of the $5,000,000 benefit because they

    knowingly obtained it after an undisclosed settlement with the White Peaks Capital and NOVA

    PWC operators, id. ¶ 13. Nelson and Kirschner had actual knowledge of this approximately

    $17,700,000 benefit and also had actual knowledge of the $1,000,000 benefit because they

    successfully persuaded one or both of the White Peaks Defendants to wire the $1,000,000 to a

    bank account associated with E2M Properties, LLC from which Nelson, Kirschner, and/or

    Atherton could and did obtain the monies. The Defendants should have expected to repay the

    Plaintiffs for these benefits because they had actual knowledge that Plaintiffs did not intend for

    them to receive the benefits, as shown by the fact that they intentionally obtained—and

    concealed—the benefits through their knowingly illegal and fraudulent Direct Purchase conduct.

    The Defendants thus received these benefits at Amazon’s expense.




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            543.   The Defendants both accepted and retained these benefits without paying for their

    value. To date, the Defendants have not returned any of the benefits Plaintiffs conferred on them.

    This renders the Defendants’ receipt of these benefits unjust.

            544.   Plaintiffs also conferred a benefit on the Defendants by paying to Blueridge Group

    $10,000,000 more than the previously-agreed purchase price for the real property in Loudoun

    County, Virginia, subject to the Direct Purchase portion of the RICO Enterprise, approximately

    $4,800,000 of which Atherton arranged to be transferred in due course to Nelson’s Finbrit entity

    for his own benefit and the benefit of Nelson and Kirschner.

            545.   The Defendants had actual knowledge of these benefits Plaintiffs conferred on

    them.

            546.   Nelson and Kirschner had actual knowledge of the $10,000,000 benefit because

    Nelson identified the land at issue in the Blueridge Transaction for the express purpose of

    benefitting from the transaction and Kirschner facilitated the transaction, including the insertion

    of Blueridge Group into the deal to serve as a conduit for the illegally gained profits.

            547.   Nelson, Kirschner, and Atherton also had actual knowledge of the approximately

    $4,800,000 they knowingly obtained personally through a “Finder’s Fee Agreement” that Atherton

    negotiated between the Blueridge Group and Finbrit.

            548.   The Defendants should have expected to repay the Plaintiffs for these benefits

    because they had actual knowledge that Plaintiffs did not intend for them to receive the benefits,

    as shown by the fact that they intentionally obtained—and concealed—the benefits through their

    knowingly illegal and fraudulent Direct Purchase conduct. The Defendants thus received these

    benefits at Amazon’s expense.

            549.   The Defendants both accepted and retained these benefits without paying for their

    value. To date, the Defendants have not returned any of the benefits Plaintiffs conferred on them.

    This renders the Defendants’ receipt of these benefits unjust.


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            550.   But for the misconduct of the Defendants, Amazon would have entered into

    purchase agreements at lower prices.

            551.   Plaintiffs request remedies, including, but not limited to, the imposition of a

    constructive trust over: the accounts and assets identified in Dkts. 156-4, 159-9, 161-3, 161-4, 161-

    5; additional accounts and assets of the Defendants identified during discovery or the ongoing

    internal and parallel criminal investigations that contain a portion of the benefits; and other assets

    identified during discovery or the ongoing investigations that the Defendants’ obtained by using

    the benefits Amazon conferred on them. To the extent the Defendants have intermingled these

    assets or otherwise made a trust impracticable, Plaintiffs are entitled to equitable liens on those

    assets or intermingled accounts. Plaintiffs also request disgorgement of any profits that the

    Defendants have received through their use of funds in which the Plaintiffs hold an equitable

    interest.


                                             COUNT VIII
                                   Conversion and Constructive Trust

            552.   Plaintiffs incorporate all preceding paragraphs by reference.

            553.   This count is against all Defendants.

            554.   “Under Virginia law, conversion is any distinct act of dominion wrongfully exerted

    over the property of another, and in denial of his rights, or inconsistent therewith.” Fed. Ins. Co.

    v. Smith, 144 F. Supp. 2d 507, 517–18 (E.D. Va. 2001) (quotation marks and footnote omitted),

    aff’d, 63 F. App’x 630 (4th Cir. 2003). “It is well-settled that money . . . may be converted.” Id.

    at 518 n. 25; see also, e.g., PGI, Inc. v. Rathe Prods., Inc., 576 S.E.2d 438, 443 (Va. 2003). Further,

    “[a] conversion may be committed by intentionally . . . dispossessing another of a chattel,”

    Restatement (Second) of Torts § 223(a) (1965), which can occur by intentionally “obtaining

    possession of a chattel from another by fraud or duress,” id. § 221. See also id. § 221 cmt. b (“One

    who by fraudulent representations induces another to surrender the possession of a chattel to him

    has dispossessed the other of the chattel [and] taking possession of the chattel given under such
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    circumstances is ineffectual to constitute a consent to the taking.”). In addition, “[o]ne receiving

    chattel from a third person with intent to acquire a proprietary interest in it is liable without a

    demand for its return by the person entitled to possession . . . . The mere receipt of the possession

    of the goods under such circumstances is conversion.” Smith, 144 F. Supp. 2d at 519 n.27

    (quotation marks omitted).

           555.    In the alternative for Nelson and Kirschner, under Washington law “[c]onversion .

    . . occurs when a person intentionally interferes with chattel belonging to another, either by taking

    or unlawfully retaining it, thereby depriving the rightful owner of possession.” Alhadeff v.

    Meridian on Bainbridge Island, LLC, 220 P.3d 1214, 1223 (Wash. 2009) (en banc). Further,

    “[m]oney may be the subject of conversion if the defendant wrongfully received it.” Id.

           556.    The Defendants wrongfully exercised authority over the millions of dollars they

    obtained from Plaintiffs by inducing Plaintiffs to pay them and/or their affiliates these monies in

    the form of undisclosed costs and fees on the nine Lease Transactions detailed herein that they

    procured by reason of their fraudulent conduct.

           557.    Plaintiffs had and continue to have a right to immediate possession of this money,

    which the Defendants have deprived them of exercising.

           558.    White Peaks Capital and NOVA WPC induced Plaintiffs to purchase the Virginia

    property site subject to the Direct Purchase portion of the RICO Enterprise at a price fraudulently

    inflated by $17,730,000. From that corpus, Defendants Watson and WDC Holdings converted

    $5,000,000 by executing with the White Peaks Capital and NOVA WPC operators the undisclosed

    October 2019 settlement, and Nelson and Kirschner converted $1,000,000 of the inflated price.

           559.    Plaintiffs had and continue to have a right to immediate possession of this money,

    which the Defendants have deprived them from exercising.

           560.    Similarly, Kirschner induced Plaintiffs to purchase the Blueridge Property subject

    to the Direct Purchase portion of the RICO Enterprise at a price fraudulently inflated by


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    $10,000,000. From that corpus, Nelson and Kirschner converted approximately $4,800,000,

    which they and Atherton split equally.

           561.    Plaintiffs had and continue to have a right to immediate possession of this money,

    which the Defendants have deprived them from exercising.

           562.    Plaintiffs request remedies, including, but not limited to, the imposition of a

    constructive trust over: the accounts and assets identified in Dkts. 156-4, 159-9, 161-3, 161-4, 161-

    5; additional accounts and assets of the Defendants identified during discovery or the ongoing

    internal and parallel criminal investigations that contain a portion of the converted property; and

    other assets identified during discovery or the investigations that the Defendants’ obtained by using

    the converted property. To the extent the Defendants have intermingled these assets or otherwise

    made a trust impracticable, Plaintiffs are entitled to equitable liens on those assets or intermingled

    accounts. Plaintiffs also request disgorgement of any profits that the Defendants have received

    through their use of funds in which the Plaintiffs hold an equitable interest.



                                         PRAYER FOR RELIEF

    WHEREFORE, Plaintiffs respectfully request that this Court:

           Enter preliminary and permanent injunctive relief against the             Defendants and their

    officers, directors, principals, agents, servants, employees, successors, and assigns, and as well as

    all persons and entities in active concert or participation with them:


           i.      enjoining any interference with Plaintiffs’ ongoing transactions or relationships at
                   the Lease Transaction or White Peaks sites or other sites in this District or
                   elsewhere;

           ii.     enjoining the unauthorized use or retention of confidential information, including
                   means proprietary or confidential information of Amazon in whatever form,
                   tangible or intangible, whether or not marked or otherwise designated as
                   confidential, that is not otherwise generally known to the public, relating or
                   pertaining to Amazon’s business, projects, products, customers, suppliers,
                   inventions, or trade secrets, including but not limited to: business and financial
                   information; Amazon techniques, technology, practices, operations, and methods
                   of conducting business; information technology systems and operations;
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                   algorithms, software, and other computer code; published and unpublished know-
                   how, whether patented or unpatented; information concerning the identities of
                   Amazon’s business partners and clients or potential business partners and clients,
                   including names, addresses, and contact information; customer information,
                   including prices paid, buying history and habits, needs, and the methods of fulfilling
                   those needs; supplier names, addresses, and pricing; and Amazon pricing policies,
                   marketing strategies, research projects or developments, products, legal affairs, and
                   future plans relating to any aspect of Amazon’s present or anticipated businesses;

           iii.    enjoining any and all of the activity alleged herein, any acts causing any of the
                   injury complained of, and any acts assisting, aiding or abetting any other person or
                   business entity in engaging in or performing any of the activity complained of
                   herein or from causing any of the injury complained of herein;

           iv.     enjoining Defendants from using or controlling or in any way disposing,
                   transferring, concealing, wasting or spoliating any evidence, assets, or
                   instrumentalities of the RICO Enterprise as well as any other unlawful activity
                   alleged or addressed herein, including the specific assets listed in Dkts. 156-4, 159-
                   9, 161-3, 161-4, 161-5;

           v.      ordering Defendants to divest themselves of any interest, direct or indirect, of any
                   interest connected to the RICO Enterprise;

           vi.     prohibiting the Defendants from engaging in future conduct similar to that the
                   RICO Enterprise engaged in;

           vii.    ordering the dissolution or reorganization of all trusts, entities, and other enterprises
                   established in furtherance of the RICO Enterprise; and

           viii.   otherwise ordering the protection of any assets in which Amazon has an equitable
                   interest.

           563.    Impose a constructive trust on the assets and instrumentalities of the unlawful

    enterprise and other misconduct alleged or asserted herein.

           564.    Impose an equitable lien on the assets and instrumentalities of the unlawful

    enterprise and other misconduct alleged or asserted herein.

           565.    Enter judgment on all counts herein in favor of Amazon and against the Defendants.

           566.    Declare that Defendants’ conduct has been willful and that Defendants have acted

    with fraud, malice and oppression.

           567.    Enter a permanent injunction enjoining Defendants, their assignees, and anyone

    else acting in concert with them from profiting from or otherwise monetizing their relationship

    with Amazon or any of the projects or properties described herein, including by marketing or

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    otherwise leveraging the existence of a relationship with Amazon to promote future business

    activities.

            568.   Enter injunctive relief as necessary to ensure the protection of Amazon’s

    confidential and propriety information.

            569.   Enter judgment awarding Amazon actual damages from Defendants of at least the

    amounts identified in the Preliminary Injunction entered by this Court on June 5, 2020 (Dkt. 57)

    and further damages adequate to compensate Amazon for injuries sustained as a cause of the

    Defendants’ criminal enterprise as alleged herein, including but not limited to interest and costs,

    in an amount to be proven at trial.

            570.   Enter judgment disgorging the Defendants’ profits and other ill-gotten gains.

            571.   Enter judgment awarding statutory treble damages as well as other enhanced,

    exemplary, and/or special damages, in amounts to be proven at trial.

            572.   Enter judgment awarding punitive damages.

            573.   Enter judgment awarding all reasonable attorneys’ fees and costs.

            574.   Grant Amazon any and all other relief that the Court deems just and proper.




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     Dated: May 6, 2022                     Respectfully submitted,

                                            /s/ Michael R. Dziuban
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                                    CERTIFICATE OF SERVICE

           I hereby certify that on May 6, 2022, I electronically filed the foregoing with the Clerk of

    Court using the CM/ECF system. I will then send the document and a notification of such filing

    (NEF) to the following parties via U.S. mail to their last-known address and by email, where noted:



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